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           Poughkeepsie CSD v Carol Melton - Vol. I
                         May 28, 2021



  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  --------------------------------------------X
  CAROL MELTON,

                              Plaintiff,

        -against-           Index No. 7:19-CV-09755(VB)

  POUGHKEEPSIE CITY SCHOOL DISTRICT,
                         Defendant.
  --------------------------------------------X
                          Remotely Held Via
                          Zoom Video Communications

                               May 28, 2021
                               10:00 a.m.



                 DEPOSITION of the plaintiff, CAROL

       MELTON, taken pursuant to Order, before Kari

       L. Reed, a Notary Public within and for the

       State of New York.




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                                                                          2
1
2      A P P E A R A N C E S :
3
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                                                                          3
1
2                    221. UNIFORM RULES FOR THE
3                    CONDUCT OF DEPOSITIONS
4      221.3 Communication with the deponent
              An attorney shall not interrupt the
5      deposition for the purpose of communicating with
       the deponent unless all parties consent or the
6      communication is made for the purpose of
       determining whether the question should not be
7      answered on the grounds set forth in section 221.2
       of these rules, and, in such event, the reason for
8      the communication shall be stated for the record
       succinctly and clearly.
 9
10            IT IS FURTHER STIPULATED AND AGREED
       that the transcript may be signed before any Notary
11     Public with the same force and effect as if signed
       before a clerk or a Judge of the court.
12
13            IT IS FURTHER STIPULATED AND AGREED
       that the examination before trial may be utilized
14     for all purposes as provided by the CPLR.
15
              IT IS FURTHER STIPULATED AND AGREED
16     that all rights provided to all parties by the CPLR
       cannot be deemed waived and the appropriate
17     sections of the CPLR shall be controlling with
       respect hereto.
18
19             IT IS FURTHER STIPULATED AND AGREED
       by and between the attorneys for the respective
20     parties hereto that a copy of this examination
       shall be furnished, without charge, to the
21     attorneys representing the witness testifying
       herein.
22
23                             *   *   *   *
24
25

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                                                                          4
 1
 2                   221. UNIFORM RULES FOR THE
 3                   CONDUCT OF DEPOSITIONS
 4     221.1 Objections at Depositions.
       (a) Objections in general. No objections shall be
 5     made at a deposition except those which, pursuant
       to subdivision (b), (c) or (d) of Rule 3115 of the
 6     Civil Practice Law and Rules, would be waived if
       not interposed, and except in compliance with
 7     subdivision (e) of such rule. All objections made
       at a deposition shall be noted by the officer
 8     before whom the deposition is taken, and the answer
       shall be given and the deposition shall proceed
 9     subject to the objections and to the right of a
       person to apply for appropriate relief pursuant to
10     Article 31 of the CPLR.
       (b) Speaking objections restricted. Every
11     objection raised during a deposition shall be
       stated succinctly and framed so as not to suggest
12     an answer to the deponent, and, at the request of
       the questioning attorney, shall include a clear
13     statement as to any defect in form or other basis
       of error or irregularity. Except to the extent
14     permitted by CPLR Rule 3115 or by this rule, during
       the course of the examination, persons in
15     attendance shall not make statements or comments
       that interfere with the questioning.
16     221.2 Refusal to answer when objection is made. A
       deponent shall answer all questions at a
17     deposition, except (i) to preserve a privilege or
       right of confidentiality, (ii) to enforce a
18     limitation set forth in an order of the court, or
       (iii) when the question is plainly improper and
19     would, if answered, cause significant prejudice to
       any person. An attorney shall not direct a
20     deponent not to answer except as provided in CPLR
       Rule 3115 or this subdivision. Any refusal to
21     answer or direction not to answer shall be
       accompanied by a succinct and clear statement of
22     the basis therefor. If the deponent does not
       answer a question, the examining party shall have
23     the right to complete the remainder of the
       deposition.
24
25

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                                                                          5
1                             Carol Melton
2                    (Defendant's Exhibits A through HH were
3           premarked for identification prior to the
4           deposition.)
5      CAROL MELTON, the witness herein, having been first
6      duly sworn/affirmed by the notary public, was
7      examined and testified as follows:
8      EXAMINATION BY
9      MR. RUSHFIELD:
10             Q.        Mrs. Melton, as you know, because
11     I've taken your deposition before, my name is Mark
12     Rushfield.    And as you also know, I'm representing
13     the Poughkeepsie City School District in the
14     current action you've brought against it, with
15     index number 19-CV-9755.
16                       As with our past deposition I took
17     of you in the earlier case, I'm going to be asking
18     you a whole host of questions.          Please listen to
19     the question I ask.       If you don't understand the
20     question I ask, tell me.        If you need the question
21     read back, tell me.       If you need it to be rephrased
22     because you couldn't follow it, tell me.            If you
23     respond to a question with an answer, the record is
24     going to reflect that you understood the question
25     and were attempting to answer the question asked as


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                                                                          6
1                                  Carol Melton
2      stated.
3                           Do you understand what I've said to
4      you so far?
5                A.         Yes.
6                Q.         You have to, as you just did, you
7      have to answer all questions verbally.
8                           Is it possible for you to make
9      yourself fill the screen?           I see you're now -- I
10     see mostly background now again.
11               A.         No.
12               Q.         Well, a moment ago you were filling
13     the screen and now I only have a small view of you.
14     Is this the best you can do?
15               A.         I'm essentially the same size as the
16     court reporter.
17               Q.         Okay.
18               A.         She might be even smaller than I am.
19               Q.         You know, I think it was because I
20     was seeing the court reporter rather than you,
21     because now you're fine.          Okay.
22                          It's important that you listen to
23     the question I ask you and literally answer the
24     question I ask you.           There may be things you want
25     to say.        Those things may not be responsive to my


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                                                                          7
1                               Carol Melton
2      question, but you may want to say them.            You can't.
3      If they're not responsive to my question, I'm going
4      to end up making a motion to strike your answer if
5      they're not responsive.        So you really have to
6      listen to the question and just answer the question
7      I ask.   Avoid argument.       I will attempt to avoid
8      argument as well.        Make sure I've completed my
9      question before you complete your answer.             I will
10     endeavor to make sure your answer has been finished
11     before I ask another question.
12                       Do you understand what I've said to
13     you so far?
14              A.       Yes.
15              Q.       If you need to take a break you will
16     be permitted to do so, but you'll be required to
17     answer the last outstanding question before the
18     break.
19                       If you need to speak to counsel
20     through one means or another to Mr. Carman, or he
21     wishes to speak to you, you're entitled to do so,
22     but again, you must answer the last outstanding
23     question first.
24                       Mr. Carman's ability to object to
25     questions is very limited in this procedure.              He


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1                               Carol Melton
2      can object to the form of a question.            He's not
3      supposed to do anything more than actually say
4      objection or objection to form, because what are
5      called speaking objections are not permitted.
6      Despite the fact that Mr. Carman makes an
7      objection, you can still be required to answer the
8      question unless I advise you that I'm going to
9      rephrase the question.       It's probably best if you
10     listen to my question, take a moment before
11     answering, so that Mr. Carman has an opportunity to
12     object, because in this system that we're using
13     here it gets very befuddled if two people speak at
14     once.   So if you start answering while he's making
15     an objection, it's going to be hard for the
16     reporter to get the objection or perhaps to get the
17     beginning of your answer.
18                       Now, you've been deposed before, in
19     fact by me; right?
20             A.        Yes.
21             Q.        That was in your earlier action
22     against the Poughkeepsie City School District;
23     correct?
24             A.        Yes.
25             Q.        Are you taking any medication


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                                                                          9
1                               Carol Melton
2      currently that might affect your ability to
3      understand questions I ask and formulate clear and
4      concise answers?
5              A.        No, I don't think so.
6              Q.        Have you found that any medication
7      you're taking has, that you're currently taking has
8      in the past caused you to suffer either from
9      confusion or inability to understand things that
10     are said to you?
11             A.        No.
12             Q.        Okay.    This is basically a similar
13     kind of question, are you suffering from any
14     disability that would preclude you from
15     understanding a question I ask or being able to
16     formulate a concise, responsive answer?
17             A.        No.
18             Q.        Ms. Melton, are you currently
19     employed by the Poughkeepsie City School District?
20             A.        Yes.
21             Q.        And what's your job title in your
22     employment with the Poughkeepsie City School
23     District?
24             A.        Teaching assistant.
25             Q.        And do you possess a certification


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                                                                           10
1                                Carol Melton
2      for that title?
3              A.         Yes.
4              Q.         And when did you begin as a teaching
5      assistant for the Poughkeepsie City School
6      District?
7              A.         1999.
8              Q.         And have you been employed by the
9      Poughkeepsie City School District consistently from
10     1999 to date?
11             A.         Yes.
12             Q.         Do you have a copy of your complaint
13     available?
14             A.         In front of me, no.
15             Q.         Do you have one with you?
16             A.         No.
17             Q.         Okay.    We'll have to do it this way.
18                          (Pause in the proceedings)
19                          MR. RUSHFIELD:      Okay, back on.
20             Q.         Ms. Melton, by email you were
21     forwarded Defendant's Exhibits A through HH
22     yesterday.     Did you review any of those documents
23     before your deposition today?
24             A.         No.
25             Q.         Did you review anything in


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                                                                           11
1                                Carol Melton
2      preparation for your deposition today?
3              A.         No.
4              Q.         Okay.    I'm going to show you a
5      document --
6              A.         Except for a email.       Go ahead.
7              Q.         I'm sorry.     I'm going to show you a
8      document that's been marked as Defendant's Exhibit
9      A.   Are you able to see Defendant's Exhibit A,
10     Ms. Melton?
11             A.         Yes, I can see it.
12             Q.         Okay.    This is the "Attachment A
13     (Amendment)" to your complaint in this action.               Let
14     me scroll down a bit.         Do you recall this document?
15             A.         Yes.
16             Q.         Okay.
17             A.         I see it.
18             Q.         Great.     I'm going to ask you about
19     paragraph number one first.         In paragraph number
20     one it says, "Morse Elementary School Assistant
21     Principal Ms. Nicole Penn conducted a group
22     interview for summer positions."           This group
23     interview that's referenced in paragraph one of
24     your complaint, when was that conducted?
25             A.         Approximately it might have been May


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                                                                           12
1                              Carol Melton
2      I think, April or May.
3              Q.         April or May of which year?
4              A.         Of that year.
5              Q.         Of which year?
6              A.         I don't recall the year right now.
7              Q.         Well, can you give me a ball park,
8      is it in 2017, in 2018, in 2019?
9              A.         It was in 2017, I'm pretty sure '17.
10             Q.         And that would have been for the,
11     that would have been for the summer of which school
12     year?
13             A.         Of that same year.
14             Q.         So that would have been for the
15     summer of 2017?
16             A.         Yeah.
17             Q.         Okay.   In response to interrogatory
18     number one, which related to the question of
19     identifying every applicant who attended the group
20     interview for the summer position referenced in
21     paragraph number one, you identified Sara Herman,
22     yourself and Lorraine Boughton.          Are all three of
23     those people, including yourself, teaching
24     assistants?
25             A.         Can you repeat that?


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                                                                           13
1                                Carol Melton
2              Q.         Sure.
3              A.         I didn't hear what you said, the
4      last thing.
5              Q.         Are each of the, Sara Herman, Carol
6      Milton, being yourself, and Lorraine Boughton,
7      B-o-u-g-h-t-o-n, the people who appeared for the
8      group interview in or about May of 2017?
9              A.         Yes.
10             Q.         All right.     Is there anybody present
11     in the room with you, by the way?
12             A.         No.
13             Q.         Okay.    And where actually are you
14     physically at this time?
15             A.         In my closet.
16             Q.         You're actually in a closet?
17             A.         Yes.
18             Q.         Okay.    In interrogatory number two
19     that was submitted to you, you were asked with
20     regard to your allegations in paragraph numbered
21     one of your Attachment A, "Identify every applicant
22     who did not show up for the group interview, but
23     who were given the jobs/positions."            Do you recall
24     who those persons were?
25             A.         No, I don't recall.


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                                                                           14
1                              Carol Melton
2              Q.         All right.     I'm going to provide you
3      with the information in your answer and then I'm
4      going to ask you about it.         Your response to
5      interrogatory number two states, "These are the
6      applicants who did not show up for the group
7      interview but were given the jobs/positions."
8      Sharon Bridges, Dionnedra Atkins, Nicole Logan
9      Cummings, Roxanne Haggerty, Adelma Shillingford,
10     S-h-i-l-l-i-n-g-f-o-r-d, Maryann Baker, Alice
11     Rahemba, Danielle Atkins.         Does that refresh your
12     recollection as to the people who did not show up
13     for the group interview but were given the
14     job/position that was involved?
15             A.         That sounds about right.
16             Q.         Okay.   And you said one of the
17     applicants is not a teaching assistant.             Who were
18     you referring to in your response to interrogatory
19     number two when you said one of the applicants is
20     not a teaching assistant?
21             A.         Maryann Baker.
22             Q.         Okay.   And what is Maryann Baker?
23             A.         She is a teacher's aide or was a
24     teacher's aide.
25             Q.         Well, what is she, is she currently


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1                                Carol Melton
2      working with the District?
3              A.         She's deceased.
4              Q.         Oh, okay.     And when did that happen?
5              A.         That happened, let's see, earlier
6      this year.
7              Q.         Okay.    You say in your response, in
8      answer to interrogatory number two as well that
9      there were eight teaching assistant positions
10     available for the ESY summer program.            Now, is the
11     ESY summer program the program that you were
12     interviewing for in May of 2017, or April, May of
13     2017?
14             A.         Yes.
15             Q.         Okay.    You said, "The teaching
16     assistants chosen were not in the order of
17     seniority and/or not a certified teaching
18     assistant, as is required for these positions."
19                        Now, Ms. Baker, the complaint about
20     Ms. Baker not being a teaching assistant and
21     getting a position that you applied for is a claim
22     you also made in the earlier action against the
23     Poughkeepsie City School District, was it not?
24             A.         Yes.
25             Q.         Okay.    And is it your position that


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                                                                           16
1                                Carol Melton
2      you were entitled to be appointed to a teaching
3      assistant position over and above anybody else who
4      was appointed?
5                           MR. CARMAN:      Object to form.
6              Q.         Mrs. Melton?
7              A.         Yes.
8              Q.         Are you answering my question or
9      just noting that I've mentioned your name?             Would
10     you like me to state the question again,
11     Mrs. Melton?
12             A.         Yes, can you restate it?         I think
13     when you're speaking down it's more difficult to
14     hear you.
15             Q.         It shouldn't be a problem, make a
16     difference actually because I'm wearing a headset,
17     but we'll try again.
18                        You said in your response to
19     interrogatory number two the teaching assistants
20     chosen were not in the order of seniority and were
21     not a certified teaching assistant as required for
22     these positions.      Is it your position that you were
23     entitled to the position that, for example,
24     Ms. Bridges or Dionnedra Atkins filled in the
25     summer of 2017 over any of the people who had been


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                                                                           17
1                              Carol Melton
2      selected?
3                           MR. CARMAN:      Object to form.
4              Q.         You can answer the question.
5              A.         You're, you're saying to me --
6              Q.         Can you, Ms. Melton --
7              A.         -- everybody?
8              Q.         Ms. Melton, don't repeat to me what
9      I'm saying.     Either you can answer my question, or
10     if you can't tell me you can't, and if I need to
11     rephrase it I will.
12             A.         Okay.   Can you rephrase that
13     question?
14             Q.         Sure.   With regard, let me make it
15     simple, with regard to the position for the
16     extended school year teaching assistant position --
17     withdraw that.
18                        With regard to the extended school
19     year teaching assistant position that you referred
20     to in that paragraph one of your attachment, is it
21     your position that you had some entitlement to
22     selection over any of the people selected?
23             A.         Yes, I had entitlement to selection.
24             Q.         And was it over all of the people
25     selected or certain ones?


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                                                                           18
1                                Carol Melton
2              A.         Certain ones.
3              Q.         Which people who were selected for
4      the extended school year program for teaching
5      assistants for the summer of 2017 did you have
6      entitlement to selection over?
7              A.         Anyone who was not a certified
8      teaching assistant.
9              Q.         So that would be Ms. Baker?
10             A.         Yes.
11             Q.         So in terms of your claim in this
12     case are you claiming that anybody else other than
13     Ms. Baker having been selected was some deprivation
14     of some right that you had?
15             A.         Can you rephrase that?        It
16     doesn't --
17             Q.         All right.     You said that Ms. Baker,
18     who you described as a teaching aide, is the person
19     you had entitlement to selection over; correct?
20             A.         Yes.
21             Q.         Is there anybody else selected who
22     you are claiming you had entitlement to selection
23     over?
24             A.         Yes.
25             Q.         Who?


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                                                                           19
1                                Carol Melton
2              A.         Lorraine Boughton.
3              Q.         Well, okay.     And why did you have
4      entitlement selection over Lorraine Boughton?
5              A.         Because I have more seniority than
6      her.
7              Q.         And your entitlement to the
8      selection over either Ms. Baker or Ms. Boughton,
9      what is the source of that entitlement?
10             A.         I don't understand the question.
11             Q.         Right.     Your claim that you were
12     entitled to selection over Ms. Baker or
13     Ms. Boughton, is that because of the collective
14     bargaining agreement terms, the collective
15     bargaining agreement between the District and the
16     union that represents you?
17             A.         Yes.
18             Q.         All right.     So your contract, your
19     union contract, the collective bargaining
20     agreement, has a grievance procedure that ends in
21     arbitration, does it not?
22             A.         Yes.
23             Q.         All right.     Did you file a grievance
24     concerning the District having selected
25     Ms. Boughton and Ms. Baker over you for the


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                                                                           20
1                                Carol Melton
2      extended school year teaching assistant position?
3              A.         Yes.
4              Q.         And what happened with the
5      grievance?
6              A.         I don't recall right mow.
7              Q.         Well, did the union present that
8      grievance to arbitration?
9              A.         No, it did not go to arbitration.
10             Q.         All right.     Is it not a fact that
11     your union's position -- I'm sorry, withdraw that.
12                        This claim that seniority plays a
13     role in the selection of teaching assistants for
14     either extended school year positions or
15     afterschool positions, that's the same position
16     that you took in the prior litigation you brought
17     against the Poughkeepsie City School District;
18     correct?
19             A.         Could you repeat that?
20             Q.         Sure.    It's your position that
21     seniority plays a role in deciding who gets
22     teaching assistant positions whether it's during an
23     extended school year position or during an
24     afterschool position, right, that's your position?
25             A.         I'm sorry, I didn't hear a question.


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                                                                           21
1                                 Carol Melton
2      So I --
3                Q.        That's why I wanted to do this in
4      person.        I'm going to try one more time.       Can you
5      hear me?
6                A.        I can hear you.
7                Q.        Okay.    Tell me if I'm correct.       It's
8      your position that seniority plays a role in the
9      decision as to who gets either extended school year
10     teaching assistant positions in the District or who
11     gets afterschool teaching constant positions in the
12     District; is that not correct?
13               A.        Yes.
14               Q.        Okay.    And is it also not correct
15     that that's the same position you expressed in your
16     prior litigation against the Poughkeepsie City
17     School District; correct?
18               A.        What's the same?
19               Q.        The position that seniority plays a
20     role in the decision as to who get these positions.
21               A.        Yes.
22               Q.        All right.     So I want to rephrase to
23     make sure we're both on the same wavelength.
24               A.        Mm-hmm.
25               Q.        That position that seniority plays a


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                                                                           22
1                                Carol Melton
2      role in who gets these positions is the same
3      position you expressed and took during the prior
4      litigation against the Poughkeepsie City School
5      District; correct?
6              A.         Yes.
7              Q.         Okay.    So in your first paragraph
8      you talk about the fact that there was this group
9      interview and that people who got selected included
10     people who did not attend the group interview.
11     Were people who got selected required to attend the
12     group interview?
13                          MR. CARMAN:      Object to form.
14             Q.         You can answer it.
15             A.         My understanding is that everyone
16     who applied was required to be at this group
17     interview.
18             Q.         And where does that understanding
19     come from?
20             A.         From an email that we received.
21             Q.         So was there an --
22             A.         (Continuing:)      To applicants.
23             Q.         So was there an email that
24     applicants received saying that in order to be
25     considered for the position you had to attend the


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                                                                           23
1                                Carol Melton
2      interview?
3                A.       Yes.
4                Q.       All right.     And do you have a copy
5      of that email?
6                A.       I don't have it right now.
7                Q.       But you could provide this email to
8      me, or through counsel to me; is that not correct?
9                A.       Yes.
10               Q.       Okay.    I'm going to request that you
11     provide that email to me, the one that says that in
12     order to be considered for the position you must
13     attend the interview.         Okay?
14               A.       Yes.
15               Q.       Okay.    So is a claim you have in
16     this case that people who did not attend the
17     interview should not have been selected over you?
18               A.       Can you rephrase that?
19                          MR. RUSHFIELD:      Read it back,
20               please, Ms. Reed.
21                          (Record read)
22               A.       Some people.
23               Q.       Well, why some people rather than
24     others?
25               A.       Because some may have more seniority


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                                                                           24
1                               Carol Melton
2      than I do.
3              Q.         So if they had more seniority than
4      you do, it's your position that they did not have
5      to attend the interview in order to be selected, is
6      that your testimony?
7              A.         No.
8              Q.         Well, then I honestly, then I don't
9      understand your answer how you distinguish, you
10     said that some who had more seniority -- withdraw
11     that.
12                        Are you claiming that only the
13     people who were junior to you had to attend the
14     interview in order to be considered for the
15     position?
16             A.         No.
17             Q.         Well, what are you contending in
18     terms of which people should not have been selected
19     over you for that summer position because they
20     didn't attend the interview?
21                          MR. CARMAN:      Object to form.
22             Q.         You can answer it.
23             A.         I believe I said that everyone,
24     regardless of status of seniority, was to attend
25     the interview.


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                                                                           25
1                              Carol Melton
2              Q.         And if they did not is it your
3      position that they were not entitled to
4      consideration for the position?
5              A.         I don't know that.
6              Q.         Okay.   So you don't know whether it
7      was obligatory to attend the interview in order to
8      be considered for the position; right?
9              A.         According to the email that was a
10     requirement.
11             Q.         So I ask you again.       Is it your
12     position that people who did not attend the
13     interview were not entitled to be considered for
14     the position, yes or no?
15             A.         Yes, that's my understanding of what
16     the email is stating.
17             Q.         So the answer is that it's your
18     position that if you didn't attend the interview
19     you were not entitled to be considered for the
20     position?
21             A.         That's my understanding.
22             Q.         All right.     And that's based upon
23     this email that you're going to provide to me;
24     correct?     I'm sorry?
25                          MR. CARMAN:      Object to form.


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                                                                           26
1                                Carol Melton
2                Q.        I can't hear you if you're speaking,
3      Ms. Melton.
4                A.        I said I'm pretty sure that I sent
5      that during discovery.
6                            Can you read back my question, Ms.
7                Reed.
8                            (Record read)
9                Q.        And your answer was you're pretty
10     sure you sent that to me during discovery; is that
11     correct, Mrs. Milton?
12               A.       Yes.
13               Q.       All right.     Apart from the fact,
14     we'll see in a moment whether it's something you
15     sent to me because I'll show you other documents,
16     is it your testimony that persons who were selected
17     who did not attend the interview should not have
18     been given consideration over you?
19                           MR. CARMAN:     Objection, asked and
20               answered.
21                           MR. RUSHFIELD:     Yeah, I've had a
22               few.
23               Q.       But go ahead, you can answer it,
24     Ms. Melton.       Mrs. Melton, I'm waiting for an
25     answer.


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                                                                           27
1                                Carol Melton
2               A.        Yes.
3               Q.        Okay.    And that included people who
4      were senior to you as well as people who are junior
5      to you in seniority; is that correct?
6               A.        Yes.
7               Q.        Okay.    All right, bear with me a
8      minute, I'm going to show you another document.
9                         Ms. Melton, I'm showing you a
10     document that's been marked as Defendant's Exhibit
11     F.    Can you see that on your screen?
12              A.        Yes.
13              Q.        Okay.    Is that the job posting?         I'm
14     going to run through it so you can see the whole
15     document and then I'm going to ask you a question.
16                          (Witness perusing documents)
17              Q.        Have you had a chance to review it?
18              A.        I'm reviewing it right now.
19              Q.        Okay.    Do you want me to scroll up
20     or down on it?
21              A.        Could you go back up?
22              Q.        Sure.
23                          (Witness perusing documents)
24              Q.        Have you had a chance now to review
25     it?


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                                                                           28
1                                Carol Melton
2               A.        Yes.     I'm looking at it.
3               Q.        Okay.    Let me know when you're
4      finished looking at it.
5                           (Witness perusing documents)
6               A.        Okay.
7               Q.        All right.
8                           MR. RUSHFIELD:       Ms. Reed, is it
9               possible for you to from this point forward
10              note the time.
11              Q.        Is this posting the posting for the
12     teaching assistant position for the extended school
13     year that you referred to at paragraph one of your
14     Attachment A?
15              A.        It appears to be so.
16              Q.        Okay.    Now, this, at least this
17     document you would acknowledge does not require
18     that somebody interested attend an interview;
19     right?
20              A.        Can you say that again?
21              Q.        Sure.    You mentioned that there's an
22     email that says that you must attend an interview
23     in order to be considered for this position.              I'm
24     asking now about this posting.           You would agree,
25     would you not, that this posting does not make any


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                                                                           29
1                                Carol Melton
2      reference to having to attend an interview to be
3      considered for the position?
4               A.        No, I don't see that.
5               Q.        Okay.    You're agreeing with me that
6      it's not in there; right?
7               A.        It's not on the posting.
8               Q.        Okay.    So I'm going to get out of
9      screen share on this document.
10                        I show you Exhibit G.        And by the
11     way, this document is one that was provided by you
12     to me.    Documents that I provided to you in this
13     case will have a Bates stamp number.
14                        I show you another document.          Let me
15     open it.      Do you see Exhibit G on your screen,
16     Ms. Melton?
17              A.        Yes.
18              Q.        Okay.    Is this a document that you
19     provided to me during discovery?           Let me show you
20     more of it.      I'm sorry, it jumps around.
21                          (Witness perusing documents)
22              Q.        Let me go back to the top.         Do you
23     recall this document, Ms. Melton?
24              A.        I recall it.
25              Q.        Okay.    Do you recall producing this


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                                                                           30
1                              Carol Melton
2      to me during discovery?
3              A.         It looks familiar, yes.
4              Q.         Is this the email that you were
5      referring to that you say made reference to that
6      someone must attend the interview in order to be
7      considered for the position?
8              A.         Can you scroll down a little bit
9      more?   Because you're going a little bit too fast.
10             Q.         I'll start at the top, I will scroll
11     down it.
12             A.         Thank you.
13             Q.         All right, the first message here,
14     apart from the beginning, forwarded messages, the
15     first message here is from May 16, 2017.             Do you
16     see that?
17             A.         Mm-hmm.
18             Q.         Does that make any reference to a
19     need to attend the interview in order to be
20     considered for the position?
21             A.         Not this email.
22             Q.         Okay.   Is there anything on this
23     email, the next email appears to be one from Lisa
24     Clark, executive secretary for the Poughkeepsie
25     City School District, which starts with


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                                                                           31
1                                Carol Melton
2      "greetings."     Does that say anything about you have
3      to attend the interview in order to be considered?
4              A.         Not this email.
5              Q.         And there's nothing else on this
6      email that has messages, I'll get out of this one.
7                         I'm showing you a document we have
8      marked as Defendant's Exhibit H, which I will
9      represent to you is also a document that you sent
10     to me in discovery in this case, and let me see how
11     many messages are on it.         It appears to be only
12     one.   This one is from Maria Brown.           Do you know
13     who Ms. Brown is?
14             A.         Yes.
15             Q.         Who is Ms. Brown?
16             A.         She's someone who works in the
17     District.
18             Q.         Do you know what her role or title
19     is?
20             A.         She is a teaching assistant.
21             Q.         Okay.    So this one says, "Good
22     afternoon, Mrs. Melton.         An interview for the
23     teaching assistant position has been schedule for
24     Thursday, July 27, 2017 at two o'clock p.m.              This
25     interview will be held at Morse School."             First of


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                                                                           32
1                                Carol Melton
2      all, the group interview attended, was it held on
3      July 27, 2017.      Mrs. Melton?
4               A.        Yes, I said can you repeat that
5      again.
6               Q.        The interview for the extended
7      school year position for the summer of 2017, was it
8      held on July 27, 2017?
9               A.        For the ESY?
10              Q.        Yes.
11              A.        Which one?
12              Q.        For the one that you are referring
13     to in that paragraph one of your Attachment A where
14     you attend your group interview.
15              A.        This is not the same one.
16              Q.        Okay.    Which one is this for?
17              A.        This was an ESY.
18              Q.        Right.     And ESY is for the summer,
19     isn't it?
20              A.        Yes.     But there's several.
21              Q.        Okay.    The one that you attended the
22     group interview for, which one was that for?
23                          MR. CARMAN:      Object to form.
24              Q.        You can answer it.
25              A.        That was a group interview.


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                                                                           33
1                              Carol Melton
2               Q.        For what position?
3               A.        For ESY.
4               Q.        Which ESY?
5               A.        For -- I don't recall.
6               Q.        Okay.   So how do you know it's not
7      the one that's District Exhibit H?
8               A.        Because the email was from Lisa
9      Clark and this is from Maria Brown.
10              Q.        Okay.   And why does it make a
11     difference whether it's from Lisa Clark or Maria
12     Brown?
13              A.        Lisa Clark was a secretary.
14              Q.        Okay.
15              A.        And I just said that Maria Brown is
16     a teaching assistant.
17              Q.        All right.     So this says, in terms
18     of Exhibit H do you know which ESY program this was
19     for?   Ms. Melton?
20              A.        I said I believe this was only at
21     Morse.
22              Q.        Okay.   The other position which
23     involved I think eight teaching assistants
24     according to Exhibit F, was that going to be held
25     at a different location or at different locations?


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                                                                           34
1                                Carol Melton
2              A.         It was going to be held at different
3      locations.
4              Q.         Okay.    The one that was to be held
5      at Morse, by the way, did you apply for that
6      position?
7              A.         Yes.
8              Q.         And did you get that position?
9              A.         No.
10             Q.         And do you know who got that
11     position?
12             A.         I don't recall.
13             Q.         Was it Ms. Herman?
14             A.         I don't recall.
15             Q.         Are you claiming in this case that
16     you were entitled to be selected for a position at
17     Morse that summer?
18             A.         Yes.
19             Q.         But you don't know who was selected?
20             A.         I said I don't recall.
21             Q.         All right.     Do you recall whether
22     the person who was selected was senior to you or
23     junior to you?
24             A.         I don't recall right at this moment.
25             Q.         Do you recall, well, tell me why you


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                                                                           35
1                              Carol Melton
2      believe you should have been selected for that
3      position rather than someone else?
4              A.         What is the question that you're
5      asking me?
6              Q.         Tell me why you believe you should
7      have been selected for the position that
8      Defendant's Exhibit H is referring to rather than
9      someone else?
10             A.         Because it's based upon seniority
11     and I'm called for an interview.           You only
12     mentioned one name, so.
13             Q.         Actually, right, but you don't know
14     who it was who was selected?
15             A.         I said I don't recall right now.
16             Q.         Was it somebody junior to you?
17             A.         Probably.
18             Q.         Do you recall whether it was
19     somebody junior to you?
20             A.         Probably.
21             Q.         Well, are you saying you probably
22     recall it was somebody junior to you or do you
23     recall it was somebody junior to you, which is it?
24             A.         I said I don't recall the exact
25     names of people.


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                                                                           36
1                                Carol Melton
2               Q.        Right.     But you --
3               A.        More than likely it was someone with
4      less seniority.
5               Q.        And what makes it more likely?
6               A.        Because I was not chosen.
7               Q.        Okay.    But there are people at
8      Morse, for example, more senior to you, right?
9      Right?    Let me rephrase it.       There are teaching
10     assistants at Morse who are senior to you; is that
11     not right?
12              A.        Yes.
13              Q.        One of those is, for example, Sara
14     Herman; right?
15              A.        Yes.
16              Q.        Sara Herman was selected to a number
17     of positions involved in the earlier litigation
18     that you believed you should have been selected
19     for; right?
20              A.        Yes.
21              Q.        Okay.    So do I understand correctly
22     that it's your belief that somebody junior to you
23     was selected for the summer school position at
24     Morse for the 2017, the summer of 2017; right?
25              A.        Which 2017?


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                                                                           37
1                                Carol Melton
2              Q.         Defendant's H --
3              A.         Okay.
4              Q.         -- relates to a summer position?
5              A.         Yes.
6              Q.         And you say that position was being
7      held at Morse; right?
8              A.         Yes.
9              Q.         Do you believe that the person
10     chosen was junior, that was eventually chosen for
11     that position was junior to you in terms of
12     seniority?
13             A.         Yes.
14             Q.         Do you know whether the person who
15     ended up filling that position had filled it in a
16     prior year or the prior year?
17             A.         I don't know.
18             Q.         Okay.    You're aware that, are you
19     not, that the District primarily selects people for
20     summer positions and afterschool positions based
21     upon whether they occupied that position the prior
22     year?
23             A.         What question are you asking?
24             Q.         Yes.     Are you aware that the
25     District fills positions for teaching assistants,


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                                                                           38
1                              Carol Melton
2      whether it's summer or afterschool, largely based
3      upon whether that person filled that position
4      without getting a negative review the prior summer
5      or prior school year?
6              A.         It's based on seniority.
7              Q.         So it's your understanding that the
8      sole criteria for selection for either the summer
9      teaching assistant positions or afterschool
10     positions is seniority; fair?
11             A.         No, not the way you're wording it.
12             Q.         Okay.   You said it's seniority.          I'm
13     going with your answer.        Is seniority the sole
14     criteria for deciding if a teaching assistant gets
15     selected to the summer position or afterschool
16     position, yes or no?
17             A.         Can you ask -- well, I'm asking you
18     to rephrase that.
19             Q.         I have rephrased it.
20                          MR. RUSHFIELD:      Can you read it
21             back, please, Ms. Reed.
22                          (Record read)
23             A.         My CBA says seniority.
24             Q.         You mean your CBA, the collective
25     bargaining agreement; right?


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                                                                           39
1                                Carol Melton
2               A.        Yes.
3               Q.        So aren't you saying that under your
4      collective bargaining agreement seniority is the
5      determining factor for whether a person gets
6      selected for a teaching assistant position during
7      the summer or afterschool as opposed to a junior
8      person, that is what you're saying; right?
9               A.        The CBA says seniority.
10              Q.        Right.     And you're saying the CBA
11     reference to seniority rules in that determination;
12     right?
13              A.        Yes, it's the most important.
14              Q.        And that's the same position you
15     took in the prior litigation; is that not correct?
16              A.        Yes.
17              Q.        Okay.    You're aware that your union
18     does not agree with that position; right?
19              A.        I can't attest to that.
20              Q.        Okay.    Do you recall testifying
21     previously in that earlier litigation that the
22     union has taken a position that seniority is not
23     the determining factor, do you recall testifying to
24     that earlier?
25              A.        I recall that, but it still says in


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                                                                           40
1                              Carol Melton
2      the CBA seniority is the most important factor.
3               Q.        All right.     So I just want to, I
4      understand your answer, I think I do.            You
5      acknowledge, do you not, that regardless of what
6      the collective bargaining agreement says, and
7      you've told us what you believe it says, your
8      union's position on that is different than yours;
9      right?
10              A.        I guess so.
11              Q.        And your union's position that
12     seniority is not the determining factor in choosing
13     people for these assignments; right?
14              A.        No, I didn't say that.
15              Q.        Isn't that not true, that your union
16     has taken the position that seniority is not the
17     determining factor for making these assignments?
18                          MR. CARMAN:      Object to the form.
19              Q.        You can answer the question.
20              A.        I don't know that.       I don't know
21     what they're thinking.
22              Q.        Do you recall testifying that that's
23     the position that they had taken?           I'm sorry, do
24     you recall testifying in the earlier litigation
25     that we had between you and the Poughkeepsie City


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                                                                           41
1                                Carol Melton
2      School District that was that in fact the union's
3      position?
4                A.       I don't recall.
5                Q.       So is it your testimony today that
6      the union has not taken the position that seniority
7      is not the determining factor in these assignments?
8                           MR. CARMAN:      Object to the form.
9                Q.       You can answer it.
10               A.       My position is that my CBA currently
11     says seniority is the most important factor.
12                          MR. RUSHFIELD:      Move to strike as
13               nonresponsive.      Kari, can you please read
14               the question back again.
15                          (Record read)
16               A.       I cannot say, again, what's in the
17     mind of my union, only what is -- I see written in
18     the CBA, and seniority is the most important
19     factor.
20               Q.       Right.     Did you get selected for
21     that summer school position at the Morse School?
22               A.       No.
23               Q.       And it's your belief that somebody
24     junior to you was selected; right?           Correct?
25               A.       Yes.


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                                                                           42
1                                Carol Melton
2              Q.         Okay.    But you can't identify who
3      that person is, have I got that right?
4              A.         Yes.
5              Q.         And is it your belief that the
6      person selected was not Sara Herman?
7              A.         I don't know.
8              Q.         But Sara Herman of course would be
9      senior to you; right?
10             A.         Yes.
11             Q.         Okay.    Did you file a grievance?
12     Well, did you file a grievance with your union over
13     whoever got selected for that summer session
14     teaching assistant assignment at Morse School?
15             A.         The one that you have now?
16             Q.         The one that's reflected relating to
17     Defendant's Exhibit H, not the one where eight
18     teaching assistants were involved, the one where
19     you testified it was one teaching assistant
20     position to be at Morse School for the summer of
21     2017.
22             A.         I don't recall saying one.
23             Q.         Well, how many teaching assistant
24     positions were involved for that summer of 2017?
25             A.         I don't recall but -- I don't


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1                                Carol Melton
2      believe it was one.         But I don't recall.
3               Q.        Okay.    Do you know --
4               A.        The exact number.
5               Q.        The question was, did you file a
6      grievance with your union over the people, person
7      or persons who got selected for that summer
8      teaching assistant position at Morse or summer
9      teaching assistants position at Morse if it was
10     more than one, did you file a grievance?
11              A.        I don't recall.
12              Q.        Well, your claim is that by choosing
13     people junior to you for teaching assistant
14     positions, the District is violating the collective
15     bargaining agreement; right?
16              A.        They should follow the CBA.
17              Q.        You believe that the District is
18     violating the collective bargaining agreement every
19     time they select somebody junior to you for a
20     teaching assistant position that you applied for;
21     right?
22              A.        Yes.
23              Q.        Okay.    And just to make sure we're
24     clear on this, if there's a violation of the
25     collective bargaining agreement that affects you,


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                                                                           44
1                              Carol Melton
2      you have a right to grieve the matter and ask your
3      union to submit the grievance to arbitration,
4      right?
5               A.        I have the right to file a
6      grievance.
7               Q.        Right.    And you have a right to
8      request your union to arbitrate it, whether they
9      agree to or not to do it, you have a right to
10     request that they do it; right?
11              A.        No, we don't have a right to request
12     that they go to arbitration.
13              Q.        Okay.    Has the union gone to
14     arbitration over any claim that you've made through
15     to today that you were denied a teaching position
16     that you were entitled to based on your seniority?
17              A.        Mr. Rushfield, it seems like you're
18     asking two questions, so.
19              Q.        Okay.    Well, I'll break it down.
20              A.        Could you ask me --
21              Q.        I think it was one, but I'll give it
22     to you again.      At any point to today has your union
23     ever gone to arbitration on your behalf relating to
24     any claim by you that you were denied an
25     appointment to a teaching assistant position,


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                                                                           45
1                                Carol Melton
2      whether it be summer or afterschool, because you
3      were senior to somebody who was selected?
4                A.       My union has not gone to arbitration
5      for me.
6                Q.       Okay.
7                         Now, I will tell you, Ms. Melton,
8      with regard to emails concerning the issue of
9      whether you had to attend an interview in order to
10     be considered for a position, I have now shown you
11     all there are that you've provided to me.             So I'm
12     going to ask you again if you have an email in
13     which you were told that one must attend an
14     interview to be considered for a position, I'm
15     demanding that you produce it here.
16               A.       Okay.    I will do that.
17               Q.       Okay.    I'll pull up another
18     document.      All right, on your screen there should
19     be a document marked as Defendant's Exhibit U.               Do
20     you see such a document, Ms. Melton?
21               A.       Yes.
22               Q.       Okay.    I'm going to scroll through
23     it.   Let me know if I go too fast, I'm going to try
24     to do it slowly.
25                        Now, you'll note, I'll stop for a


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                                                                           46
1                              Carol Melton
2      moment, under "recommended action" this relates to
3      appointments to the extended school year program
4      for students with disabilities at Morse School.
5      And there are nine people who got selected without
6      being substitutes.       Do you see that?
7              A.         Yes, I see the nine.
8              Q.         Okay.   Now, earlier in Exhibit H I
9      showed you an email that talked about "an interview
10     for the teaching assistant position has been
11     scheduled for Thursday, July 27, 2017 at two p.m.
12     This interview will be held at Morse School."              This
13     assignment, these teaching assignments that are
14     reflected by this exhibit, I'm going to scroll up
15     so you can see the reference, it talks about it
16     being at Morse School.        Is this the assignment that
17     you were to be interviewed for on July 27, 2017 as
18     referenced in Exhibit H?         It's either yes, no, or I
19     don't know or I don't remember.
20             A.         I don't recall.
21             Q.         Okay.   That's fair.
22                        This position, which involves all
23     these teaching assistants from Sara Herman to the
24     last one who got a position going up, now
25     Ms. Maryann Baker is a teaching assistant.             Do you


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1                                Carol Melton
2      see that?
3              A.         I see what's written.
4              Q.         All right.     You see she's listed as
5      a teaching assistant on this Board document, right?
6              A.         I see that.
7              Q.         Okay.    So now it's your position
8      that you should have gotten this position over
9      Ms. Baker on the basis that she was a teacher's
10     aide and not a teaching assistant; right?
11             A.         Yes.
12             Q.         Is there anybody else on this list
13     of people who got the position that you're claiming
14     that you should have gotten it rather than them?
15     I'll show you the list.
16                          (Witness perusing documents)
17             Q.         Can you answer my question,
18     Ms. Melton?
19             A.         I did.
20             Q.         I'm sorry, answer it again, I didn't
21     hear an answer.
22             A.         Oh, I'm sorry.        I said Adelma
23     Shillingford, Maryann Baker, Alice Rahemba,
24     Danielle Atkins.
25             Q.         Okay.    Ms. Shillingford, had she


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                                                                           48
1                              Carol Melton
2      filled this position the prior summer?
3                A.       I don't recall.
4                Q.       All right.     Ms. Baker, had she
5      filled this position the prior summer?
6                A.       I don't recall that either.
7                Q.       Did I ask you about
8      Ms. Shillingford, is that the first name I asked
9      you about?
10               A.       Yes, you said Shillingford.
11               Q.       I think you said Alice Rahemba, had
12     she filled this position the prior summer?
13               A.       I don't recall.
14               Q.       Did you name someone else?
15               A.       I said Danielle Atkins.
16               Q.       Had she filled the position the
17     prior summer?
18               A.       I can't recall that.
19               Q.       And the reason that you claim
20     Shillingford, Rahemba and Atkins should not have
21     been selected for this position over you is why?
22               A.       Seniority being the most important
23     factor.
24               Q.       So it's your position that it's
25     because you were senior to each of these persons;


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                                                                           49
1                                Carol Melton
2      right?    To the ones I just mentioned.
3               A.        Which ones you just mentioned,
4      because I --
5               Q.        Shillingford, Rahemba and Atkins --
6               A.        Yes.
7               Q.        -- in terms of seniority?
8               A.        Yes.
9               Q.        Okay.    And you made a similar claim
10     in the prior litigation with regard to people
11     junior to you and Ms. Baker being selected for
12     positions that you were not selected for; right?
13              A.        Yes.
14              Q.        Okay.    Now, earlier I had shown you
15     Exhibit F, the posting for the eight teaching
16     assistants for the six week summer program located
17     at Morse Elementary.        Do you recall that?
18              A.        Which one, the one for Maria Brown?
19              Q.        No, not an email.
20              A.        Oh.
21              Q.        I showed you Exhibit F, which was
22     the posting, it's the only posting I've shown you,
23     which was for the extended school year summer
24     program for students with disabilities position
25     having eight teaching assistants for a six week


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                                                                           50
1                                Carol Melton
2      summer program located at Morse Elementary,
3      application deadline May 2, 2017.           Do you recall
4      seeing that earlier today?
5              A.         Yes.
6              Q.         Okay.    Do you recall knowing that
7      Ms. Yvonne Baker was the "send a letter of interest
8      to person"?
9              A.         Yvonne Baker?
10             Q.         Yes.     No, I'm sorry, Yvonne Palmer.
11             A.         She was the what?
12             Q.         Do you recall that Yvonne Palmer was
13     the person who you were to send the letter of
14     interest to for that position?
15             A.         Yes.
16             Q.         Okay.    I show you a document we have
17     marked as Defendant's Exhibit X.           Oh, before I do
18     that, I see on Defendant's Exhibit U one of the
19     names of the sub positions is Lorraine Boughton.
20     Is this position related to the position for which
21     Ms. Boughton attended the group interview?
22             A.         Lorraine Boughton is the one who
23     attended the group interview.
24             Q.         For this position?
25             A.         I don't know if it's this position.


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                                                                           51
1                                Carol Melton
2               Q.        Well, I don't know either, but I'm
3      asking you.     I think you attended a group
4      interview, that was for an extended school year
5      program for the summer; right?
6               A.        Yes.
7               Q.        And that was going to involve more
8      than one position, it was going to involve multiple
9      positions; right?
10              A.        That's my understanding.
11              Q.        Right.     And the posting I showed you
12     from Exhibit F, "extended school year summer
13     program for students with disabilities", that's
14     this program that we are looking at with regard to
15     the Board document in front of you at Exhibit U;
16     right?
17              A.        That's what it says.
18              Q.        Okay.    You said Ms. Boughton
19     attended an interview, I think you said a group
20     interview in April or May of 2017 for an extended
21     school year position for the summer of 2017.              Was
22     it for this position or some other position some
23     other position?
24              A.        It was for an ESY position.
25              Q.        And the group interview that you


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1                                Carol Melton
2      attended with Ms. Boughton, was it for this
3      position that's reflected by Defendant's Exhibit U?
4      Yes, no, I don't know, I don't remember.
5               A.        I believe this was for the group
6      interview.
7               Q.        Okay.    Ms. Boughton also didn't get
8      selected even though she was of the only three
9      people who attended the group interview; right?
10              A.        Yes.
11              Q.        And there are a host of people
12     listed here as subs, including you and
13     Ms. Boughton.      And apart from you and Ms. Boughton,
14     none of them attended the group interview either;
15     right?
16              A.        Can I ask for a break?
17              Q.        After you answer this question we
18     can take a break.
19              A.        Ms. Boughton was at the group
20     interview.
21              Q.        Right.     And you were at the group
22     interview and Ms. Herman was at the group
23     interview; right?
24              A.        Yes.
25              Q.        So all of the other people listed


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                                                                           53
1                              Carol Melton
2      for subs, they didn't attend the group interview
3      either; right?
4               A.        I don't know.
5               Q.        Well, were you at the group
6      interview?
7               A.        I was at the group interview.
8               Q.        And there were only three teaching
9      assistants that attended, you said; right?
10              A.        I believe you're confusing the two
11     different interviews for ESY.
12              Q.        Well, I will tell you, Ms. Melton,
13     you've already testified that this is the group
14     interview, this is the position for which you
15     attended the group interview.          So it's got to be
16     one way or the other.        So let me ask you that
17     again.    The group interview that you attended that
18     included Ms. Boughton, Ms. Herman and yourself, was
19     that for this position or was it not?
20              A.        I believe I said --
21              Q.        Was it for this position or was it
22     not?   Please just answer my question.
23              A.        I don't know.
24              Q.        Okay.
25                          MR. CARMAN:      Can we take a break


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1                                Carol Melton
2              now?
3                           MR. RUSHFIELD:       Sure.   Five
4              minutes?
5                           MR. CARMAN:      That's sufficient for
6              me.    Is that okay with you, Carol?
7                           THE WITNESS:        Yes, that's fine.
8                           MR. CARMAN:      Okay.
9                           MR. RUSHFIELD:       Five minutes,
10             we'll be back at, I've got 11:11 on my
11             computer at least.        It will be 11:16 on my
12             computer then.
13                          MR. CARMAN:      Okay.
14                          (Recess taken)
15     BY MR. RUSHFIELD:
16             Q.         I'm going to show you another
17     document, Ms. Melton.         Do you see, Ms. Melton, this
18     document marked as Defendant's Exhibit X?
19             A.         Yes.
20             Q.         All right.     And I will represent to
21     you, Ms. Melton, that this was an affidavit
22     submitted to the court in your earlier action
23     concerning in support of the district's motion for
24     summary judgment, and it was an affidavit from
25     Yvonne Palmer.      Do you recall Ms. Palmer submitting


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                                                                           55
1                                Carol Melton
2      an affidavit in support of the motion for summary
3      judgment in your early case?
4               A.        No, I don't recall.
5               Q.        Okay.    Anyway, I'm going to direct
6      your attention to, do you know who Ms. Palmer was
7      or is.    First of all, let me ask this.          Is
8      Ms. Palmer still employed by the Poughkeepsie City
9      School District?
10              A.        No.
11              Q.        Okay.    Do you recall, according to
12     Exhibit F she was a director of elementary
13     instructional support when that posting for the
14     extended school year summer program for students
15     with disabilities was made.         Do you recall her
16     being director of elementary instructional support?
17              A.        Yes.
18              Q.        Okay.    I'm going to direct your
19     attention to paragraph four of her affidavit.              I'm
20     showing you paragraph four.         Before I perhaps read
21     it into the record I want you to take a look at
22     paragraph four and tell me if you recall this being
23     like part of an affidavit submitted by Ms. Palmer
24     in your prior litigation relating to a summary
25     judgment motion.


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                                                                           56
1                              Carol Melton
2                           (Witness perusing documents)
3               Q.        Do you recall it, Mrs. Melton, yes
4      or no?
5               A.        Recall what?
6               Q.        Paragraph four being part of an
7      affidavit submitted in your earlier case.
8               A.        I just said that I don't recall, but
9      I'm reading it.
10                          (Witness perusing documents)
11              A.        Okay.
12              Q.        Do you recall that paragraph, yes or
13     no?
14              A.        I don't recall the paragraph.
15              Q.        Okay.   It says, "The District has,
16     as far back as I can remember, had a policy of
17     reappointing to ESY positions all staff, including
18     teaching assistants in those roles who served in
19     those rolls in the prior year.          The teaching
20     assistant was appointed to work in the ESY program
21     in the prior summer if he or she applied, he or she
22     was guaranteed reappointment to the ESY program the
23     following summer so long as he or she did not get a
24     bad evaluation."      Do you see that?
25              A.        Yes, I see that.


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                                                                           57
1                               Carol Melton
2              Q.         Do you have any basis for disputing
3      that that's accurate?
4              A.         No.
5              Q.         Okay.    It then goes on to say, "For
6      example, Mary Baker has served as a teaching
7      assistant in the ESY program before I began
8      administering it, and she consequently continued to
9      be appointed to it upon application during the
10     summers of 2015 and 2016."         Do you have any reason
11     for disputing that?
12             A.         Not what's written.
13             Q.         Well, I'm not asking you if you
14     dispute that it's there, I'm asking if you dispute
15     the statement that she's making.
16             A.         If it's true or not true?
17             Q.         Right.
18             A.         Which part are you asking?
19             Q.         Let's go back over it.        There are I
20     think, if I count correctly, three sentences in
21     paragraph four.      Do you dispute, in terms of
22     whether it's true or not or accurate or not, any of
23     the statements in any other of those sentences in
24     paragraph four?
25                          MR. CARMAN:      Object to form.


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                                                                           58
1                              Carol Melton
2              Q.         You can answer it.
3              A.         I dispute some of the information in
4      number -- number four paragraph.
5              Q.         Tell me what you dispute, read it to
6      me.
7              A.         "For example, Mary Baker, Maryann
8      Baker had served as a teaching assistant in the ESY
9      program before I began administering it, and she
10     consequently continued to be appointed to it upon
11     application during the summers of 2015-2016."
12             Q.         And which, well, let's break that
13     down.   Do you dispute that Ms. Baker had been
14     appointed as a teaching assistant in the ESY
15     program on prior occasions before 2015 and 2016?
16             A.         I don't recall prior occasions.
17             Q.         So the answer to my question is you
18     don't know whether she was or wasn't; is that fair?
19             A.         I don't know.
20             Q.         It then says she was appointed to
21     such ESY programs upon application during the
22     summers of 2015 and 2016.         Do you know whether
23     that's accurate?
24             A.         I don't know if that's accurate.
25             Q.         Okay.   Do you have any reason to


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1                                Carol Melton
2      believe it's not accurate?
3              A.         I don't recall and I don't know
4      either way.
5              Q.         So you're not actually disputing her
6      sworn statement, you just don't know whether it's
7      accurate or not; is that fair?
8              A.         Yes.
9              Q.         Okay.    And I'm going to show you
10     another paragraph.        Paragraph six, okay.       I'm
11     sorry, so it says, number six, it says, "In my
12     current position, during my period of running the
13     ESY program and while I was an assistant principal
14     at the district's high school, relative seniority
15     of teaching assistants, whether building-wide or
16     District-ride", it says ride, it should be "wide",
17     "played no role or factor in the teaching assistant
18     assignment decisions made, whether those
19     assignments were regular teaching assistants
20     assignments or extra duty assignments."             Do you
21     have any reason to dispute that?
22             A.         I have no knowledge of that.
23             Q.         Do I understand correctly that
24     you're not claiming that the District has in fact
25     historically relied upon seniority in making these


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1                                Carol Melton
2      determinations, but rather it's your position that
3      they violated the contract in doing so?
4              A.         I can only attest that the CBA, my,
5      my union's CBA was not followed in regard to
6      seniority.
7              Q.         All right.     And that's based upon
8      your interpretation of the collective bargaining
9      agreement; right?
10             A.         Yes.
11             Q.         She goes on to say, and just to make
12     sure I've completed it, "All such decisions were
13     based solely on the needs of the building and
14     students and demonstrated abilities of the
15     applicant."     Do you have any basis for disputing
16     that that was the basis for the decisions the
17     District has made in filling teaching assistant
18     assignments outside of their regular assignments?
19             A.         I don't know.
20             Q.         Let me show you another document.
21     All right.     I have on my screen and hopefully on
22     your screen, Ms. Melton, a document entitled
23     Defendant's Exhibit Y.        Do you see that document on
24     your screen?
25             A.         Yes.


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1                                Carol Melton
2              Q.         And this is an affidavit from
3      Dr. Ronel Cook in support of motion for summary
4      judgment in your prior case.          Do you see that?
5              A.         Yes.
6              Q.         Do you recall seeing this document
7      when you were involved in your prior case?
8              A.         I don't remember.       I don't recall.
9              Q.         Do you recall who Dr. Ronel Cook
10     was?
11             A.         Yes.
12             Q.         And what positions did he fill at
13     the school district while you were there, if you
14     remember?
15             A.         He was in a few.
16             Q.         Okay.    You know what, the easiest
17     thing to do is I'll show you paragraph one where he
18     lists the things he had been.            He says that he is
19     currently, at the time of this he was the
20     superintendent of schools for the Catskill Central
21     School District as of July 1, 2017.            He says prior
22     to that appointment, from 2015 through 2017 he was
23     the deputy superintendent for operations for the
24     Poughkeepsie City School District.           Does that
25     refresh your recollection as to the position he


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1                              Carol Melton
2      filled from 2015 through 2017?
3              A.         Yes, I remember that position.
4              Q.         Okay.    It then goes on to say from
5      January of 2013 to 2015 he was the assistant
6      superintendent for human resources for the
7      District.    Does that refresh your recollection as
8      to the position he held January of 2013 to 2015?
9              A.         I know he was assistant
10     superintendent for HR.
11             Q.         Okay.    You're just not sure about
12     the years, right?
13             A.         I'm not sure about the years.
14             Q.         Okay.    He also says he was the
15     director of human resources for the District from
16     July of 2011 through December of 2012.            Do you see
17     that?   Do you have any reason, does that refresh
18     your recollection that he had also been director of
19     human resources for a number of years?
20                          MR. CARMAN:      Object to form.
21             Q.         You can answer it.
22             A.         I said I remember him as assistant
23     superintendent for HR.
24             Q.         Right.    Do you remember him also as
25     director of human resources?


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1                              Carol Melton
2              A.         It's the same to me.
3              Q.         Okay.   He also says that for a
4      period of time he was a building principal at Morse
5      Elementary School commencing in 2006, and Clinton
6      Elementary during the 2009-2010 school years.                Are
7      you aware that Mr. Cook was a building principal at
8      Morse and at Clinton at various times during your
9      period as an employee of the District?
10             A.         I guess.
11             Q.         Okay.
12             A.         I don't know.
13             Q.         Do you have any recollection of him
14     ever having been a building principal?
15             A.         I don't know, because --
16             Q.         Okay.   If you don't know you don't
17     know.
18             A.         -- I wasn't in the building.
19             Q.         You don't have to explain it to me.
20     But if you don't know that's fine.
21                        I'm going to direct your attention
22     to paragraph 11 which I will bring you to.             I'm
23     going to read it to you because, and then I'm going
24     to proceed as I'm reading it to you to show you the
25     rest of the paragraph because it goes between two


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1                              Carol Melton
2      pages.    "As a general practice, for as long as I've
3      been employed by the District, teachers and
4      teaching assistants in the District who are
5      assigned to an afterschool or extended school year
6      program at a school building are reassigned upon
7      application to the same position in that
8      afterschool or extended school year program in that
9      building in subsequent school years without regard
10     to their respective lengths of service with the
11     District unless they are negatively evaluated by
12     supervisor of the program, do not seek
13     reappointment to the position or leave employment
14     with the District."
15                        So he seems to be saying the same
16     thing that Ms. Palmer was saying with regard to the
17     length of service or seniority not playing a role
18     in deciding who gets these, either extended school
19     year teaching assistant assignments or afterschool
20     teaching assistant assignments.          Do you contest
21     that that is the way it worked at the District as
22     reflected by this statement?
23              A.        As the statement is saying, it still
24     has to go by the CBA, and that means seniority.
25     And of course you have to be a certified teaching


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1                              Carol Melton
2      assistant.
3              Q.         So with regard to the seniority
4      issue, it's basically the same question I asked you
5      with regard to Ms. Palmer, do I understand
6      correctly that you're not disputing that the
7      District has repeatedly ignored seniority in making
8      these assignments, you're just saying that in doing
9      so they're violating the collective bargaining
10     agreement; right?
11             A.         I'm saying that as long as --
12             Q.         Can you answer my question as I've
13     asked it?    It's a yes or no, it's a yes or no
14     question.    If you can't answer it that way that's
15     fine but you have to tell me that.           So I'm going to
16     ask it again.      According to what Mr. Cook, Dr. Cook
17     says there, assignments, for as long as he was
18     employed by the District, teaching assistants,
19     teaching assistants --
20             A.         Where is that at?
21             Q.         Paragraph 11, paragraph 11.         Do you
22     want to, would you rather read it to yourself, I'll
23     scroll it for you?
24             A.         No, I just don't know who's saying
25     this.


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1                              Carol Melton
2              Q.         This is Dr. Cook's affidavit in your
3      prior case in support of a motion for summary
4      judgment.    And he's saying, as did Ms. Palmer, that
5      seniority plays no role in the decisions the
6      District has been making as long as they've been
7      working there for people being assigned as teaching
8      assistants either for summer extended school year
9      programs or for afterschool programs, that they're
10     saying in terms of practice that the District has
11     not considered seniority at all in making these
12     assignments.     Do you dispute that the District has
13     not considered seniority at all for the purposes of
14     making these assignments?
15             A.         I don't know how they make the
16     decision.    I just know it's against the CBA.
17             Q.         All right.     So you don't know
18     whether these statements they're making here are
19     true or not, but you have no basis for challenging
20     the fact that, for challenging the statements
21     they're making as being true; correct?
22             A.         All I'm saying is they're not
23     following the CBA according to what's --
24             Q.         So is the answer to my question that
25     you're not saying that the practice that they're


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1                              Carol Melton
2      describing is not being accurately described,
3      Ms. Palmer, and Mr. Dr. Cook, with regards to
4      seniority having played no role in those
5      assignments, you're just saying that their position
6      you consider to be contrary to your interpretation
7      of the collective bargaining agreement; right?
8                           MR. CARMAN:      Object to the form.
9              Q.         You can answer it.
10             A.         As I said --
11             Q.         Is that not correct, is that not
12     correct, yes or no?
13             A.         As I said --
14             Q.         Please, please, Ms. Melton, just
15     answer my questions as I ask them.           These are not
16     complicated questions.        It's a yes or no answer.
17             A.         So as you're stating it --
18             Q.         So let me ask the question again,
19     it's a yes or no question.         Are you claiming that
20     these statements by Dr. Cook and the one we did
21     earlier by Ms. Palmer, which states that seniority
22     has played no role in deciding who gets these.
23     Teaching assignments is correct, yes or no?
24             A.         I guess seniority is not playing a
25     role in these assignments.


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1                                Carol Melton
2               Q.        It's your position --
3               A.        Against the CBA instruction.
4               Q.        It's your position that they should
5      be because of the collective bargaining agreement;
6      right?    Right?    Correct?
7               A.        Yes.
8               Q.        Okay.    Now, considering Ms. Baker, I
9      direct your attention to paragraph 41 of Dr. Cook's
10     affidavit from your prior litigation.            Paragraph
11     41, which is Defendant's Exhibit Y in front of you,
12     he says, "Counsel for the District has advised me
13     that during her deposition Melton claimed that
14     District employee Maryann Baker was not a certified
15     teaching assistant and should not have been
16     considered for and granted teaching assistant
17     afterschool, summer or extended school year
18     assignments where Melton might have applied for
19     those assignments."         That's the same position you
20     are taking now, correct?
21              A.        Yes.
22              Q.        Okay.    He says, "The fact is that
23     Ms. Baker and Doreen Henry each had started out as
24     teacher aides for the District decades ago, and had
25     been grandfathered as teaching assistants when the


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1                              Carol Melton
2      certification requirements had changed for their
3      duties."      Do you know whether that statement is
4      true or false?
5               A.        That is not true.
6               Q.        All right.     So you say that the fact
7      they had not been grandfathered as teaching
8      assistants when the certification requirements had
9      changed for their duties, you're saying that's
10     false, that statement?
11              A.        I'm saying that's false.
12              Q.        And how do you know it's false?
13              A.        Because that's not how certification
14     works.
15              Q.        And you are an authority on that
16     subject?
17              A.        I am not an authority but I know how
18     it works.
19              Q.        Okay.   So he says, "As a
20     consequence, Baker and Henry were deemed to be two
21     of the most senior teaching assistants in the
22     District."     Regardless of how certification
23     requirements work, do you dispute that the District
24     had deemed Baker and Henry to be two of the most
25     senior, quote, teaching assistants, closed quote,


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1                                 Carol Melton
2      in the District?
3                A.         No.
4                Q.         Okay.   And he also says that, "I am
5      aware that Ms. Baker has been regularly assigned to
6      paid "teaching assistant" summer positions, (i.e.,
7      extended school year or ESY) for more than 30
8      years."        Do you dispute that Ms. Baker has been
9      regularly assigned to paid teaching assistant
10     summer programs for more than 30 years?
11               A.         I don't know.
12               Q.         Okay.   So you have no factual basis
13     for disputing the claim made in a sworn affidavit
14     by Dr. Cook that in fact for 30 years Ms. Baker has
15     been regularly assigned to paid teaching assistant
16     summer programs; right?
17               A.         I don't know if she was regularly
18     assigned there for 30 years or not.
19               Q.         Are you aware that she's been
20     regularly assigned to paid teaching assistant
21     summer programs?
22               A.         I don't know that either.
23               Q.         But it's true, is it not, that
24     factually you have no basis for challenging that
25     statement that Ms. Baker had been regularly


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1                              Carol Melton
2      assigned to paid teaching assistant summer programs
3      for more than 30 years?
4               A.        I have no knowledge of that.
5               Q.        Give me a moment, I just have to
6      find what exhibit this is.         Here it is, okay.       I
7      show you another document.
8                         Ms. Melton, I'm showing you a
9      document that's been marked as Defendant's Exhibit
10     S.    Do you see this document, which has the title
11     on top of it "Teaching Assistant Seniority List
12     16/17 School Year"?
13              A.        Yes, I see it.
14              Q.        Okay.   Now, I'm going to represent
15     to you, well, first of all, this document has a
16     prior marking on it as Defendant's Exhibit N, dated
17     June 28, 2018.      And I will represent to you that in
18     fact this was marked Defendant's Exhibit N at your
19     deposition in the earlier litigation between
20     yourself and the District.         Do you recall this
21     document from that deposition?          I'm assuming you
22     do.    I'll just run through it so you can get a view
23     of it running from the top, slowly running down it.
24     Sorry, let me do it this way.
25              A.        Yes, I can see it.


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1                                Carol Melton
2               Q.        All right.     It has handwriting on
3      it, somebody wrote "effective June 2017."             Is that
4      your handwriting?
5               A.        No.    That, the "effective" one is
6      not my handwriting.
7               Q.        All right.     Then it says re, it
8      looks like rec'd 3/12/18.         Is that your
9      handwriting?
10              A.        That's my handwriting.
11              Q.        Okay.    Do you recall providing this
12     to me during the discovery phase of the earlier
13     case?
14              A.        Yes.
15              Q.        Okay.    And now at the bottom of this
16     seniority list, so at the top of this it talks
17     about teaching assistant seniority list 16/17
18     school year.     And on the second page of this you'll
19     see at the end it has as number one and number two
20     Baker, Maryann M, one of two, Doreen Henry, PHS,
21     two of two.     Now, there's a reference to Morse for
22     Baker.    Is that the name of a -- is that Morse
23     Elementary School in Poughkeepsie, New York?
24              A.        Yes.     That's the school building
25     they're located at.


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                                                                           73
1                                Carol Melton
2              Q.         Okay.    And PHS, is that Poughkeepsie
3      High School?
4              A.         Yes.
5              Q.         Now, both Ms. Baker and Ms. Henry
6      appear on a teaching assistant seniority list.
7      It's your position that Ms. Baker is not a teaching
8      assistant.     Can you explain why she was on the
9      district's seniority list for teaching assistants?
10             A.         Yes.     If you look, all the teaching
11     assistants are listed one through 52.            And Maryann
12     Baker and Doreen Henry are set aside from the list
13     because they are teachers aides.
14             Q.         Well, do teachers aides have
15     seniority lists?
16             A.         They do not.
17             Q.         Are there more than two teacher
18     aides in the school district?
19             A.         No.
20             Q.         So the only teacher aides in the
21     school district are Ms. Baker and Ms. Henry?
22             A.         Yes.
23             Q.         And so therefore they are put on, as
24     far as you know, therefore they are put on the
25     seniority list?


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1                              Carol Melton
2              A.         They're on a seniority list but
3      they're not -- they're represented by CBA just like
4      health aides are, but there is no seniority list
5      for them, there is no seniority for them.             That's
6      why they're not set -- they're set apart from the
7      regular certified teaching assistants one through
8      52.   And you will see my name included, I believe
9      I'm 20 something on that.
10             Q.         I did see your name there.
11             A.         Okay.
12             Q.         So in any event --
13             A.         But the most senior person --
14             Q.         Are you answering a question now?
15             A.         No, I was finishing the --
16             Q.         So let me --
17             A.         I'm sorry.
18             Q.         I think you answered my question.           I
19     don't know where you're -- so in terms of Ms. Baker
20     and Ms. Henry you saw that Mr., Dr. Cook from
21     Defendant's Exhibit Y had stated that the District
22     has deemed them to be two of the most senior
23     teaching assistants in the District.            I ask you
24     again, do you have any reason for disputing that
25     that's what the District has been doing for an


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1                              Carol Melton
2      extended period of time?
3              A.         I don't know if they did or didn't.
4      I just know this document you put in front of me,
5      this is given by the District that they set them
6      apart as well.
7              Q.         All right, I see what it says.          So
8      the answer to my question is, you don't have any
9      basis for disputing Dr. Cook's statement that the
10     District has treated these two people, Baker and
11     Henry, as two of the most senior teaching
12     assistants in the District; right?
13             A.         I don't know.      Because I don't know
14     what they're thinking.
15             Q.         Okay.   Let me show you Exhibit V.
16     Do you see Defendant's Exhibit V, Ms. Melton?              Just
17     tell me if you see the document that has
18     Defendant's Exhibit V on it so I can move on.
19             A.         Yes, I see it.
20             Q.         Okay.   And I'm going to show you
21     that on the bottom of this, this was previously
22     marked as Defendant's Exhibit O on June 28, 2018,
23     and that would have been during your deposition in
24     the prior action.       I will represent to you that
25     Defendant's Exhibit O had a number of documents,


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1                                Carol Melton
2      including the ones I'm about to show you, that were
3      part of Defendant's Exhibit O.           And I'm directing
4      you to, and that would have started on the third
5      page of this document, okay.          So the third page of
6      this document, which was part of a prior exhibit in
7      front of you during the prior deposition, has an
8      agenda item by, on Board documents, and under the
9      "be it resolved" you'll see that it refers to
10     "extended school year program for students with
11     disabilities at Morse School, effective July 5,
12     2016 and extending through August 12, 2016."              Now
13     earlier I showed you as Exhibit U the extended
14     school year program for students with disabilities
15     at Morse School effective July 5, 2017 and
16     extending through August 15th, 2017.            So do you
17     acknowledge that this is the same program, though a
18     year earlier, that was in the BoardDoc I showed you
19     earlier in which you said, for example, that
20     Maryann Baker you should have had the position
21     over, Danielle Atkins you should have had the
22     position over, Alice Rahemba you should have had
23     the position over, Adelma Shillingford you should
24     have had the position over.         Do you recall that?
25             A.         Yes.


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1                              Carol Melton
2                Q.       Okay.   So looking at this one, which
3      is for the earlier year, now this program appearing
4      here under this exhibit at Exhibit V shows that
5      Adelma Shillingford was listed as a teaching
6      assistant for this position for the 2016 summer
7      back then.      So would you acknowledge that Adelma
8      Shillingford was filling the teaching assistant
9      position for the, a teaching assistant position for
10     the extended school year program for students with
11     disabilities at Morse School during the 2016
12     summer?
13               A.       That's what it says on there.
14               Q.       So now Adelma Shillingford is one of
15     the people that you've identified as somebody who
16     you should have had the position rather than her
17     with regard to the summer of 2017.           Is it your
18     position that the fact that she had occupied the
19     same position in the prior summer plays no role in
20     the District in terms of who it can select?
21               A.       Seniority plays the most important
22     factor.
23               Q.       And that again is based on your
24     interpretation of the collective bargaining
25     agreement; correct?


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1                                Carol Melton
2               A.        Yes.
3               Q.        And that's the reason why you
4      continue to insist that even though Adelma
5      Shillingford occupied the teaching assistant
6      position for the same program in the prior summer,
7      you should still have the choice of that position
8      rather than her for the subsequent summer, which
9      was the summer of 2017; right?
10              A.        Yes.
11              Q.        Okay.    You also mention Maryann
12     Baker.    And with Ms. Baker the reason that you
13     should have had the position rather than her was
14     because she's not a teaching assistant, she's a
15     teachers aide; right?         Right?
16              A.        That's correct.
17              Q.        Was there a period when the District
18     had more than two teachers aides?
19              A.        Not that I can recollect.
20              Q.        Anyway, this document from 2016,
21     now, this is a position that you claim you should
22     have gotten over Ms. Baker, right, in your prior
23     litigation?     Looking at Defendant's --
24              A.        Yes.
25              Q.        -- Exhibit V, right?        Okay.


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1                              Carol Melton
2                         And she's listed as a teaching
3      assistant on this document, and you believe that
4      that's inappropriate, that it should say teachers
5      aide and she shouldn't be on there at all; right?
6              A.         I'm saying she's not a teaching
7      assistant.
8              Q.         And therefore she shouldn't be
9      considered for a teaching assistant summer
10     position; right?
11             A.         Yes, when it's advertising for a
12     teaching assistant.
13             Q.         Okay.   But you would acknowledge
14     that in fact prior to the year in question in this
15     current litigation, which is the summer of 2017,
16     for the summer of 2016 she was occupying that
17     position as a teaching assistant according to at
18     least the Board document that's in front of you as
19     Exhibit V; right?
20             A.         As it says there, yes.
21             Q.         Okay.   Alice Rahemba was also a
22     teaching assistant that prior year; right?
23     Withdraw that.
24                        She's also a teaching assistant who
25     was selected for the summer program for the 2016


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1                                Carol Melton
2      for the extended school year program for students
3      with disabilities at Morse School; right?
4              A.         Yes.     It says it, yes.
5              Q.         All right.     And it was your position
6      in the prior litigation that you were entitled to
7      that position over her because you were senior to
8      her; right?
9              A.         Yes.
10             Q.         And that position, that Ms. Rahemba
11     was entitled to that position, I'm sorry, you were
12     entitled to that position over Ms. Rahemba because
13     based on your interpretation of the collective
14     bargaining agreement with respect to seniority
15     relating to assignments; right?
16             A.         Yes.
17             Q.         Okay.    I show you Exhibit U again.
18     And do you see Exhibit U in front of you on your
19     screen, Ms. Melton?
20             A.         Yes, I see it.
21             Q.         Okay.    Now, this is a position
22     that's in fact one of the claims you have in this
23     case relates to this position, right, you're
24     claiming you should have been on this, you should
25     have been selected as a teaching assistant for the


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1                                Carol Melton
2      2017 school year summer, for the 2017 summer, for
3      the extended school year program for students with
4      disabilities at Morse School, and that their
5      failure to put you in that position was of
6      retaliation for your activities in relationship to
7      a discrimination and retaliation complaint you made
8      earlier; right?
9                           MR. CARMAN:      Object to form.
10              Q.        Sure.    You can answer it.
11              A.        I don't recall, but what you're
12     showing me, yes, I see it.
13              Q.        Okay.    Let me ask it again.       In your
14     current case you're making claims you've been
15     subject to retaliation with relationship to
16     teaching assignment positions that you applied for;
17     right?
18              A.        Yes.
19              Q.        And the position reflected by
20     Exhibit U is one of those positions; right?
21     Ms. Melton?
22              A.        I'm looking at the document.
23              Q.        Okay.
24              A.        Can you scroll up where I can see
25     the date?


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1                                Carol Melton
2               Q.        Yes.     I'll take you to the top.        Can
3      you answer my question now?
4               A.        Okay.    Can you repeat the question
5      now?
6               Q.        In the position that's reflected by
7      Defendant's Exhibit U, the teaching assistant
8      positions, are you claiming that you were denied
9      one of the teaching assistant positions that are
10     listed here as an act of retaliation for your prior
11     complaints of either retaliation or discrimination?
12              A.        Yes.
13              Q.        Okay.    And do I understand correctly
14     that that relates to people junior to you or
15     Ms. Baker having been selected rather than you,
16     yes?
17              A.        Anyone who's less senior than me.
18              Q.        Or Ms. Baker, who's been there
19     longer but is not a certified teaching assistant;
20     right?
21              A.        She's not a teaching assistant, no.
22              Q.        Right.     So Ms. Baker has been at the
23     District longer than you; right?
24              A.        She -- yes.
25              Q.        Right.     But your claim that you


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1                                Carol Melton
2      should have gotten this position over Ms. Baker and
3      that your not getting it was an act of retaliation
4      against you is because she's not actually a
5      teaching assistant she's only a teaching aide;
6      right?
7               A.        Yes, that's correct.
8               Q.        Okay.    And you mentioned Danielle
9      Atkins here.      Now, and you're senior to Ms. Atkins,
10     are you not?
11              A.        Yes.
12              Q.        Are there other people among the
13     subs who are also senior to Ms. Atkins who didn't
14     get the position?
15              A.        I don't know.
16              Q.        Well, let's see who we got.         Bear
17     with me a minute.
18                        Do you see the name near the bottom,
19     Maria Nanetti?
20              A.        Yes, I see that.
21              Q.        Is she senior to Ms. Atkins?
22              A.        I don't know.
23              Q.        Okay.    Well, remember the name
24     Nanetti.      And I see Leighann Ciferri is also listed
25     as a teaching assistant.         Do you know if she's


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1                                Carol Melton
2      senior to Ms. Atkins?
3              A.         I don't know.
4              Q.         So we have the names I've given you,
5      Maria Nanetti and Leighann Ciferri.            Do you
6      remember those two names, Maria Nanetti and
7      Leighann Ciferri?         Yes, Ms. Melton?
8              A.         Yes.
9              Q.         See if I have this one up.           Here we
10     go.   This is S, which was the seniority list that
11     you recalled having written on.          I'll take you to
12     the first page of it.         Now, you're numbered 19 on
13     this list, right?
14             A.         Yes.     That's what it says.
15             Q.         Okay.    And Ms. Atkins is number 30
16     on the list, right, Danielle Atkins?
17             A.         Yes.
18             Q.         Right.     Leighann Ciferri, is she
19     senior to Ms. Atkins, yes or no?
20             A.         On the list it says that.
21             Q.         All right.     So that would indicate
22     she was senior to Ms. Atkins at the time of
23     Ms. Atkins being selected to the teaching assistant
24     position for this summer of 2017; right?
25             A.         Yes.


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1                                Carol Melton
2               Q.        Ms. Nanetti is number 27; right?
3               A.        Yes.
4               Q.        So she's senior to Danielle Atkins
5      as well; right?
6               A.        Yes.
7               Q.        So both Ms. Nanetti and Ms. Ciferri
8      also didn't have their seniority credited for
9      purposes of their selection as a teaching assistant
10     for the 2017 summer and the extended school year
11     program for students with disabilities at Morse;
12     right?    Correct?
13              A.        Could you say that again?
14              Q.        Sure.
15              A.        Because you went in and out.
16              Q.        I'm sorry.     Like I said, I wanted to
17     do this in person.
18              A.        I think it was a -- it doesn't
19     matter, you've moving your head.           So it's clear,
20     but when you, you kind of mumble when you move your
21     head down.
22              Q.        Okay, not a problem.        I'll do it
23     again.    I want it to be clear.
24                        Ms. Nanetti and Ms. Ciferri were
25     both also senior to Ms. Atkins and should have


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1                                Carol Melton
2      been, according to you, should have been selected
3      before Ms. Atkins for the summer of 2017 extended
4      school year program for students with disabilities
5      at Morse School; right?
6              A.         Yes.
7              Q.         Okay.    And in fact, let me show you,
8      going back to another document, going back to
9      Exhibit U for a moment.         Do you see Exhibit U in
10     front of you?
11             A.         Yes.
12             Q.         Okay.    There are 11 people who are
13     teaching assistant subs, including yourself.              It's
14     your position that all 11 of those people should
15     have had the right to the slot that Maryann Baker
16     filled; right?
17             A.         I'm not saying that.
18             Q.         Well, are all of the 11 people
19     including yourself teaching assistants?
20             A.         Maybe.
21             Q.         Do you know of any of them who are
22     not teaching assistants?
23             A.         I know that some have been dismissed
24     from the District because they weren't certified.
25             Q.         Okay.    Well, which of these were not


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1                                Carol Melton
2      certified in July of 2017?
3              A.         I don't know if they were at that
4      time.   I just know only recently.
5              Q.         Okay.    Well, recently you discovered
6      that some weren't certified, who were the ones who
7      weren't certified?
8              A.         Miss Christine Robinson.
9              Q.         Okay.
10             A.         Is no longer with us.
11             Q.         Well, is that because she was not
12     certified?
13             A.         Yes.
14             Q.         Okay.    Who else?
15             A.         Diane Lewis.
16             Q.         Okay.
17             A.         Maria Enciso.
18             Q.         Okay.
19             A.         And I think that's all I recall.
20     There may have been more, but that's the only ones
21     that I am aware of.
22             Q.         All right.     And this discovery that
23     they weren't certified, do you understand this is a
24     recent discovery?
25             A.         I don't know if it's a recent


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1                              Carol Melton
2      discovery.     I said that that's recent to me,
3      recently.    For how long they weren't certified I'm
4      not aware.
5              Q.         But they were listed as teaching
6      assistants by the Board on Exhibit U, and they were
7      actually designated as subs at that time; right?
8              A.         They were.
9              Q.         And they were all on the seniority
10     list, weren't they?
11             A.         They were.
12             Q.         Okay.    Were there, I don't mean to
13     exclude anyone, in terms of the teaching assistants
14     who are listed here, assuming the Board didn't know
15     that three or more were not actually certified,
16     isn't is your position that every teaching
17     assistant there, if deemed certified, was entitled
18     to the position that Ms. Baker got as a teaching
19     assistant on that occasion?
20             A.         If it's according to seniority, yes.
21             Q.         Right.    And it's Maryann Baker your
22     position is has no seniority credit at all as a
23     teaching assistant; right?
24             A.         She's not a teaching assistant.
25             Q.         Therefore she has no seniority as a


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1                              Carol Melton
2      teaching assistant is your position; right?
3               A.        That's correct.
4               Q.        All right.     So everybody listed as a
5      teaching assistant sub, as long as they're deemed
6      to be teaching assistants on the seniority list,
7      would have been entitled to the position that Ms.
8      Baker got?
9               A.        To the best of my knowledge.
10              Q.        Okay.   And that's again based upon
11     your position that Ms. Baker is not entitled to any
12     teaching assistant position because she is actually
13     a teacher's aide and not a teaching assistant;
14     right?
15              A.        Correct.
16              Q.        Okay.   Let's move on.       I'm showing
17     you again Defendant's Exhibit A, which is the
18     attachment to your complaint.          The second
19     paragraph, second numbered paragraph, says "Nicole
20     Penn gave me a second interview for a summer
21     position in July, August 2017."          What position was
22     that?
23              A.        That's the other ESY position that I
24     was telling you was different than the number one.
25              Q.        That was different than the one we


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1                                Carol Melton
2      were just looking at for the eight teaching
3      assistants for the extended school year position at
4      Morse; right?
5                           MR. CARMAN:      Object to form.
6              A.         I don't know because I would have to
7      remember, but I'm saying one and two are two
8      different ESY.
9              Q.         Okay.    So the one we were just,
10     well, the one we were just talking about earlier
11     only a moment ago with regards to Defendant's
12     Exhibit U, which was the extended school year
13     program for students with disabilities at Morse
14     School effective July 5, 2017 is that a different
15     position than the one you're referring to at
16     paragraph numbered two of your attachment?
17             A.         That interview was different.
18             Q.         It was for a different position?
19             A.         Yes.
20             Q.         And what position was that for?
21             A.         I don't recall what they called it.
22             Q.         And do you know who got the
23     position?    Well, did that involve one position or
24     more than one position?
25             A.         My understanding, I think it was


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1                              Carol Melton
2      two, two or three.
3                Q.       Okay.   And who got those, do you
4      recall who got those two or three positions?
5                A.       No, I don't.
6                Q.       Do you recall whether they were
7      senior to you or not?
8                A.       I don't know.
9                Q.       Do you recall whether the people who
10     got selected had occupied those positions the prior
11     summer?
12               A.       No, I don't recall that.
13               Q.       Is it your testimony that you don't
14     know one way or another whether the people who got
15     selected for the position that was relating to
16     paragraph number two of your attachment had
17     occupied that position during the prior summer?
18               A.       I don't know.
19               Q.       Paragraph numbered three -- hold on,
20     let me see now.      Bear with me a moment, okay, I
21     have to show you some other exhibits.
22                        I'm showing you Defendant's Exhibit
23     H, which I showed you before.          This is about an
24     interview for a teaching assistant position that
25     was scheduled for Thursday, July 27, 2017 at two


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1                                Carol Melton
2      p.m. to be held at Morse School.           This is from
3      Maria Brown.     Is this the interview for the
4      position that your paragraph number two of your
5      attachment was referring to?
6              A.         Yes.
7              Q.         Okay.    So was the interview held on
8      July 27, 2017?
9              A.         Yes.
10             Q.         Okay.    And did you attend that
11     interview?
12             A.         Yes.
13             Q.         And was there more than one
14     interview involved with regard to your being
15     interviewed for this position?
16             A.         I just had that, that one that I
17     came into for that.
18             Q.         Okay.    This is Exhibit I,
19     Ms. Melton, and this is an email to you, I'm sorry,
20     from you to Ms. Penn.         Now, this is August 2017.
21     It's the same date as the -- I'm sorry, withdraw
22     that.     It's about six days after Exhibit H where
23     you were scheduled for Thursday, July 27, 2017 in
24     an interview.      Now, according to your testimony you
25     attended the interview on July 27, 2017.             You say


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1                                Carol Melton
2      "I just wanted to touch base with you regarding the
3      status of my interview."         Were you following up
4      here about what the results of the interview you
5      had on July 27, 2017?
6              A.         Yes, I was.
7              Q.         Okay.    And that's why you were
8      writing to Ms. Penn to find out so what's the
9      status, what's the results of my interview, right;
10     fair?
11             A.         Yes.
12             Q.         Okay.    I'm taking this out, I don't
13     need this.     I show you Exhibit J.        Showing you,
14     Ms. Melton, Exhibit J.        Do you see that?
15             A.         Yes.
16             Q.         Okay.    And now this is on the same
17     date, August 2, 2017, an email from Ms. Penn back
18     to you, and hold on, let me scroll down.             Okay.
19     The only thing on this document is her
20     communication.      And she writes to you that she
21     regrets to inform you that you are not the selected
22     candidate for the TA position for the 2017 ESY
23     program.     Now, it's your testimony that this is a
24     program that was different than the one for special
25     education students at Morse School; right?


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1                              Carol Melton
2               A.        It wasn't an ESY program, that's
3      what I said.
4               Q.        Right, this is not the ESY program
5      for students with disabilities at Morse School
6      which was to be effective July 5, 2017; right?
7               A.        This one is for the one only at
8      Morse School.
9               Q.        Well, Exhibit U, which had the nine
10     people appointed from Bridges to Herman that we
11     looked at earlier, is at Morse School, it says,
12     "extended school year program for students with
13     disabilities at Morse School."          The one we're
14     looking at now with regards to this exhibit, is
15     this that same program or is this a different
16     program than the extended school year program for
17     students with disabilities at Morse School?
18     Ms. Melton?
19              A.        Yeah.   I said you have to show me
20     the other document again.
21              Q.        Okay.   I'll show you Exhibit U
22     again.    Before I do so, let me just point out that
23     Exhibit J says you were not the selected candidate
24     for the TA position for the 2017 ESY program.              Does
25     that at all refresh your recollection as to whether


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1                              Carol Melton
2      this program was going to be multiple persons as
3      opposed to one?
4              A.         This is not the group interview.
5              Q.         I understand that.       But what I'm
6      asking you is, is this program that's referenced
7      here where she says you were not the selected
8      candidate for the TA position for the 2017 ESY
9      program, does that refresh your recollection as to
10     whether the program that she's referring to on
11     August 2 was one that did not involve multiple
12     teaching assistants being selected but only one?
13             A.         This is in reference to the
14     interview I had with her in late July.
15             Q.         And was that for only filling a
16     single slot as a teaching assistant for a summer
17     program?
18             A.         I said for that one it might have
19     been one or two, I'm not sure, I don't recall.
20             Q.         Okay.   So I don't have to show you
21     the other document because that document was one
22     which involved a selection of nine teaching
23     assistants for the extended school year program for
24     students with disabilities at Morse School; right?
25     So that would not be a program that involved nine


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1                              Carol Melton
2      teaching assistants being selected; right?
3                           MR. CARMAN:      Object to the form.
4               Q.        You can answer it.
5               A.        You said nine?
6               Q.        Nine.
7               A.        For some reason I thought it was
8      eight.
9               Q.        Well, Exhibit U --
10              A.        That's what you told me.
11              Q.        -- has nine names as the teaching
12     assistants selected.       It's an amendment, but it has
13     Bridges, Dionnedra Atkins, Cummings, Haggerty,
14     Shillingford, Baker, Rahemba, Danielle Atkins and
15     Sarah Herman, and that's nine people.
16              A.        I can only attest to what you showed
17     me.   I recall it saying eight for the positions.
18     So I can't respond affirmatively unless I look at
19     the document again.
20              Q.        Which document do you need to look
21     at?
22              A.        You showed me one I think that had
23     eight.
24              Q.        I'll tell you what I showed you, and
25     this may help you.


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1                                 Carol Melton
2                A.         Okay.
3                Q.         We had the original posting, which
4      had eight teaching assistants for a six week summer
5      program located at Morse Elementary.            The document
6      at Exhibit J you're saying is referring to a
7      program that had between one and maybe three
8      teaching assistants, you can't recall exactly;
9      right?
10               A.         No.
11               Q.         How many teaching assistant
12     positions were being filled for the 2017 ESY
13     program that Ms. Penn is referring to in Exhibit J?
14               A.         I don't recall the total number.         I
15     just recall me coming to interview later on that
16     date, and that there were probably I think one or
17     two that were open.
18               Q.         When you say one or two that were
19     open, what does that mean?
20               A.         Open positions for teaching
21     assistant.
22               Q.         Remember we saw in an earlier case
23     we had a posting and it was going to be eight
24     people.        Was the position that was involved, did it
25     originally have a posting or a request for more


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1                              Carol Melton
2      than eight positions being -- I'm sorry, for more
3      than one or two or three positions being filled?
4                A.       If I -- my understanding, my
5      recalling, it wasn't -- the posting was for eight
6      or nine, possibly more, but this one is different.
7                Q.       And this one was for about how many
8      people?
9                A.       I think it was one or two.         It might
10     have been two or three if I recall.
11               Q.       All right.     And do you know whether
12     it was one position filled, two positions filled or
13     three positions filled, do you know who filled
14     them?
15               A.       I don't know.
16               Q.       Do you know whether --
17               A.       I know I didn't receive one.
18               Q.       All right.     Do you know whether any
19     of those three had been in that position before?
20               A.       I don't know.
21               Q.       You don't know any of the people who
22     filled it; right?
23               A.       No, I don't.
24               Q.       You don't know whether they were
25     senior to you or junior to you?


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1                              Carol Melton
2              A.         I don't know.
3              Q.         Okay.
4              A.         You see my letter, I think you had
5      it up there, earlier.
6              Q.         I did, I had your letter up there
7      earlier, which was Exhibit I, and I'll read it to
8      you rather than put it up again.           That was the
9      August 2, 2017, same date as Ms. Penn's response.
10     It says, "I just wanted to touch base with you
11     regarding the status of my interview for the TA
12     position for the ESY program.          I did not hear from
13     you or student services on Monday, and I did not
14     see it on the agenda for tonight's Board meeting.
15     Can you provide an update/status?           Thank you in
16     advance for your cooperation."          That was Exhibit I.
17     Does that help you any in terms of --
18             A.         Yes, it's helpful, because I stated
19     in the letter I did not see it on the agenda.
20     Which would mean I did not know because it did not
21     put the persons' names there, so I wouldn't know
22     who they were.      Or how many they actually gave out.
23     I do not know.
24             Q.         Did that position actually get,
25     based on what, well, she says here, obviously the


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                                                                           100
1                               Carol Melton
2      position was, a position at least was filled
3      because there was a selected candidate.            And it
4      wasn't you.
5              A.        Right.     That's the only thing I
6      know, Mr. Rushfield.
7              Q.        Okay.    So you know nothing more
8      about this program and who filled it or what came
9      into the determination of who should fill it other
10     than what's reflected by Exhibit I, which was your
11     email that we went through earlier to Ms. Penn and
12     her response; correct?
13             A.        Yes.     And I believe I also asked for
14     those names in my discovery who they were.
15             Q.        Well, if you believe you asked for
16     those names, do you now know who those people are?
17     Because I don't remember that being a request for
18     those names to me.       But in any event, as of now you
19     don't know who they are?
20             A.        I don't.
21             Q.        And you also don't know anything
22     about their background in terms of seniority or
23     whether they served in the position before; right?
24             A.        No, I don't have that information.
25             Q.        Okay.    Let's go back to the


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                                                                           101
1                             Carol Melton
2      complaint.
3                           MR. CARMAN:     Counsel, if we are
4              going to move on to a new topic now could I
5              suggest that this might be a good place to
6              break?     I mean, it's up to you and the
7              witness ultimately, but we've been going for
8              a little bit over an hour, and just if you
9              were going to jump on to something that's --
10                          MR. RUSHFIELD:      Yeah, no.
11                          MR. CARMAN:     -- going to be an
12             exhibit --
13                          MR. RUSHFIELD:      This is a fine
14             time because actually I'm about to move on
15             to another area.       So how long do you want?
16                          MR. CARMAN:     So I'm in the city so
17             it actually takes me a minute to go
18             downstairs and actually get food, so.
19                          MR. RUSHFIELD:      Ms. Melton, we are
20             going to take I guess a lunch break, how
21             long do you need, if you want one?
22                          THE WITNESS:     Yes.    I want, I need
23             a lunch.
24                          MR. RUSHFIELD:      No, no, I'm not
25             saying you shouldn't have one.           I'm just


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1                                Carol Melton
2              asking how long do you need.
3                           THE WITNESS:        Well, my travel is
4              shorter than Mr. Carman, so I want to be
5              considerate of him, and I don't know about
6              the court reporter, how far she needs to go.
7                           MR. RUSHFIELD:        The reporter will
8              grab like a banana or something.             So 45
9              minutes?
10                          MR. CARMAN:     That's fine with me.
11                          THE WITNESS:        Forty-five minutes?
12                          MR. RUSHFIELD:        Yes.
13                          THE WITNESS:        Okay.
14                          MR. RUSHFIELD:        All right, so I
15             think 45 minutes from now, Kari, what time
16             do you have, would that be?
17                          THE COURT REPORTER:          12:25 is what
18             I have now, so 1:10.
19                          (Recess taken)
20     BY MR. RUSHFIELD:
21             Q.         Ms. Melton, can you hear me?
22             A.         Yes.
23             Q.         Okay.    Ms. Melton, I have on the
24     screen again Defendant's Exhibit A, which is the
25     attachment to your complaint.            I'm going to


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                                                                           103
1                             Carol Melton
2      actually still focus a little bit on paragraph
3      number two before I move on from that.
4                        Paragraph number two makes
5      references to "the Morse Elementary School
6      assistant principal, Ms. Nicole Penn, gave me a
7      second interview for the summer position in
8      July/August 2017 - second, but told the
9      Poughkeepsie City School District's lawyers I did
10     not show up for the interview.          However, there is
11     written evidence contrary to her statement."              And
12     I'm going to show you an interrogatory that I,
13     actually I'm going to tell you an interrogatory.
14     At interrogatory number five that was served upon
15     you, I asked "With regard to your allegations at
16     paragraph numbered two of your Attachment A, facts
17     attachment to the complaint, identify each and
18     every document that supports the claims therein,
19     including but not limited to the written evidence
20     contrary to her statement referred to therein."
21     And I want to show you your response to that
22     interrogatory.
23                       Okay.    So here, I'm showing you
24     Defendant's Exhibit E, Plaintiff's Response to
25     Defendant's First Interrogatories and Request for


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                                                                           104
1                             Carol Melton
2      Production of Documents, and I'm going to take you
3      to number five, response to interrogatory five.
4      Please read the response, and then I'm going go ask
5      you a question.      Let me know when you are done.
6                           (Witness perusing documents)
7              A.        Okay.
8              Q.        Okay.
9              A.        I read it.
10             Q.        All right.     So in the response to
11     interrogatory number five concerning this interview
12     on July 27, 2017 says that, "the position was not
13     created or approved by the Poughkeepsie City School
14     District, nor were they ever informed."            Does this,
15     by the way, refresh your recollection as to whether
16     the position that you interviewed with assistant
17     principal Nicole Penn on July 27, 2017 involved
18     multiple positions being available or only a single
19     position being available for a teaching assistant?
20             A.        I'm answering again that I can't
21     recall whether it was for one or two or three.              I
22     thought it was two.       But I can't be sure.
23             Q.        Okay, that's fine.
24                       It says, so you said that the
25     position was not created by the Board and that the


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                                                                           105
1                               Carol Melton
2      Board was not informed of that.          And how do you
3      know that?
4              A.        Because the Board posted the, just
5      like you have the posting that you showed me
6      earlier, it would be for that as well.
7              Q.        Are we talking about a BoardDoc or a
8      posting?
9              A.        Both.
10             Q.        Okay.    Do I understand --
11             A.        Because they posted both areas.
12             Q.        Do I understand correctly there was
13     no Board doc with a Board resolution creating
14     whatever position was involved in your interview on
15     July 27, 2017?
16             A.        Could you repeat that again?
17             Q.        Sure.    You're aware that these
18     positions are actually created by the Board, and
19     you've seen a bunch of BoardDocs that had Board
20     resolutions appointing them and naming the people
21     appointed; right?
22             A.        Yes.
23             Q.        Okay.    Was there a Board resolution
24     appointing anybody to fill the one, two or three
25     positions that were involved in your July 27, 2017


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                                                                           106
1                              Carol Melton
2      interview?
3              A.        No.
4              Q.        Okay.    So do I understand accurately
5      that it was actually, at least informally there was
6      no position created related to your July 27, 2017
7      interview?
8              A.        No.
9              Q.        You said the position was
10     illegitimately created by Ms. Penn.           Was it one
11     position that she illegitimately created or more
12     than one?
13             A.        I can only attest to the one I came
14     in to interview.      I don't know how many there were
15     in total.
16             Q.        Okay.    And you say, "and she
17     appointed the individual."         So you're saying she
18     appointed an individual to fill this position
19     without Board authority?
20             A.        That's what she stated in her
21     letter, yes.
22             Q.        Is there a letter in which she says
23     she appointed someone without Board authority?
24             A.        She says she chose somebody for the
25     position.


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                                                                           107
1                               Carol Melton
2                Q.         Right.    You're talking about a
3      Exhibit J I believe where she says, "I regret to
4      inform you that you were not the selected candidate
5      for the TA position for the 2017 ESY program", is
6      that what you are referring to?
7                A.         That's correct.
8                Q.         Okay.    And she also says, "I will
9      definitely keep your name on the substitute list."
10     Do you know whether there ever was a substitute
11     list for such a position?
12               A.         I never saw one.
13               Q.         Okay.    Let me go to Exhibit HH for a
14     moment.        Unfortunately I tried to open it directly,
15     so bear with me, I'm sorry.          Okay, here we go.      All
16     right.
17                          Ms. Melton, I'm showing you Exhibit
18     HH.   You've seen this before, we went over the
19     first page of this document in quite a bit of
20     detail.        Also there's a second page to the
21     document.        And this was something you provided to
22     me, so I'm assuming this second page may have some
23     relevance.       This second page refers to an
24     appointment to "extra-service positions for the
25     Poughkeepsie High School Summer Learning Academy,


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                                                                           108
1                               Carol Melton
2      effective July 9, 2018 and extending through August
3      17, 2018", and then it goes on, "to be paid for
4      from General Funds and Title Funding", and it lists
5      five employees, three of them were appointed and
6      two of them are substitutes.         Did you apply for
7      this position?
8              A.        I don't recall that I did.
9              Q.        Okay.    Nothing else there, I'm going
10     to get out of that.
11                       I'm showing you a document marked
12     Defendant's Exhibit W, do you see the stamp for
13     Defendant's Exhibit W?
14             A.        Yes.
15             Q.        Okay.    So this appears to be an
16     amended resolution from a Board meeting of October
17     18, 2017, relating to "extended learning time and
18     afterschool program."        Did you apply to be a
19     teaching assistant for a program from October 23,
20     2017 to May 31, 2018 for the extended learning time
21     and afterschool program?        I'll show you more of the
22     page if you'd like.        In fact, I'll show you the
23     second page.     You'll see your name as a substitute.
24     So does that refresh your recollection as to
25     whether you applied for that position?


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                                                                           109
1                                Carol Melton
2                           MR. CARMAN:     Object to the form.
3                Q.       Sure.    You can answer.
4                A.       It looks like I probably did apply
5      for it.
6                Q.       Do you have a recollection of
7      actually having applied for it?
8                A.       Yes.
9                Q.       Okay.    So do you believe you had
10     some entitlement to fill one of these positions
11     filled by Ms. Purnell, Ms. Rillie,
12     Ms. Boughton-Vallellanes, Ms. Shillingford,
13     Ms. Herman, Ms. Logan, or Ms. Bridges?
14               A.       Yes.
15               Q.       And is that because you believed you
16     have more seniority than some of these people?
17               A.       Yes.
18               Q.       And which of these people do you
19     have more seniority than?
20               A.       Tamika Rillie, Lorraine
21     Boughton-Vallellanes, Adelma Shillingford.
22               Q.       Have you completed your answer?
23               A.       And I think Helen Purnell.
24               Q.       Okay.    Do you know whether any of
25     these people had occupied that position during the


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                                                                           110
1                               Carol Melton
2      prior school year?
3               A.       What school year is this again?
4               Q.       This is for October 2017 to May
5      2018.    So during the 2016-17 school year do you
6      know if any of these people occupied these
7      positions?
8               A.       I don't recall exactly, no.
9               Q.       Okay.    Is it a matter that you don't
10     recall or you just wouldn't know?
11              A.       I don't recall.
12              Q.       Okay.
13              A.       Exactly.
14              Q.       All right.     I noticed that there are
15     different schools located here.          Were you employed
16     in one of these schools that are mentioned in the
17     middle column?
18              A.       I've been at Clinton, and of course
19     Morse.
20              Q.       During the school year in question,
21     which is the '17-18, I think it was '17-18, hold
22     on, during the '17-18 school year were you employed
23     at one of these schools?
24              A.       Yes.
25              Q.       Okay.    In which school were you


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                                                                           111
1                               Carol Melton
2      employed?
3               A.       I was at, that school year I was in
4      Morse.
5               Q.       Okay.    And Ms. Herman is the person
6      who's assigned to be the Morse ELT teaching
7      assistant; is that correct?
8               A.       Yes.
9               Q.       And Ms. Herman is senior to you; is
10     that correct?
11              A.       Yes.
12              Q.       Do you know who made the
13     recommendation for these people to be appointed?
14              A.       I don't know.
15              Q.       Do you know whether the person who
16     made that recommendation had any knowledge of you
17     having ever made any complaints of either
18     discrimination or retaliation against the District?
19              A.       I don't know.
20              Q.       Okay.    Apart from your having a
21     seniority claim about some of the people who got
22     the full time appointment, do you have any other
23     basis for claiming that you should have gotten it?
24              A.       I think you mentioned before if
25     you -- the District wrote that if they had the


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                                                                           112
1                             Carol Melton
2      position previously, that they're entitled to it as
3      well.
4              Q.        Well, are you claiming you were
5      entitled to one of these positions because you had
6      it previously?
7              A.        Yes, I could.
8              Q.        I understand you could, but is that
9      what you're claiming?
10             A.        I'm claiming seniority and if
11     you're -- the District is asserting that they had
12     the position before, then --
13             Q.        Okay.    And which position had you
14     held before?
15             A.        I've held extended learning time.
16             Q.        For which school?
17             A.        Clinton.
18             Q.        And when did you have that position?
19             A.        Prior to -- I believe around 2015,
20     prior to that.
21             Q.        Right.     So the year before the
22     2016-2017 school year you did not have that
23     position; is that correct?
24             A.        Correct.
25             Q.        All right.     You didn't hold the


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                                                                           113
1                                Carol Melton
2      Clinton teaching assistant position during the
3      2016-2017 school year; correct?
4                A.       Right.
5                           MR. CARMAN:     Object to form.
6                Q.       And you were not based at Clinton
7      during the 2017-2018 school year; correct?
8                A.       What year was that you said?
9                Q.       The 2017-2018 school year you were
10     not based in Clinton, were you?
11               A.       No, I was not in Clinton.
12               Q.       You were in Morse, right?
13               A.       Yes.
14               Q.       All right.     So apparently, according
15     to this exhibit, there was eventually an amendment
16     made, and it looks like the amendment was adding
17     Maria Brown as a substitute.         Bear with me a
18     moment.
19                        In terms of Tamika Rillie, are any
20     of the people listed as substitutes besides you
21     senior to her?
22               A.       Senior to Ms. Rillie?
23               Q.       Yes.
24               A.       Senior to Ms. Rillie.       Everybody
25     listed there, is that what you are asking?


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                                                                           114
1                               Carol Melton
2              Q.        Any of them besides yourself.
3              A.        Oh.    Ms. Purnell is, Sarah Herman.
4              Q.        No, no, you misunderstand my
5      question.    Let me ask it again.        The people listed
6      as substitutes, are any of the people listed as
7      substitutes other than you senior to Ms. Rillie?
8              A.        Yes.
9              Q.        Which ones?
10             A.        Well, Adelma Shillingford is down
11     there twice.
12             Q.        I see that?
13             A.        Okay.    So she's senior to her, I am.
14     Sharon Bridges.      I don't know about Halloway or
15     Diane Lewis.     Maria Brown is.
16             Q.        Well, I'll represent to you,
17     remember we had an Exhibit S which was the earlier
18     exhibit which was your seniority list, do you
19     recall that?
20             A.        Yes.
21             Q.        I'll represent to you looking, at it
22     in front of me, that listed as, Ms. Rillie is
23     listed as number 38 of 51.         Ms. Ayers-Halloway,
24     Loretta Ayers-Halloway is listed as 36 of 51.
25     Diane Lewis is listed as 35 of 51.           I won't focus


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                                                                           115
1                               Carol Melton
2      on Bridges because she's also got a full time or
3      125 hour slot.     So just, and you said Maria Brown.
4      Is she senior to Ms. Rillie.
5              A.        Yes.
6              Q.        Okay.    So you weren't the only
7      person identified as a substitute who applied for
8      this position who was senior to people who got the
9      position but didn't get it, right, you're not the
10     only one?
11             A.        Yes.
12             Q.        Okay.    Other than the teaching
13     assistant positions that we've identified so far in
14     this deposition, are there any other teaching
15     assistant positions that you claim you were denied
16     as a matter of either discrimination or
17     retaliation?
18             A.        I don't remember.
19             Q.        All right, showing you Defendant's
20     Exhibit A again, this is the attachment to your
21     complaint, the Facts attachment.          Number three
22     says, "November 1, 2017 I was not approved for the
23     Empire State grant for my organization, despite
24     being the most successful program."           That "my
25     organization" that you are referring to there, is


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1                               Carol Melton
2      that the Black and Latino Coalition Incorporated?
3               A.       Yes.
4               Q.       Okay.    And when was the Black and
5      Latino Coalition Company incorporated?
6               A.       In 2011.
7               Q.       So it's been in existence for about
8      ten years; right?
9               A.       Yes.
10              Q.       And what was it incorporated with
11     the purpose of doing?
12              A.       I don't know what you're asking.
13              Q.       Okay.    Well, if I incorporate a
14     company it's going to have some purpose, something
15     it's going to be doing that you're incorporating it
16     for.    What was the Black and Latino Coalition
17     incorporated to do?
18              A.       We are a nonprofit organization.
19              Q.       A nonprofit organization that does
20     what?
21              A.       Community services.
22              Q.       What kind of community services?
23              A.       Ranging from educational services.
24              Q.       To?
25              A.       Programming advocacy.


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1                               Carol Melton
2              Q.        Anything else?
3              A.        I said ranging, so it could be
4      anything that had to do with solidifying the
5      community.
6              Q.        And does the Black and Latino
7      Coalition, does it have directors?
8              A.        Yes.
9              Q.        Who are its directors?
10             A.        Myself and my husband.
11             Q.        And that would be Gregory Melton?
12             A.        Yes.
13             Q.        Is Gregory also known as Tron?
14             A.        Yes.
15             Q.        That's T-r-o-n, right?
16             A.        Yes.
17             Q.        Okay.    And so it has two directors.
18     And does it have officers?
19             A.        Yes.
20             Q.        Who are the officers and what are
21     their titles?
22             A.        My officers are my adult children.
23             Q.        And who are your, give me the names
24     of your adult children.
25             A.        China.


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1                              Carol Melton
2              Q.        I'm sorry, can you spell that first
3      name?
4              A.        Like China the country.
5              Q.        Okay, China, okay.
6              A.        Tron.
7              Q.        Tron would be Gregory, right?
8              A.        No.
9              Q.        Oh, is this your son?
10             A.        My son.
11             Q.        All right.     Your son shares, is that
12     his actual first name, Tron?
13             A.        That's his actual first name.
14             Q.        All right.     And Gregory your husband
15     do I understand correctly also uses that as a name?
16             A.        That is his name, yes, he uses it as
17     his name.
18             Q.        Okay.    So we have Tron your son.
19     Any other adult children who serve as officers?
20             A.        Jelani.
21             Q.        Can you spell that for me?
22             A.        It's J-e-l-a-n-i.
23             Q.        And how old is China?
24             A.        She's 33.
25             Q.        And how old is Tron, your son?


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1                                 Carol Melton
2                A.         Twenty -- no, he's 30.
3                Q.         Okay.
4                A.         Because his birthday just passed.
5                Q.         Okay.   And Jelani?
6                A.         Jelani,
7                Q.         Jelani, I'm sorry, how old is she,
8      or he, she I think?
9                A.         It's a he.
10               Q.        How old is he?
11               A.        Twenty-six.
12               Q.        All right.     And how long have each
13     of these persons served as, well, when did each,
14     let's do, sorry, withdraw that.            China, what's her
15     position as an officer?
16               A.        I don't know what you're asking.
17               Q.        Well, for example, an officer could
18     be the president, vice president, things of that
19     nature.        Does she have a title as an officer or is
20     she just listed as an officer?
21               A.        She has a title.
22               Q.        Which is?
23               A.        Secretary.
24               Q.        Secretary to the corporation?
25               A.        Yes.


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1                             Carol Melton
2              Q.        Okay.    And Tron?
3              A.        Which Tron are you talking about?
4              Q.        Not your husband.       You've said the
5      only officers are your three adult children; right?
6              A.        Okay, but you, you didn't --
7              Q.        I understand.
8              A.        I'm just going for clarification.
9              Q.        That's fine, I understand.          From now
10     on when I refer to Tron it's going to be your son.
11     I'll call your husband Gregory, okay?
12             A.        That's fine.
13             Q.        Okay.    Tron, what position does he
14     hold as an officer?       I can't hear you.
15             A.        I said that my son Tron holds office
16     as treasurer.
17             Q.        Okay.    And Jelani, what position
18     does she hold?
19             A.        It's a he.
20             Q.        I'm sorry.     I did that twice now, I
21     apologize.    What position does Jelani hold?
22             A.        Can you hear me?
23             Q.        No, say it again.
24             A.        So Jelani holds a position of
25     officer as a, like a program official officer.


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1                               Carol Melton
2              Q.        Does either China, I'm sorry, China
3      Tron or Jelani, I think I'm pronouncing it right,
4      China, Tron or Jelani, possess education beyond a
5      BA?
6              A.        Yes.
7              Q.        All right.     So what's the
8      educational attainment of China?
9              A.        She has a masters.
10             Q.        In what?
11             A.        I am not quite certain right now.
12     But I know it's a masters.
13             Q.        All right.     I'm sorry for the dog,
14     can you hear my dog barking?
15             A.        Yes, I do.
16             Q.        Yes.     I assume he will stop soon, if
17     not I'll stop her.       I'm sorry, China has a masters
18     but -- let me just stop this.           Give me a moment,
19     I'll be right back.
20                          (Pause in the proceedings)
21             Q.        So I think you said China has a
22     masters but you didn't know what the masters was
23     in?
24             A.        Nope.
25             Q.        Okay.


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                                                                           122
1                                Carol Melton
2                A.       I don't remember, I don't know.
3                Q.       All right.     Tron, what's Tron's
4      educational level?
5                A.       He has an associates.
6                Q.       And is that a two year degree?
7                A.       As far as I know, yes, a two year
8      degree.
9                Q.       And Jelani?
10               A.       I don't think he has a degree.
11               Q.       So he's a high school graduate?
12               A.       Yes.
13               Q.       But not a college graduate of any
14     sort?
15               A.       No.
16               Q.       Okay.    This Black and Latino
17     Coalition, does it have any full time employees?
18               A.       Can you rephrase that?
19               Q.       Yes.     Does it have any employees,
20     does the Black and Latino Coalition have any
21     employees who are full time with the Black and
22     Latino Coalition as opposed to part time?
23               A.       We're all volunteers.
24               Q.       So you don't get paid by the Black
25     and Latino Coalition when you perform services for


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1                               Carol Melton
2      it?
3              A.        No.
4              Q.        And that's true for everyone,
5      everyone is a volunteer?
6              A.        That's true.
7              Q.        Okay.    In response to this
8      interrogatory, you said "My organization is the
9      Black and Latino Coalition, Inc., Carol Melton,
10     program director."       Are you the program report for
11     the coalition?
12             A.        Yes.
13             Q.        It says "Gregory Melton, instructor,
14     and volunteers."      Are the volunteers your three
15     kids?
16             A.        As needed.
17             Q.        Okay.    It says "Gregory Melton,
18     instructor."     Does Gregory Melton have a higher
19     education beyond a BA?
20             A.        No.
21             Q.        What is his BA in?
22             A.        I don't believe I said he had a BA.
23             Q.        I'm sorry.     Is he a high school
24     grad?
25             A.        Yes.


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1                               Carol Melton
2              Q.        Is that the educational level he's
3      attained?
4              A.        I'm sorry, could you say that again?
5              Q.        Is that the highest educational
6      level he's attained?
7              A.        No.    He has an associates.
8              Q.        And is that the highest educational
9      level he's attained?
10             A.        Yes.
11             Q.        Okay.    The Black and Latino
12     Coalition, has it ever received grant funds to
13     perform services for a school district?
14             A.        The Black and Latino Coalition has
15     not received funds from the school district.
16             Q.        From any school district?
17             A.        We've only been in this school
18     district.
19             Q.        The Black and Latino Coalition only
20     operates in the Poughkeepsie City School District,
21     is that your testimony?
22             A.        Yes, that's correct.
23             Q.        And it's been in existence for about
24     I think you said ten years.         Has it ever received a
25     grant through a school District to perform


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1                               Carol Melton
2      services -- withdraw that.         Has the Black and
3      Latino Coalition in its eleven year existence ever
4      received grant funds to perform services for the
5      Poughkeepsie City School District?
6              A.        No.
7              Q.        Has it applied for grant funds to
8      perform services for the Poughkeepsie City School
9      District?
10             A.        Yes.
11             Q.        When is the first time it did that?
12     Ms. Melton?
13             A.        I'm thinking.
14             Q.        Oh, okay.
15             A.        I believe it was back in 2014.
16             Q.        Okay.    And --
17             A.        2014, 2015.
18             Q.        -- and did it get the grant funds
19     that time?
20             A.        No.
21             Q.        And has it applied for grants
22     subsequent?    How many grants has it applied for for
23     the 2014-2015 period to the present?
24             A.        I would say it was about maybe five
25     or six times approximately.


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1                              Carol Melton
2               Q.       And do I understand correctly that
3      all five or six times it was denied the grant
4      funds?
5               A.       We weren't -- we weren't given it.
6      We were not given the grant.
7               Q.       All right.     You weren't successful
8      in getting the grant every time; correct?
9               A.       I wasn't successful, right, I was
10     not successful all those times.
11              Q.       All right.     And that --
12              A.       To be clear.
13              Q.       -- that includes the first time,
14     which was for the period of 2014-2015; right?
15              A.       No.
16              Q.       You're agreeing with me you weren't
17     successful from 2014-2015 on?
18              A.       Right, we were not successful with
19     receiving a grant offered by the school district.
20              Q.       So has the Black and Latino
21     Coalition ever provided grant services to the
22     Poughkeepsie City School District at any time?
23              A.       I don't understand the question.
24              Q.       Yeah, okay.      I think I'm restating
25     what you said earlier, I just want to be clear.


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1                               Carol Melton
2      Has the Black and Latino Coalition ever provided
3      any services to or for the benefit of the
4      Poughkeepsie City School District?
5              A.        Yes.
6              Q.        All right.     So in terms of providing
7      services to the Poughkeepsie School District, what
8      has it provided?
9              A.        Afterschool programming for the
10     children.
11             Q.        Okay.    Was it paid to perform, was
12     the Black and Latino Coalition paid money to
13     provide that service?
14             A.        No.
15             Q.        So it does it gratuitously?
16             A.        That's correct.
17             Q.        How many times did it do to
18     gratuitously, how many school years did it?
19             A.        Every time we did a program.
20             Q.        And was it --
21             A.        So I would say the last four years,
22     not including the -- this school year, 2020-21.
23             Q.        All right.     And where does it -- I'm
24     sorry, go ahead.      And where does it provide these
25     services?


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1                             Carol Melton
2              A.        In Morse School.
3              Q.        And what services does it actually
4      provide?
5              A.        Afterschool S.T.E.A.M. program.
6              Q.        And who actually provides the
7      services, which persons?
8              A.        I do.
9              Q.        Anyone else?
10             A.        Mr. Melton.
11             Q.        What services does Mr. Melton
12     provide?
13             A.        Part of the programming.         It depends
14     on the activity.
15             Q.        I don't know what that means.           What
16     services, what did he actually do to provide a
17     service in that afterschool program?
18             A.        I said we do S.T.E.A.M., which is
19     science, technology, engineering, arts and math
20     program.
21             Q.        Okay.    And what does Mr. Melton do
22     in providing that service?
23             A.        He does an activity.
24             Q.        What activity does he do?
25             A.        It could be science, it could be


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1                               Carol Melton
2      technology, electronics, math, any of the above.
3              Q.        Does he teach in those subjects?
4              A.        Yes.
5              Q.        Is he a certified teacher?
6              A.        No, he's not a certified teacher.
7              Q.        Is he a certified teaching
8      assistant?
9              A.        No, he's not.
10             Q.        And what services do you provide?
11             A.        I provide the same services for the
12     program, including homework completion.
13             Q.        Are you a certified teacher?
14             A.        No.
15             Q.        You're a certified teaching
16     assistant, though; right?
17             A.        Yes.
18             Q.        Okay.    So this corporation, does it
19     have a bank account, the Black and Latino Coalition
20     corporation, does it have a bank account?
21             A.        Yes.
22             Q.        Does it maintain funds in that bank
23     account?
24             A.        Yes.
25             Q.        Do you know how much money is in its


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                                                                           130
1                               Carol Melton
2      bank account now?
3              A.        No.
4              Q.        Can you give me some idea?
5              A.        No.
6              Q.        You have no idea at all how much
7      money the Black and Latino Coalition has in its
8      bank account, is that your testimony?
9              A.        I do not know.
10             Q.        Okay.    You have no idea whatsoever?
11             A.        I do not know.        I don't check.
12             Q.        Well, have you ever maintained more
13     than $1,000 in that account?
14             A.        Yes.
15             Q.        Okay.    Have you ever maintained more
16     than $10,000 in that account?
17             A.        No.
18             Q.        The Black and Latino Coalition, did
19     they also represent you in proceedings in front of
20     the Public Employment Relations Board?
21             A.        Yes.
22             Q.        So is that another service that the
23     Black and Latino Coalition provides, it provides
24     representation services for persons before the
25     Public Employment Regulations Board?


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1                               Carol Melton
2              A.        Advocacy, yes.
3              Q.        And who else besides you has it
4      advocated for before in front of the Public
5      Employment Relations Board?
6              A.        I'm sorry, could you repeat that?
7              Q.        Sure.    You said it provides advocacy
8      and that's why it represented you in front of the
9      Public Employment Regulations Board; correct?
10             A.        Yes.
11             Q.        Has it provided that advocacy
12     service in front of the Public Employment Relations
13     Board for anyone else?
14             A.        Where is that written at?         I didn't
15     see that.
16             Q.        I didn't say it was written
17     somewhere, I'm asking a question.           You've testified
18     that the Black and Latino Coalition has provided
19     advocacy services for you before the Public
20     Employment Relations Board.         I'm asking has it
21     provided such services for anybody else in front of
22     the Public Employment Relations Board?
23             A.        I'm sorry, when did I testify to
24     that?
25             Q.        Oh, a couple minutes ago.


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1                                Carol Melton
2                A.          Then I misheard.
3                Q.          All right.   I'll ask it again.      Has
4      the Black and Latino Coalition provided services
5      for you in front of the Public Employment Relations
6      Board?
7                A.          Okay, now I understand what you're
8      saying.        Yes.
9                Q.          Okay.   Has it provided services for
10     any -- and is that an advocacy service you're
11     saying it provides?
12               A.          Anything that has to do with
13     community and advocacy for any reason that they
14     want to do the undertaking for we do.
15               Q.          All right.   I'm sorry, did you
16     finish?        Who decides which persons advocacy is done
17     for?
18               A.          I don't know what your question is.
19               Q.          At the Black and Latino Coalition
20     how do you decide whether advocacy services are
21     going to be provided for one person versus another?
22               A.          It's on a case by case basis.       It's
23     not in particular to a person.
24               Q.          And apart from yourself, has the
25     Black and Latino Coalition provided advocacy


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1                                 Carol Melton
2      services in front of the Public Employment
3      Relations Board for anyone else?
4                A.         In front of the Public Employee
5      Relations Board, no.
6                Q.         Okay.   Has it provided advocacy
7      services for other persons in court proceedings?
8                A.         No.
9                Q.         Has it provided advocacy services in
10     administrative hearings for persons other than
11     yourself?
12               A.        No.
13               Q.        Okay.    Bear with me a minute.
14                         At paragraph number eight, or I'm
15     sorry, interrogatory number eight, we had asked
16     with regard to your allegations in paragraphs
17     numbered three and eleven of the Attachment A,
18     Facts attachment to the complaint and the
19     attachment C relief attachment to the complaint,
20     "Identify the persons or organizations approved for
21     any Empire State Grant denied to your
22     organization", and I'm going to show you your
23     answer.        Here we go.   So let me get your response
24     to paragraph eight.          You list a bunch of programs,
25     and the question had related to those identified


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1                             Carol Melton
2      organizations approved for any Empire State Grant
3      denied to your organization."         So is it your
4      testimony, or let me run through this so you can
5      read it.      Let me see how long it is first.         Okay,
6      so let me start you at the beginning of paragraph
7      eight.   And I'm going to ask you to read it and
8      then I'm going to then scroll down when you tell me
9      when you've completed what you can see.            So let me
10     know when you've gotten to the end of what's
11     available on your screen.
12                          (Witness perusing documents)
13              A.        Can you scroll down?
14              Q.        Yes, sure.    I'm just scrolling down
15     to the end of that page.        Let me know when you've
16     finished it.
17              A.        Okay.
18              Q.        I'm going to continue to the next
19     page because it continues.         Read the rest of it and
20     tell me when you've reached the end of what's on
21     the screen.
22                          (Witness perusing documents)
23              A.        Okay.
24                          (Witness perusing documents)
25              A.        Okay.


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1                              Carol Melton
2               Q.       Okay.    Let me know when you've
3      finished reading what's left in response to number
4      eight.
5               A.       Okay.
6               Q.       All right.     So you say in the last
7      line of your response to interrogatory eight, "Some
8      of the organizations who received funding were new
9      to the Poughkeepsie City School District
10     grant/funding distribution."         Can you tell me which
11     ones those are, or do you want me to bring you back
12     to the first page and let you look at that first
13     and this page look at second?
14              A.       No.   Rebuilding Our Children and
15     Community.
16              Q.       Okay.
17              A.       Let's see.     Nubian Directions was
18     new, right?
19              Q.       I'm sorry.     Think to yourself rather
20     than out loud.     I can't hear you, Ms. Melton.
21              A.       I said I'm reading it out loud.
22              Q.       No, read it to yourself so you can
23     then identify them for me.
24              A.       Okay.
25              Q.       If you want me to go back to an


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1                               Carol Melton
2      earlier page I will.
3               A.       Okay.    Can you go back to the
4      beginning?
5               Q.       Yes.
6               A.       To the beginning because this is the
7      end.
8               Q.       Yes.     Yes, I'm going to run through
9      it.    Let me get to the beginning.         Let me know when
10     you've completed what's here on your screen, and
11     make a note to yourself of which ones if any are
12     new to the District, and then I'll move on beyond
13     what you can see here.
14                          (Witness perusing documents)
15              A.       So the Rebuilding Our Children and
16     Community.
17              Q.       Yes.
18              A.       That's one.      And well --
19              Q.       Do you want me to scroll down
20     further so you can see if you can find any others?
21              A.       No, I can see it.       It's just that --
22              Q.       This is all, I'm sorry, this is all
23     two pages, I want to be fair, so I want to make
24     sure you've had a chance to look at both pages
25     before you identify them.        So far you have


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1                             Carol Melton
2      Rebuilding Our Children and Community Incorporated.
3      And that's based on, at least at this point, a
4      portion of your response to interrogatory eight.
5      Do you want me to show you the rest of your
6      response so you can see if there's anyone else?
7                A.       No, I can see.     I think the names
8      are going over, it's just the years, the dates.
9                Q.       I see, okay.     So --
10               A.       So --
11               Q.       Go ahead.
12               A.       Nubian Directions and The Art
13     Effect.
14               Q.       Okay.   And The Art Effect, you
15     applied for the same grant they applied for?
16               A.       Yeah.   It's all the same, yeah.         So
17     the Art Effect, what did I say, Art Effect,
18     Rebuilding Our Children and Community.
19               Q.       And Nubian Directions?
20               A.       Nubian Directions.
21               Q.       You've identified three.
22               A.       Stringendo.     Stringendo I think it
23     is.
24               Q.       Okay.
25               A.       Boys and Girls, Boys and Girls


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1                               Carol Melton
2      Newburgh.     And Family Services.
3               Q.       I'm sorry, Family Services?
4               A.       Yes.
5               Q.       Okay.    Now, in terms of these one,
6      two, three, four, six entities, do you believe you
7      should have gotten the grant rather than any of
8      these six?
9               A.       Could you say that again, please?
10              Q.       Sure.    You identified six
11     organizations that got grants which were new to the
12     District, right, Rebuilding Our Children and
13     Community, Nubian Directions, The Art Effect,
14     Stringendo, Boys and Girls Newburgh, and Family
15     Services.     Okay?
16              A.       Mm-hmm.    I think I'm -- I might have
17     missed one.     Maybe Vassar.      I think Vassar.
18              Q.       Vassar I know is on at least one of
19     these pages, I think on it's on the second page.
20     Vassar is at the bottom, the Vassar Afterschool
21     Tutoring Program.
22              A.       Yes.
23              Q.       Okay.    So now it's seven.       So should
24     you have gotten the grant rather than any of these
25     seven?


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1                               Carol Melton
2              A.        That's not what I am asserting.
3              Q.        No, I didn't say you were, I'm
4      asking you the question.        Is it your, let me
5      rephrase the question.       Do I understand correctly
6      that it is not your position that you should have
7      gotten the grant rather than one of these seven?
8              A.        I should have received funding.
9              Q.        All right, but I didn't ask you
10     that.   You've named, from what you're telling me,
11     only seven of the organizations listed here were
12     first timers, at least in terms of one of the
13     grants they got from the District.           I want to know,
14     and you've never gotten a grant from the District,
15     so you're going to be a first timer if you ever get
16     one; right?
17             A.        Yes.
18             Q.        So regarding these seven that got
19     grants, is it your position that your company, your
20     company, the company that you are a program
21     director for, should have gotten the grant rather
22     than the company or organization that got it among
23     these seven, yes or no?
24             A.        That's my understanding.
25             Q.        Okay.    So you believe that you


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1                               Carol Melton
2      should have gotten the grant rather than Rebuilding
3      Our Children and Community, Inc. the first time
4      they got a grant; right?
5                A.         We believe, my organization, that we
6      are a program that best serves the youth.
7                Q.         Well, that's interesting but that's
8      not what I'm asking you, Ms. Melton.           What I want
9      to know is in terms of Rebuilding our Children and
10     Community, is it your position that that grant
11     should have been awarded to you rather than
12     Rebuilding Our Children and Community, yes or no?
13               A.        We believe that we should have
14     received some funding.
15               Q.        I'm not asking you that question,
16     though.        Just listen to my question.     These are not
17     complicated.       Do you believe that your organization
18     should have gotten the grant that Rebuilding Our
19     Children and Community Inc. got as a new applicant,
20     or a new grantee, yes or no?
21               A.        I'm not going to rate an
22     organization.
23               Q.        So are you telling me you can't
24     answer my question, is that what you're saying?
25               A.        I'm saying it's my understanding


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1                               Carol Melton
2      that the funding, the amount that it was, was not
3      distributed, and I did not receive funding.
4               Q.       Yes, I'm aware of that, you've made
5      that clear, but that's not what I'm asking you.
6      I've asked you the same question now I think three
7      times.   Are you able tell me whether your
8      organization believes that it should have gotten
9      the grant that Rebuilding our Children and
10     Community Inc. got when they first got the grant,
11     yes or no?
12              A.       Okay.    But you're pointing out one
13     operation.
14              Q.       Yes.     But you have to answer my
15     question regardless of how I'm doing it.            It's a
16     direct question.      Just answer it.       It's either yes
17     no or I don't know or I don't recall, but those are
18     the possible answers.
19              A.       I don't know.
20              Q.       Okay, it's fair.
21                       Nubian Directions, is it your
22     position, is it your organization's position that
23     it should have gotten the grant that Nubian
24     Directions got when it first got a grant from the
25     District, yes or no or I don't know?


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1                             Carol Melton
2                A.       I don't know.
3                Q.       Okay.   Same question for The Art
4      Effect, is the answer the same answer, I don't
5      know?
6                A.       Same answer.
7                Q.       And for Stringendo the same answer,
8      you don't know whether your organization should
9      have gotten it rather than them?
10               A.       Same answer.
11               Q.       Boys and Girls Newburgh, same
12     answer?
13               A.       Same answer.
14               Q.       And Family Services, same answer?
15               A.       Same answer.
16               Q.       Vassar Afterschool Tutoring Program,
17     same answer?
18               A.       Same answer.
19               Q.       Okay.   Do you have any information
20     that would support a claim that the reason you did
21     not get a grant and other companies got them
22     instead of you had to do with retaliation against
23     you?
24               A.       I said that we were the most
25     successful.


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1                             Carol Melton
2              Q.        All right.     But you've never
3      actually gotten a grant with the Poughkeepsie City
4      School District; right?
5              A.        We did not receive a grant, but we
6      did our programs regardless of receiving the
7      funding.
8              Q.        But I'm not asking --
9              A.        So the program was in existence,
10     but.
11             Q.        Right.    But this is not responsive
12     to my question, Ms. Melton.
13                          MR. RUSHFIELD:      Move to strike.
14             I'll try again.
15             Q.        Is it your contention that the
16     reason your company did not get a grant when other
17     companies did was in retaliation for your
18     complaints of either retaliation or discrimination,
19     yes or no?
20             A.        That is my understanding.
21             Q.        Well, that's your contention, right?
22             A.        That's my contention.
23             Q.        Okay.    And the factual support for
24     that contention is what?
25             A.        Because my program was successful.


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1                             Carol Melton
2              Q.        As a volunteer afterschool, a
3      volunteer unfunded afterschool program; right?
4              A.        That's right.
5              Q.        Okay.    Other than the fact that your
6      program was successful as a volunteer unfunded
7      afterschool program, do you have any other basis
8      for claiming that your company did not get one of
9      these grants because it was retaliation for you
10     having made complaints of either discrimination or
11     retaliation in the past?
12                          MR. CARMAN:     Object to form.
13             Q.        You can answer it.
14             A.        Can you restate the question?
15             Q.        Sure.    Do you have, other than what
16     you've just told me, which is that you had a
17     successful volunteer unfunded afterschool program
18     at the Poughkeepsie City School District, do you
19     have any other factual basis for asserting that the
20     reason you didn't get one of these grants that are
21     listed on your response to interrogatory eight was
22     because of retaliation against you for either
23     having complained of discrimination or for having
24     complained of retaliation?
25             A.        Yes, because everyone who applied,


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1                               Carol Melton
2      those organizations all got the funding except us.
3               Q.       Right.     But you don't actually know
4      why they got it instead of you, do you?
5               A.       All I know is that --
6               Q.       Ms. Melton, do you actually know why
7      they got it instead of you?
8               A.       I don't know except I didn't get it.
9               Q.       Right.     Okay, that's a fair answer.
10                       And actually it wasn't that you
11     didn't get it, it's that the Black and Latino
12     Coalition Incorporated didn't get it, right?
13              A.       Well, when I say me, I mean them and
14     I say us and so on.
15              Q.       Well, I just want to make sure we're
16     clear.
17              A.       Yes.
18              Q.       This claim about not getting this
19     grant, let me go back a step.           In terms of the
20     volunteer afterschool program at Poughkeepsie, the
21     voluntary one, I'm sorry, the one where you did
22     volunteers and it was unfunded, did that start as
23     early as the 2014-2015 period?
24              A.       No.
25              Q.       How long have you been doing that?


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1                               Carol Melton
2              A.        How long have I been doing what?
3              Q.        This afterschool program at the
4      Poughkeepsie City School District, how long has the
5      Black and Latino Coalition Corporation Inc. been
6      providing that service to the District?
7              A.        Since 2016-2017.
8              Q.        Okay.    And did it apply, during
9      2016-2017 did your corporation apply for grants?
10             A.        Yes.
11             Q.        And did it get grants during
12     2016-2017?
13             A.        No.
14             Q.        And is it your belief that the
15     reason you didn't get a grant for the 2016-2017
16     school year was because of retaliation or
17     discrimination against you?
18             A.        That's what I'm asserting.
19             Q.        So you're asserting that from the
20     very first time that you started, well, let me ask
21     you this.    Are you asserting that from 2014, 2015
22     when you first started applying for grants that you
23     had not gotten a grant because of either
24     discrimination or retaliation, you being the Black
25     and Latino Coalition Incorporated?


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1                               Carol Melton
2              A.        I didn't -- we didn't, the Black and
3      Latino Coalition did not apply for grants at that
4      time.
5              Q.        And when's the first year that you
6      applied for grants?
7              A.        2016-2017.
8              Q.        Okay.    And you're making the same
9      claim with regard to that grant as you're making --
10     withdraw that.     It's your position that the Black
11     and Latino Coalition Incorporated did not get the
12     grant for the 2016-2017 school year and the school
13     years that followed in which you applied for grants
14     with the Poughkeepsie City School District because
15     of an act of retaliation?
16             A.        Yes.
17             Q.        Okay.    And who are the persons who
18     made these decisions not to grant, to give grants
19     to these other companies or organizations and not
20     you?
21             A.        I don't know.
22             Q.        Well, do you know whether the people
23     involved in the grant making process, I'm sorry, do
24     you know -- withdraw that.         Do you know whether
25     people in the grant approval process at the


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1                             Carol Melton
2      Poughkeepsie City School District even knew that
3      you ever made a claim of discrimination or
4      retaliation against the District?
5                A.       Can you repeat that question?
6                Q.       Sure.   Do you know whether the
7      people who are involved in the approval of grants
8      at the Poughkeepsie City School District, well,
9      first of all, withdraw that.         Who awards these
10     grants?
11               A.       You're asking who awards, who gives
12     the grants?
13               Q.       Right, who awards them?        Who
14     determines who should get them, let me ask it that
15     way.
16               A.       Okay.
17               Q.       Who determines who should get the
18     grants?
19               A.       Okay, because I was confused.          So
20     the Poughkeepsie City School District.
21               Q.       Who at the Poughkeepsie City School
22     District performs that function?
23               A.       I'm not sure.
24               Q.       Well, you're not sure, can you tell
25     me who you think performs that function?


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1                             Carol Melton
2              A.        I did say I'm not sure.
3              Q.        All right.     Do you have any thoughts
4      about who you think might be performing that
5      function or had been performing that function?
6              A.        I do not at this time.
7              Q.        Okay.    So you're not claiming that
8      whoever performed that function had any knowledge
9      of you having made complaints of either
10     discrimination or retaliation in the past, are you?
11             A.        I'm sorry, repeat that again?
12             Q.        Sure.    The people who make the
13     approval on behalf of the District, you said it's
14     the District that does it, the people who made that
15     approval, do you have any information that would
16     establish that any of those people knew that you'd
17     ever made a complaint of discrimination or
18     retaliation against the District?
19             A.        I'm going to say that everyone knew.
20             Q.        Who's everyone?
21             A.        Whoever it is that ultimately will
22     make the decision.      So just say the Poughkeepsie
23     City School District.
24             Q.        Right.    But people make, people take
25     actions on behalf of entities.          Entities can take


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1                                Carol Melton
2      actions without people taking them for them.              So I
3      want to know if you can identify any person who is
4      involved in the approval process for grants and
5      therefore was involved in the denial process for
6      grants, who knew that you ever had made a complaint
7      of discrimination or retaliation against the
8      District, can you identify any such person?
9                A.       I still don't know what you're
10     asking.
11               Q.       I'll do it again.      It's a very
12     simple question.      Do you understand that people are
13     involved in making decisions about who gets the
14     grant and who doesn't, do you understand that?
15               A.       Yes.
16               Q.       Do you have any knowledge that any
17     of the people who are involved in deciding who got
18     the grants or who didn't from 2015-2016 on, or from
19     2016-2017 on, had any knowledge that you had ever
20     made a complaint of retaliation or discrimination
21     against the District?
22               A.       My understanding is yes.
23               Q.       Give me a name of any person who was
24     involved in that process in approving or denying
25     grants who had that information.


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1                               Carol Melton
2              A.        The Poughkeepsie City School
3      District.
4              Q.        Who are they?
5              A.        The Board.     The Board is ultimately
6      who I guess would grant the funding.
7              Q.        All right.
8              A.        I don't know anything else.
9              Q.        So you're basically saying whoever
10     the members of the Board were; fair?
11             A.        What did you say again?
12             Q.        You're basically identifying for me
13     in terms of people who would have knowledge and be
14     involved in the approval process, you're telling me
15     it's the members of the Board of Education;
16     correct?
17             A.        Yes.     Because if you look, there are
18     different people who were involved at different
19     times and years.
20             Q.        And they were all Board members, but
21     they were Board members?
22             A.        I didn't say all the Board.          I said
23     the Board is the one who ultimately puts the
24     decision there.      I don't know -- I just know the
25     process.     When you apply for the grants, you apply


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1                             Carol Melton
2      to whoever that person is that's receiving that.
3      And then they would recommend or whatever it is
4      that they do, to the Board, and then the Board
5      would make the decision there.
6              Q.        Okay.    So when you applied for these
7      grants, who did you apply to?
8              A.        I said different years with
9      different individuals.
10             Q.        Well, the ones for the years that
11     you claim that you should have gotten a grant who
12     did you apply to?
13             A.        I would have to check.
14             Q.        Well, what would you have to check?
15             A.        I'll have to check my application
16     who it was sent to.
17             Q.        Okay.    So do you have any
18     recollection at all about who you sent these to?
19             A.        Not at this time.
20             Q.        Based upon what you know, do you
21     have any information that any of the people who you
22     sent these applications to knew that the Black and
23     Latino Coalition Incorporated was involved with
24     you?
25             A.        As I said, I would have to check who


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1                             Carol Melton
2      I initially sent the application to to make a
3      response to that.
4              Q.        All right.     So as of now you can't
5      tell me, you can't identify for me anybody who
6      would have gotten the application for a grant who
7      would have known about the Black and Latino
8      Coalition Incorporated being involved with you?
9              A.        Sorry, could you say that again?
10             Q.        Sure.    As of now, as of this moment
11     based upon what we have, because you haven't given
12     me your applications -- withdraw that.            I'm not
13     going to beat a dead horse on this one.
14                       I'm showing you Defendant's Exhibit
15     A.   This is the attachment to your complaint.              At
16     number four it says, "in January 2018 the District
17     appointed an employee with less seniority to an
18     afterschool program, which is an extra assignment."
19     What program is that referring to?
20             A.        That would be I believe the extended
21     learning time.
22             Q.        And who is the employee that you're
23     referring to, do you recall?
24             A.        I don't recall the name.
25             Q.        All right.     I think I can help you


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1                                Carol Melton
2      on this.      Showing you Defendant's Exhibit W again,
3      this is the "extra learning time and before or
4      afterschool programs, teaching assistant, October
5      2019 to May 31, 2018."        Is this the program you're
6      referring to there?
7               A.        Yes.     It's extended learning time.
8               Q.        So let me go to the listing.         This
9      is the final one, this is, let me attempt to go
10     back.    Who's the junior employee that you were
11     referring to, the one with less seniority?
12                          MR. CARMAN:     Object to form.
13              Q.        At Attachment A you said at
14     paragraph four, "in January of 2018 the District
15     appointed an employee with less seniority to an
16     afterschool program, which is an extra assignment."
17     You have identified this program.           I will tell you
18     this program runs from, let's go up a bit, October
19     18, 2017, so, through May 31, 2018, according to
20     the exhibit.     But you're saying that this happened
21     in January of 2018.         Is it this program?
22              A.        Can you scroll back up?
23              Q.        Sure.    "Effective date of
24     appointment of personnel, it says October 18,
25     2017."   Date of the operation is October 16, 2017


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1                             Carol Melton
2      to May 31, 2018.      And then we have --
3              A.        Okay.    Can you just, I'm sorry,
4      Mr. Rushfield.
5              Q.        Go ahead.
6              A.        You're going a little bit too fast
7      and I need to read it so I know.
8              Q.        All right.     Well, I'll start at the
9      beginning.    I'll show you what, again I have to
10     scroll it down, let me know when you've finished
11     the page and I'll move it to the next page.
12                          (Witness perusing documents)
13             A.        You can scroll down a little bit.
14             Q.        Okay.
15                          (Witness perusing documents)
16             Q.        Let me know when you've finished
17     reading what's here that I have shown you.
18             A.        Scroll down, please.
19             Q.        I have to move to another page if
20     you're ready.     Let me know.      Are you ready?
21             A.        Yes, you can scroll down.
22                          (Witness perusing documents)
23             Q.        Then we have the name, I will tell
24     you, the names get changed by an amendment, so I
25     would show you the last page, which is the


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1                             Carol Melton
2      amendment page, rather than this page, which is the
3      final page.      So let me move on.      There's an amended
4      resolution.
5                           (Witness perusing documents)
6               A.        Go ahead.
7               Q.        Okay.   And then the motion.
8               A.        Stop there right there, can you?
9               Q.        Sure.
10              A.        Can you stop right there?
11              Q.        Mm-hmm.
12                          (Witness perusing documents)
13              A.        Okay.   Go ahead.
14              Q.        Okay.   I'm moving to the page that
15     has the listing.      So let me just confirm.         Is this
16     the program that you're referring to at paragraph
17     four of your Facts when you say "in January 2018
18     the District appointed an employee with less
19     seniority to an afterschool program, which is an
20     extra assignment", it either is or it isn't or you
21     don't know.
22              A.        I'm not sure.
23              Q.        Okay.   Anyway, we have already gone
24     over this one so I don't really need to do it
25     again.   Okay.     Back to your complaint.        I'm showing


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1                              Carol Melton
2      you Defendant's Exhibit A again, Ms. Melton, and
3      I'm bringing you to paragraph number five.
4      "Principal Ms. Nadine Dargan, 2015-2016, 2016-2017,
5      2017-2018, 2018-2019 and this school year has
6      declined to provide an air conditioner, although
7      all others have window units.          During warmer
8      weather it became unbearable, especially with
9      computers running continually.          I have not received
10     a reason why everyone except me has a window air
11     conditioner."     So did this begin with the 2015-2016
12     school year, or did your, well, withdraw that.              Did
13     you first start occupying the room that was missing
14     the air conditioner in the 2015-2016 school year or
15     was it before that?
16             A.        No.
17             Q.        It was before that or it was not?            I
18     just didn't understand what no meant, Mrs. Melton.
19             A.        No, I did not have an air
20     conditioner.
21             Q.        Right.    When did you first go into,
22     the school you're in now, give me the name of it
23     now, what's the name again?         Morse.    When did you
24     first go into the Morse School, Ms. Melton?
25             A.        I went in 2015.


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1                               Carol Melton
2              Q.        Okay.    And the room that this is
3      referring to at paragraph five, were you in there
4      during the 2015-2016 school year?
5              A.        The end of 2015-2016.
6              Q.        All right.     Well, so when did you
7      enter that, when did you first go into that room in
8      that school year when you say the end?
9              A.        Which room are you referring to?
10             Q.        The one that you're saying the
11     school has declined to provide an air conditioner
12     for you.
13             A.        That was in June of the year.
14             Q.        June of 2016?
15             A.        Yes.
16             Q.        Okay.    Let me show you a document.
17     Do you see Defendant's Exhibit L, Ms. Melton?
18             A.        Yes.
19             Q.        Okay.    At the bottom there's a
20     statement, "Last week I conducted MAPs testing in
21     the sweltering 90 degree heat and humidity.             My lab
22     had no air conditioning.        Some laptops were turning
23     off and needed to be restarted.          I communicated to
24     Derrick, who contacted his supervisor."            Who is
25     Derrick?


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1                             Carol Melton
2              A.        Derrick at that time was the head
3      custodian.
4              Q.        Okay.    And this is dated June 4,
5      2018, right, this email?
6              A.        That's what it says.
7              Q.        Okay.    And then it says, "I
8      discovered later that new ACs were installed in
9      another lab."     Whose lab were they installed in?
10             A.        Ms. Halloway's upstairs lab.
11             Q.        Okay.    You said you communicated it
12     to Derrick, who contacted his supervisor.             Who
13     would be Derrick's supervisor?
14             A.        His supervisor would be the, I guess
15     the facilities person.
16             Q.        And who would be the facilities
17     person then, who was the facilities person?
18             A.        I don't recall the name.
19             Q.        I'm showing you again Defendant's
20     Exhibit A, which is the attachment to your
21     complaint, Ms. Melton, and then I'm going to
22     paragraph numbered six under the Facts.            And it
23     says in April 2018, $427.20 was deducted from my
24     paycheck.
25             A.        I'm sorry, Mr. Rushfield, can you


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1                               Carol Melton
2      just scroll up higher for me?
3              Q.        Sure.    I'm sorry.     I can't see your
4      screen so I don't know what shows on your screen.
5      Do you see that paragraph six?
6              A.        Yes.
7              Q.        Okay.    Just read it to yourself, I
8      don't need to read it into the record, and then
9      I'll ask you some questions about it.            Let me know
10     when you're done.
11                          (Witness perusing documents)
12             A.        Okay, I finished reading it.
13             Q.        Okay.    The $427.20 deducted, do you
14     know how many days or portions of days pay that is
15     for you?
16             A.        Two.
17             Q.        Two days, okay.
18             A.        Yeah, I believe it was two.
19             Q.        Okay.    And were you at work for
20     those two days?
21             A.        I'm sorry, what did you say,
22     Mr. Rushfield?
23             Q.        I asked if you were at work for
24     those two days.
25             A.        Which two days?


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1                               Carol Melton
2              Q.        The two days for which you were
3      deducted $427.20 from your paycheck.
4              A.        No, I don't believe I was.
5              Q.        Okay.    Where precisely were you?
6              A.        I took a business day.
7              Q.        I'm sorry, a business day.          And you
8      took that business day to go where?
9              A.        I believe it was to a -- it might
10     have been -- I'm not sure.         I think it was PERB.
11             Q.        You went to attend a PERB conference
12     or hearing regarding charges you had brought
13     against your union?
14             A.        I believe so.
15             Q.        All right.     So you took two days,
16     tell me if I've got this right, you took two days
17     off from work to attend a hearing at the Public
18     Employment Regulations Board related to charges you
19     brought against your union; is that right?
20             A.        Yes.
21             Q.        Okay.    And you believed you were
22     entitled to be paid by the District on the days you
23     attended the Public Employment Regulations Board
24     conference or hearing on the charges you had
25     brought against your union; is that correct?


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1                               Carol Melton
2              A.        Yes.
3              Q.        Okay.    And was that entitlement to
4      that money a matter of your collective bargaining
5      agreement?
6              A.        Yes.     I have done that in the past.
7      The union is allotted business days.
8              Q.        Yes, but you're saying the union is
9      allotted business days.        But you were appearing at
10     PERB relating to charges you had brought against
11     the union, isn't that what you just told me?
12             A.        Yes.     I went, took business days.
13     What I said was that the union also has business
14     days anywhere in their --
15             Q.        All right, so let's put aside the
16     Union's business days.       You're not claiming you had
17     a right to a union business day to attend a PERB
18     conference where you were bringing charges against
19     the union, are you?
20             A.        I'm sorry, what was the question?
21             Q.        Sure.    You're not claiming you were
22     entitled to a union business day to attend a PERB
23     conference where you were dealing with charges you
24     had brought against your union, are you?
25             A.        No, I'm not.


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1                               Carol Melton
2              Q.        Okay.    So there was some other
3      business day entitlement you believed you had;
4      fair?
5              A.        That's my understanding.
6              Q.        Okay.    And that business day that
7      you claimed you had, is that somewhere in the
8      collective bargaining agreement where it says
9      you're entitled to take a business day at District
10     expense to do things like attend a PERB hearing
11     upon charges you brought against your union?
12             A.        As far as my understanding says, it
13     doesn't -- it does not define business day.
14             Q.        Okay.    So if you had any entitlement
15     to this under your collective bargaining agreement,
16     did you file a grievance after you were docked?
17             A.        Yes.
18             Q.        And did that grievance get resolved?
19             A.        I don't recall.
20             Q.        Well, did you get the money back?
21             A.        They reimbursed me for, because one,
22     because they -- they, as I said, I know they docked
23     me for the same day twice.
24             Q.        Right.     I understand that it says
25     that in your statement.        But am I not correct that


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1                              Carol Melton
2      you're claiming you are still owed $427.20?
3              A.        I'm sorry, what?
4              Q.        Are you claiming you are still owed
5      $427.20 or did you get that money back?
6              A.        Yes, I'm saying that the $427.20 I
7      should receive back.
8              Q.        Okay.    So you haven't gotten that
9      money yet?
10             A.        No.
11             Q.        Okay.    So you said you filed a
12     grievance with your union about the District having
13     docked your pay for these business days you
14     referred to; yes?
15             A.        Yes, that's my understanding.
16             Q.        All right.     And that grievance did
17     not go to arbitration, did it?
18             A.        No, it did not.
19             Q.        And did you make any claim against
20     your union in front of the Public Employment
21     Relations Board for not grieving your being docked
22     $427.20?
23             A.        Okay, could you say that again?
24             Q.        Sure.    Did you bring any charge
25     against your union for not arbitrating the claim


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1                               Carol Melton
2      that you were entitled to reimbursement of the
3      $427.20, yes or no?
4                A.       You're asking that was for PERB?
5                Q.       Well, yeah, I think that's where you
6      would have to bring it, yeah.           If you were bringing
7      a charge you would have to bring it in front of
8      PERB.     Did you bring such a charge in front of
9      PERB?
10               A.       We didn't go to arbitration.
11               Q.       I understand that.       And because you
12     didn't go to arbitration did you go to PERB against
13     your union saying they should have arbitrated it?
14               A.       Yes, that was part of the PERB case.
15               Q.       And did that case get resolved by
16     you getting that money back?
17               A.       The case was resolved.
18               Q.       And was it resolved by you getting
19     the $427.20 back to you which you made whole for
20     that money?
21               A.       On my paycheck?
22               Q.       However you might have gotten it.
23     Did you get the $427.20, did you get it back from
24     anyone?
25               A.       No.


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1                               Carol Melton
2              Q.        Let me show you a --
3                           MR. CARMAN:     Counsel, we've been
4              going for a little over a hour and a half
5              now.   Can we take a five minute break?
6                           MR. RUSHFIELD:      Oh, sure, sure.
7              Let's take five.
8                           MR. CARMAN:     Okay.
9                           (Recess taken)
10     BY MR. RUSHFIELD:
11             Q.         Ms. Melton, I have on the screen
12     Defendant's Exhibit BB.        Do you see that?
13             A.        Yes.
14             Q.        All right.     This is an email string
15     between you and Kathleen Farrell.            So I am going to
16     the last page of it first because that's how email
17     strings work, okay.        So it starts with an April 20,
18     2018 email from you to Dr. Farrell.            Do you see
19     that email?
20             A.        Yes.
21             Q.        Okay.    And that was about in part
22     the $427.20 having been taken from your check of
23     April 20, 2018; right?
24             A.        I'm sorry, I was reading it.          What
25     did you say again?


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1                               Carol Melton
2              Q.        That email is in part about the
3      $427.20 having been taken from your check on or
4      about April 20, 2018; right?
5              A.        Yes.
6              Q.        Okay.    And she originally responded
7      to you later that day telling you she'd forwarded
8      the correspondence to the business department for
9      confirmation of deduction, and Ms. Small would
10     provide you with the dates for the salary deduct
11     which was processed by their office, right, that's
12     what she responded to you with; correct?
13             A.        Yes.
14                          MR. CARMAN:     Object to form.
15             Q.        What was your answer, Ms. Melton.
16     All I need to you do, is Ms. Melton, is advise that
17     this Friday, April 20, 2018 12:57 p.m. email was
18     the initial response to your 11:49 a.m. email;
19     correct?
20             A.        That appears to be so, the email.
21             Q.        Okay.    I'm going to move on now to
22     the next email in time on the screen.            And that's
23     the email from Kate Farrell.         And she says,
24     February 9, 2018, "Please be advised that I have
25     processed one day of payroll deduction for your


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1                             Carol Melton
2      unauthorized use of 'school business' as entered in
3      Aesop.   This deduction is in addition to the two
4      previous days of payroll deduction for which you
5      have already been notified."
6                        What's Aesop?
7               A.       Aesop is the system for to report
8      absences.
9               Q.       Okay.    Did you get this email of
10     February 9, 2018, 7:17 p.m.?
11              A.       I don't recall it but I'm reading
12     it.
13              Q.       Okay.    So my outstanding question is
14     did you receive it.
15              A.       I said that it appears to be so.
16              Q.       Okay.    The next page up, scrolling
17     up.   Okay.    She writes to you again on February 7,
18     2018 at 9:33 a.m., Ms. Farrell does, with a copy to
19     Sheryl Small and Dawn Cupano.         Do you know who Dawn
20     Cupano is?
21              A.       I don't recollect.
22              Q.       Okay.    So she writes to you,
23     Ms. Farrell, "It is noted that you entered 'school
24     business' in Aesop for your absence February 5,
25     2018 and November 11, 2018."         Had you done that?


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1                             Carol Melton
2              A.        I'm sorry, what was the question?
3              Q.        Had you entered "school business" in
4      the Aesop system for your absence of February 5,
5      2018 and November 11, 2018, yes or no?
6              A.        I don't recall.
7              Q.        She says you had.       Do you have any
8      reason to doubt that you had entered "school
9      business" in Aesop for those absences?
10             A.        No, I don't think so.
11             Q.        Okay.    She then says, "This absence
12     was not approved as school business."            Had the
13     District approved that absence as school business?
14             A.        That's not my understanding.
15             Q.        Well, who from the school district
16     had approved your absence on February 5, 2018 and
17     November 11, 2018 as school business?
18             A.        You just put it into the Aesop,
19     absences.
20             Q.        So you think as long as you put the
21     words "school business" at Aesop for your absences
22     you're entitled to be paid for the days that you
23     put that in for, is that your position?
24             A.        I don't type in anything.
25             Q.        Okay.    Well, do you have to check a


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                                                                           170
1                             Carol Melton
2      box?
3                A.       There's only a few positions that
4      are there.
5                Q.       Okay.   And one of those boxes is
6      school business?
7                A.       One of those boxes is business --
8      business day.
9                Q.       Well, is it business day or school
10     business?
11               A.       I don't recall.
12               Q.       So it could be either in your
13     memory?
14               A.       It's possible.
15               Q.       In any event, other than you
16     checking off whatever box you were checking off,
17     you never got any actual approval from somebody to
18     take a business day or a school business day to
19     attend PERB on February 5, 2018 and November 11,
20     2018; is that not accurate?
21               A.       That's not my understanding.
22               Q.       So I ask you again, had anybody
23     communicated to you that your absence for school
24     business would be approved or for business would be
25     approved for February 5, 2018 and November 11,


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                                                                           171
1                             Carol Melton
2      2018, had anybody given you an approval?
3                           MR. CARMAN:     Object to the form.
4              Q.        You can answer it, it's a yes or no
5      question.    Had anybody given you an approval?
6              A.        Not that I can recollect.
7              Q.        All right.     So what you recollect is
8      you checked off whatever you thought was the
9      appropriate box, whether it was business day or
10     school business, you just checked off a box, and
11     it's your position that by checking off that box
12     you were entitled to be paid for those days; is
13     that fair?
14             A.        That's my understanding.
15             Q.        Okay.    And you wrote to her on May
16     10, 2018, and you asked for school District policy
17     and documentation, including the form that you were
18     to complete when requesting a "district/school
19     business day."     By the way, does that refresh your
20     recollection about it being school business as
21     opposed to some other kind of business that you
22     have to check a box for?
23             A.        What is the question?
24             Q.        Does the reference in your email to
25     a "district/school business day" when requesting a


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                                                                           172
1                             Carol Melton
2      district/school business day refresh your
3      recollection as to what the box that you would
4      check off referred to for taking the day off as a
5      business day?
6              A.        No, it does not.
7              Q.        Okay.    The response by Ms. Farrell
8      which she writes to you, she says the issue of
9      school business is actually addressed within your
10     bargaining unit contract as well as policy 6830.
11     Is that statement accurate, that the issue of
12     school business is addressed in the collective
13     bargaining agreement and a policy 6830?
14             A.        No, I don't believe so.
15             Q.        Okay.    Have you reviewed policy
16     6830?
17             A.        I have not recalling to have
18     reviewed policy 6830, but the -- no, I have not, I
19     don't recall reading that.
20             Q.        And did you look through your
21     collective bargaining agreement to see if there was
22     any reference to you being allowed to take paid
23     days for school business?
24             A.        I can recall the CBA.
25             Q.        Okay.    And what does the CBA, well,


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1                             Carol Melton
2      before I ask you about that, what does the CBA say
3      about your entitlement to take days off for
4      business purposes or school business and be paid,
5      if anything?
6              A.        I don't know the exact page.
7              Q.        Do you know what it says?
8              A.        I do not know the exact wording.
9              Q.        So is it a fair statement that you
10     can't tell me what it says at this time?
11             A.        I cannot tell you what it says at
12     this time.
13             Q.        Okay.    Let me go down to the second
14     page here of her email.        She says, "You were not
15     advised by the District on any occasion that your
16     work duties, hours of work, location or duties of
17     assignment had been modified to include your
18     appearance at a PERB hearing or at any other such
19     hearing or hearing related actions."           Were you ever
20     advised by the District that you were allowed to
21     take paid time off to attend a PERB hearing or PERB
22     conference?
23             A.        I don't recall.
24             Q.        Okay.    She says that you stated in
25     your Aesop electronic absence report that you were


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1                              Carol Melton
2      conducting "school business."          Does that now
3      refresh your recollection as to what box you
4      checked off?
5               A.       No.
6               Q.       Okay.    Do you dispute that the box
7      you checked off had the words "school business"?
8               A.       I'm sorry, what was the question
9      again?
10              Q.       Do you dispute that the box that you
11     checked off for you to attend this PERB hearing for
12     conferences was entitled "school business"?
13              A.       That's my understanding.
14              Q.       So I ask again.       Do you dispute that
15     the Aesop electric absence report where you have to
16     check off a box refers to school business for
17     purposes of taking the time off, do you dispute
18     that?
19              A.       I'm sorry, Mr. Rushfield, I don't
20     understand the question you're asking me.
21              Q.       I'll ask it a third time, it seems
22     to be pretty simple.       You said that you check off a
23     box, right, in order to have an absence that you
24     could be absent from school; right?           Correct?
25              A.       That's my understanding there's one.


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1                             Carol Melton
2                Q.       There's a box.     According to what
3      she says here, that box has the title "school
4      business."      Are you disputing that that box that
5      you checked off has the title "school business"?
6      You either are or you're not.
7                A.       I don't recall if that's what it's
8      called, school business or just business.
9                Q.       Okay.   Well, that's fair, you don't
10     recall.
11                        It says here, "Should you have been
12     assigned to school business you would have been
13     notified by a member of the administrative team of
14     that assignment."      Do you know whether that's, this
15     is the protocol or not?
16               A.       That is not my understanding.
17               Q.       Well, do you know whether that's the
18     protocol or not?      Is that a yes or no?
19               A.       That's not my understanding.
20               Q.       I'm not asking your understanding.
21     Do you know if that's the protocol or not?
22               A.       I don't know.
23               Q.       Okay.   It also says you would then
24     "complete a conference request form as noted in
25     Regulation 6830-R."        Do you know whether that's the


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1                             Carol Melton
2      protocol or not?
3              A.        I recall a conference request form.
4              Q.        Okay.    Did you fill out a conference
5      request form for the absence for the PERB hearings,
6      yes or no?
7              A.        No, I don't recall.
8              Q.        Well, is it no or you don't recall
9      if you did?
10             A.        I said no, I don't recall if I did
11     complete a conference request form.
12             Q.        All right.     And then it says, "The
13     superintendent or superintendent designee is
14     authorized to approve such request."           Did the
15     superintendent or any designee of the
16     superintendent either approve such a request for
17     you to attend the PERB conferences or hearings of
18     as school business?
19             A.        No, I don't recall that either.
20             Q.        Now, she says, "I note that neither
21     did you request approval for school business nor
22     did the District advise that your work duties,
23     hours of work, duties of assignment had been
24     modified for the days in question."           Did the
25     District, let me put it this way.           Did anyone in


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1                             Carol Melton
2      the District advise you prior to you going off to
3      the PERB hearings that your work duties, hours of
4      work duties and assignments had been modified for
5      those two days?
6              A.        No, I don't recall anybody advising
7      me.
8              Q.        Okay.    Let me see if there's
9      anything else here.       She says on May 17, 2018, this
10     is the first email on Exhibit BB, it says, "For
11     your convenience I have sent a hard copy of the
12     Board of Education Policy 6830 to you for your
13     review."     Do you recall receiving that hard copy of
14     Board of Education policy 6830?
15             A.        No, I don't recall.
16             Q.        Okay.    I'll bring you back to your
17     complaint attachment.       This is back to Defendant's
18     Exhibit A.    And we're now up to, sorry, we are now
19     going to be up to number seven on the first page.
20     It says, "In June 2018 the Poughkeepsie City School
21     District refused to interview me for summer
22     positions of which I was qualified.           Many others
23     received the positions and most had less seniority
24     than me."     What positions were you refused
25     interviews for?


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1                             Carol Melton
2              A.        I don't recall the exact titles for
3      those positions.
4              Q.        Well, do you recall how many there
5      were that you didn't -- well, first of all, how
6      were you refused interviews, were you told we're
7      not going to interview you, or was there just like
8      no response to an interview request or was there
9      no, well, withdraw that, because it's going to an
10     inappropriate form objection and I have to agree.
11     Let's do it this way.       How did you learn, withdraw
12     that.   Did you ask to be interviewed for certain
13     summer positions in June of 2018?
14             A.        We don't normally ask to be
15     interviewed.
16             Q.        Okay.    So you would expect that if
17     interviews were being held you would be notified of
18     them; is it fair?
19             A.        That's my understanding.
20             Q.        Do you know whether any of the
21     interviews that you're referring to here for summer
22     positions, do you know, I think I may have asked
23     you this, do you recall how many summer positions
24     were filled and you didn't get an interview in June
25     of 2018?


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1                               Carol Melton
2                A.         I don't know that.
3                Q.         Do you know whether the people who
4      got the positions had interviews?
5                A.         I don't know that.
6                Q.         Do you know whether the people who
7      got the positions were notified of interviews?
8                A.         I don't know that either.
9                Q.         At paragraph 15 of Defendant's First
10     Interrogatories, I'm going to read the
11     interrogatory to you and then I will show you your
12     answer.        Fifteen says, "With regard to your
13     allegations of paragraph numbered seven of the
14     Attachment A Facts attachment to the complaint,
15     identify the persons who received the summer
16     positions identified in response to interrogatory
17     number 14 above."        Let me go back a step.       Number
18     14 had asked you to identify each summer position.
19               A.         Where are you at on the paper?
20               Q.         Hold on, let me go back.
21               A.         Okay.
22               Q.         I don't mean to confuse you.       Okay,
23     let's go back.       Number seven was June of '18
24     "refused interview for summer positions", and it
25     says "many others received the positions, most had


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1                             Carol Melton
2      less seniority than me."        We are going to get out
3      of this document.      And I'm going to, first let me
4      pull up your answers.       I'm going to take you to
5      number 14 first.      Interrogatory number 14 says,
6      "with regard to your allegations in paragraph
7      numbered seven of the Attachment A Fact Attachment
8      to the complaint, identify each summer position
9      referred to therein and every person who refused to
10     interview you for each -- I'm sorry, interview for
11     each of summer positions for which you were
12     qualified."    And you said that she, Nicole Penn,
13     assistant principal, Morse Elementary School,
14     refused to interview you for the extended school
15     year program for students with disabilities in
16     2018.   Does that refresh your recollection as to
17     which position you were referring to in paragraph
18     seven of your Attachment A with regard to being
19     refused an interview or interviews?
20             A.        Not at this time I can't recall.
21             Q.        Okay.    So did Ms. Nicole Penn refuse
22     to interview you for any position in or around June
23     of 2018?
24             A.        Sorry, can you repeat that?
25             Q.        Sure.    It says in your


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1                             Carol Melton
2      interrogatory, "Mrs. Nicole Penn, the assistant
3      principal of Morse Elementary School, refused to
4      interview me for the extended school year program
5      for students with disabilities."          Did Mrs. Penn
6      refuse to interview you for that position?
7              A.        That's what I'm asserting.
8              Q.        I understand, that's what it says
9      here.   Do you have a recollection of that
10     happening?
11             A.        Do I have a recollection of the
12     extended school year program?
13             Q.        Do you have a recollection of her
14     refusing to interview you?
15             A.        I can recall.
16             Q.        Okay.    And did you do that in
17     writing or verbally?
18             A.        Did who do what in writing or
19     verbally?
20             Q.        Did Mrs. Penn tell you she was
21     refusing to interview you in writing or verbally?
22             A.        That I don't recall.
23             Q.        Do you have any document in which
24     she says I will not interview you for the extended
25     school year program for students with disabilities?


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1                               Carol Melton
2                A.         I don't know.   I would have to look.
3                Q.         If you have such a document send it
4      to me or provide it to, if you want to provide it
5      to Mr. Carman he can send it to me.           But I'm asking
6      you to produce that, because I'm going to tell you,
7      you haven't produced such a document so far.
8                           And I'll ask again, do you know with
9      regard to the extended school year program for
10     students with disabilities that you're referring to
11     in paragraph 14 whether anybody else was
12     interviewed?
13               A.         I don't know that information.
14               Q.         Okay.   When Ms. Penn refused to
15     interview you, whether it was verbally or by
16     writing, did she tell you why she wouldn't
17     interview you?
18               A.         I believe I answered that when I
19     said I didn't know if she did it verbally or --
20               Q.         Actually that doesn't answer that,
21     that only tells me the methodology, that you don't
22     recall the methodology she used to communicate it
23     to you.        My question to you, however, is different.
24     My question to you is, when she communicated this
25     to you, whether it was verbally or by writing, did


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1                             Carol Melton
2      she tell you why she wasn't going to interview you?
3                A.       I still don't understand what you're
4      asking.
5                Q.       It's a very simple question.         You're
6      saying that she communicated to you in some manner
7      that you weren't going to be interviewed; right?
8                A.       That, I don't remember me saying
9      that.
10               Q.       Well, are you saying that she
11     communicated to you in one way or another that you
12     were not going to be interviewed for the extended
13     school year program for students with disabilities?
14               A.       I said that to the best of my
15     recollection that she may have given me something
16     in writing or said it to me verbally.
17               Q.       Well, I don't think you said maybe
18     before, but either way it doesn't matter.             Let me
19     ask it clearly.      However you learned it, did you at
20     some point learn from Mrs. Penn that you would not
21     be interviewed for the extended school year program
22     for students with disabilities, yes or no?
23               A.       I don't know.
24               Q.       Okay.   I'm going to read you
25     interrogatory 15, and then I'm going to show you,


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1                               Carol Melton
2      and then you can look at your response.
3      Interrogatory 15 says, "With regard to your
4      allegations in paragraph number seven of the
5      Attachment A, attachment to the complaint, identify
6      the persons who received the summer positions
7      identified in response to interrogatory numbered 14
8      above."        So that would be identifying the persons
9      who were picked for the extended school year
10     program for students with disabilities 2018 that
11     you identified in your response to paragraph 14,
12     and there's a list of names you put down.             Are
13     those the names of the persons who got the
14     positions?
15               A.         I guess if that's what it's saying.
16               Q.         That's what you're saying, but maybe
17     I can help you.        I'm going to show you another
18     document.        I'm showing you Exhibit HH again.        And
19     this is extended school year program for students
20     with disabilities at Krieger School, effective July
21     9, 2018 through August 17, 2018.          I will represent
22     to you that the same names that appear here, Sharon
23     Bridges through Sara Herman, the people who
24     actually got the position, are the same names that
25     were in your response to interrogatory 15 and in


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1                               Carol Melton
2      the same order.      So is this the position that you
3      were talking about in terms of the extended school
4      year program for students with disabilities for
5      2018?
6               A.       It could be.
7               Q.       All right.     But you're not sure?
8               A.       I'm not sure at this time.
9               Q.       Okay.    I'm showing you Defendant's
10     Exhibit A again, that's the attachment to your
11     complaint, and I'm directing to you paragraph eight
12     it looks like, I can't get the whole thing in, so
13     we're going to start at the beginning of paragraph
14     eight.   Read paragraph eight on this page and let
15     me when you're done and I'll move on.
16              A.       You have to share it, Mr. Rushfield.
17              Q.       It's not shared?
18              A.       No, I don't see it.
19              Q.       Okay, I'm sorry.       I'm looking at
20     myself then without sharing it, I'm sorry.             Do you
21     see that now?
22              A.       Yes.
23              Q.       Exhibit A, and I'm going down to the
24     bottom of the first page in reference to number
25     eight.   Read the three lines that are there, let me


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1                               Carol Melton
2      know when you're done and I'll move on to the next
3      page.
4                           (Witness perusing documents)
5                A.       You can scroll down.
6                Q.       Okay.   Let me know when you're
7      finished reading paragraph eight.
8                           (Witness perusing documents)
9                A.       Okay, I finished reading that.
10               Q.       Okay, so let me go to the beginning
11     of the paragraph.        Paragraph eight starts with, "in
12     September 11-14, 2018, I received a phone call from
13     interim superintendent Dr. Kathleen Farrell to take
14     training for four days, Tuesday to Friday, from
15     eight a.m. to four p.m."        Had you made some request
16     of Dr. Farrell to take this training before she
17     called you?
18               A.       No.
19               Q.       And what was the training for?
20               A.       The training was for the new Smart
21     lab at the middle school.
22               Q.       And did you work at the middle
23     school?
24               A.       No.
25               Q.       Okay.   It says here, "Dr. Eric


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1                                Carol Melton
2      Bradford, community schools grants site
3      coordinator, applied restrictions to my training."
4      Where is Dr. Eric Bradford based?
5                A.       I'm sorry, could you --
6                Q.       Sure.    Dr. Eric Bradford, does he
7      maintain an office somewhere?
8                A.       Now or then?
9                Q.       Then.
10               A.       Yes.
11               Q.       Where was it?
12               A.       It was in the middle school.
13               Q.       Okay.    So was he based in the middle
14     school then?
15               A.       Yes.
16               Q.       Okay.    And it says here "he applied
17     restrictions to my training while two white women
18     were not limited."        Do you know the identities of
19     those two white women who were not limited?
20               A.       I don't remember their names at this
21     point.
22               Q.       Do you recall whether those two
23     white women, were they teaching assistants, do you
24     recall?
25               A.       No.


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1                                  Carol Melton
2                Q.         You don't recall or they weren't?
3                A.         No, they are not teaching
4      assistants.
5                Q.         What were their positions?
6                A.         They were teachers.
7                Q.         All right.     So it was one teaching
8      assistant, you, and two teachers were brought into
9      this training at the beginning; right?
10               A.         Yes.
11               Q.         Okay.    And do I understand, it says
12     here "Dr. Bradford allowed the two teachers, these
13     white women, to receive full training while
14     performing their training started at different
15     times."        What did Dr. Bradford tell you with regard
16     to what's stated in that sentence?
17                            MR. CARMAN:    Object to form.
18                            MR. RUSHFIELD:      I'll rephrase it.
19               Q.         You said Dr. Bradford informed you
20     that training started at different times.             What did
21     he say to you?
22               A.         I don't recall exactly, but he gave
23     a time for us to start and it was different than
24     the actual start time.
25               Q.         All right.     Did he give the same


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1                              Carol Melton
2      time to start to all three of you or only to you?
3              A.        To me.
4              Q.        All right.     So what time did he give
5      the two white women teachers to start?
6              A.        I don't know.
7              Q.        Were you all together when he gave
8      times for people to start?
9              A.        No.
10             Q.        So he spoke to the two white women
11     teachers separately before speaking to you about
12     the starting time for the training?
13             A.        That's my understanding.
14             Q.        Well, is that what happened, he
15     spoke to you separately from him speaking to the
16     two teachers about the start of training times?
17             A.        I don't know if he spoke to them.
18             Q.        Okay.    You know he spoke to you but
19     you and he were not with the two white women
20     teachers when he spoke to you about when training
21     would start; is that correct?
22             A.        That's my understanding.
23             Q.        When you say "it's my
24     understanding", is that what happened?
25             A.        That's what I can understand by


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1                               Carol Melton
2      that.
3               Q.       I'm not asking you to understand
4      what it says, I'm asking you what happened.             Do you
5      recall that he spoke to you separately from the two
6      white women teachers about when training would
7      start?
8               A.       I'm saying he spoke to me a separate
9      time.
10              Q.       Separately from when he spoke to the
11     other two teachers?
12              A.       That's my understanding.
13              Q.       When you say that's your
14     understanding, is that your recollection?
15              A.       I can't recall something.
16              Q.       Well, if you can't recall you have
17     to tell me you can't recall.         Telling me that's
18     your understanding from what you're reading tells
19     me absolutely nothing.
20              A.       Okay.    So let me say I don't know.
21              Q.       Okay.    Do you know whether he gave
22     the two white women teachers the correct time for
23     the training to start?
24              A.       Yes.
25              Q.       And how do you know that?


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1                               Carol Melton
2              A.        Because my time was different.
3              Q.        Well, what was their time?
4              A.        It must have been earlier than my
5      time, my arrival time.
6              Q.        Well, how do you know it must have
7      been earlier?
8              A.        Because they were already there.
9              Q.        So you're assuming that because they
10     were present when you entered for the training that
11     they must have had an earlier starting time, is
12     that what you're telling me?
13             A.        That's what I'm saying.
14             Q.        Okay.    And was training going on
15     when you arrived?
16             A.        Yes.
17             Q.        What were they doing that was
18     training, that was already going on when you
19     arrived?
20             A.        It depends.
21             Q.        Well, what did you see that
22     indicated training was going on when you arrived?
23             A.        A project was already completed.
24             Q.        And what project was that?
25             A.        The depends on what the activity


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1                             Carol Melton
2      was.
3              Q.        What did you see?
4              A.        A project already completed.          This
5      is a STEM lab.     So if you're building something and
6      we left off at putting two wheels on, maybe there's
7      ten wheels put on.
8              Q.        Right, but you understand the
9      "maybe" answer isn't really an answer for me,
10     Mrs. Melton.     If you don't recall what you saw, you
11     have to tell me that.       If you recall, you have to
12     tell me what you recall seeing.          So when you
13     entered, let me just ask the question again, when
14     you entered and you reached the conclusion that
15     training had already started before you got there,
16     what did you see, actually see that led you to
17     believe that training had already occurred before
18     you got there?
19             A.        Whatever project we were working on
20     previously would be completed or near completion.
21             Q.        Well, so when training began, did
22     the work on that project that you're referring to
23     begin when training began, or was it partly
24     completed before training ever began?
25             A.        Can you rephrase that, please?


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1                               Carol Melton
2               Q.       Yes.     I'm trying to figure out,
3      you're talking, you're explaining to me it sounds
4      like that the project had already begun and then
5      things were done to that project when you arrived
6      after other people.        So what I'm trying to figure
7      out is, the very beginning of training, do you
8      recall what day that was?
9               A.       No, I don't recall that day.          It was
10     September sometime.
11              Q.       All right.     Sometime when?
12              A.       September.
13              Q.       Okay.    When sometime, in September
14     2018?
15              A.       I think so.
16              Q.       Okay.    When sometime in September
17     that training began, were all three of you present
18     when that training commenced, you and the two
19     teachers?
20              A.       Are you saying the first day?           I
21     don't know.
22              Q.       Yes, the beginning, when training
23     began.   Were the three of you all together with you
24     and the two teachers and Dr. Bradford, did it begin
25     with all of you?


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1                             Carol Melton
2               A.       I don't recall.
3               Q.       Okay.    During that first day of
4      training with you the two teachers and
5      Dr. Bradford, was a project begun?
6               A.       Was a project begun?        I'm sorry if
7      I'm not understanding.
8               Q.       Well, the problem is I'm using your
9      words.   You talked about a project.          Was there a
10     project that began when the training began?
11              A.       There were, there were activities,
12     yes.
13              Q.       Okay.    The day that you come at a
14     different time or you believe you come at a
15     different time than the two white women teachers,
16     is that the first day of training or a subsequent
17     day, because I understand there were as many as
18     four?
19              A.       I don't recall.
20              Q.       So it might have been the first day,
21     the second day or third day or fourth day that you
22     are referring to about coming in a different time?
23              A.       It was -- if I recall, it might have
24     been after the first day.
25              Q.       Okay.    Let's assume for the moment


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1                                 Carol Melton
2      it was.        When you arrived on the second day,
3      assuming it was the second day that this happened,
4      it's your testimony that the two white women
5      teachers were already there when you got there;
6      right?
7                A.        Yes.
8                Q.        And Dr. Bradford, was he with them
9      when you got there?
10               A.        I don't recall if he was there.
11               Q.        Was there anybody there besides the
12     two women teachers when you entered the room?
13               A.        Their trainer.
14               Q.        Who was the trainer, do you remember
15     his or her name?
16               A.        Mrs. White.
17               Q.        Do you remember her first name?
18               A.        I don't recall.
19               Q.        Okay.    Mrs. White, was she an
20     employee of the school district?
21               A.        No.
22               Q.        Okay.    She was an outside trainer?
23               A.        She was.
24               Q.        Okay.    Was she white or black, by
25     the way?


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1                                Carol Melton
2                A.       She was white.
3                Q.       So do I understand correctly you
4      believe it was the second day, you came after they
5      were there and you saw something that indicated to
6      you that training had occurred while you were
7      absent; correct?
8                A.       Yes.
9                Q.       What did you see that led you to
10     believe that training had occurred while you were
11     absent?
12               A.       So the project that we left off the
13     day before would already have been finished by the
14     time of my arrival.
15               Q.       And what time did you arrive?
16               A.       I don't recall the exact time.
17               Q.       Was this an afterschool thing or
18     during school hours thing?
19               A.       It was during school hours.
20               Q.       All right.     Did you arrive in the
21     morning on the second day, did you arrive in the
22     morning?
23               A.       I know it was around the early time
24     of the day, so it was -- what time, exact time,
25     morning.


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1                             Carol Melton
2               Q.       When you say it was around the early
3      time of the day, can you give me between what and
4      what you're referring to?        I don't know what that
5      means.
6               A.       So it's before twelve.
7               Q.       Before noon?
8               A.       Before noon.
9               Q.       So you might have arrived as late as
10     let's say eleven o'clock?
11              A.       I don't recall it being that, that
12     later.
13              Q.       All right.     So you might have
14     arrived as late as nine o'clock?
15              A.       Possibly.
16              Q.       And what time does school start in
17     the District?
18              A.       I don't know the exact times of
19     every school.     They're different times.
20              Q.       Okay.    Well, what time, this was
21     occurring in the middle school, right, what time do
22     they open the doors?
23              A.       I don't know.
24              Q.       Okay.    So anyway, you, based upon
25     your seeing that the project you had begun working


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1                               Carol Melton
2      on the day before had been completed, you presumed
3      that the two white teachers had been working on
4      that project with the trainer; right?
5              A.        Yes.
6              Q.        But you don't actually know whether
7      the three of them had worked on that project in
8      that whatever period of time between the time they
9      arrived and the time you arrived or not; is that
10     correct?
11             A.        Can you hold up a second?         My camera
12     went out.
13             Q.        Yeah, I can see that, it's a big
14     black screen where you were.
15             A.        Yes, sorry about that.
16             Q.        No, that's fine.
17             A.        Could you repeat the question?
18             Q.        I'm going to try.       Do you actually
19     know whether these two white teachers had worked
20     with the trainer for any period of time before you
21     arrived on this second day?
22             A.        No.    Because --
23             Q.        Is the answer to my question no, you
24     don't know whether they worked on it or not?
25             A.        No.


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1                               Carol Melton
2               Q.       Well, is the answer no, you don't
3      know whether they worked on it or not, are you
4      agreeing with me?
5               A.       No, I'm saying they couldn't.
6               Q.       They couldn't what, have worked on
7      it?
8               A.       No, access to the lab.
9               Q.       Well, Dr. Bradford would have access
10     to the lab; right?
11              A.       Yes.
12              Q.       The trainer would have access to the
13     lab?
14              A.       No.
15              Q.       So Dr. Bradford would have to let
16     the trainer in if she was to come earlier than you;
17     right?
18              A.       Yes.
19              Q.       Okay.    Do you know whether they let
20     the trainer and these two white teachers in more
21     than let's say ten minutes before you arrived?
22              A.       My understanding is that --
23              Q.       Do you know?      I'm not asking for
24     your understanding, I'm asking what you know.              Do
25     you know whether they were there more than ten


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1                               Carol Melton
2      minutes before you got there?
3              A.        Yes, it's possible.
4              Q.        I know it's possible because it's
5      possible they were there overnight.           Do you know
6      whether they were there earlier, you know, ten
7      minutes before you got there?           Either you do know
8      or you don't know.
9              A.        I can say yes.
10             Q.        All right.     So how do you know if
11     they were there at least more than ten minutes
12     before you got there?
13             A.        Because their projects or activity
14     was completed.
15             Q.        And do you know whether they're the
16     ones who completed that project or activity?
17             A.        I'm sorry, what did you say?
18             Q.        Do you know whether these two white
19     teachers and the trainer are the ones who completed
20     that activity while you were not there?
21             A.        Yes.
22             Q.        And how do you know that?
23             A.        Because it was training.
24             Q.        You're presuming that that's the
25     case; is that not correct?


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                                                                           201
1                               Carol Melton
2               A.       No.
3               Q.       Well, you didn't actually see them
4      work on it; right?
5               A.       No, I did not actually see them work
6      on it.
7               Q.       And in terms of this different times
8      of appearing, you said this "purposeful
9      misinformation" you referred to in the next
10     sentence, are you saying Dr. Bradford intentionally
11     gave you a wrong starting time?
12              A.       Yes.
13              Q.       And why would Dr. Bradford want to
14     give you a wrong starting time?
15              A.       I do not know why.
16              Q.       Well, you knew that the
17     superintendent wanted you to get the training,
18     right, she'd offered it to you; right?
19              A.       Yes.
20              Q.       Okay.    So you're saying
21     Dr. Bradford, what's your basis for saying that if
22     Dr. Bradford misled you in terms of the starting
23     time and it was purposeful, that it was purposeful
24     misinformation what's your basis for saying he had
25     this motive to mislead you?


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                                                                           202
1                               Carol Melton
2              A.        What I said was Dr. Bradford --
3              Q.        Please, please.       What's the basis
4      for your claiming that Dr. Bradford intentionally
5      misled you?
6              A.        It has to be retaliatory.
7              Q.        All right.     And why would
8      Dr. Bradford have any reason to engage in
9      retaliation against you?
10             A.        I don't know why, I can't -- I don't
11     know his line of thinking.
12             Q.        All right.     So --
13             A.        Or his thoughts.
14             Q.        -- do you have any reason to believe
15     that Dr. Bradford, if he gave you the wrong
16     starting time, that he made a -- do you have any
17     reason to believe it wasn't simply a mistake on his
18     part?
19             A.        No.
20             Q.        Okay.    It says you received only a
21     very small fraction of the training that they did.
22     Wasn't this a four day training program?
23             A.        Yes.
24             Q.        So as of the second day how much
25     training had you missed?


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                                                                           203
1                               Carol Melton
2               A.       I didn't do the last day.
3               Q.       All right.     So there were four days,
4      you did three of the four?
5               A.       I didn't do full training of the
6      three that I did.
7               Q.       Right.     But that's because you
8      believed you missed part of one of the three days;
9      right?
10              A.       That's my assertion.
11              Q.       All right.     And that's based upon
12     this claim that the other, the two white women
13     teachers had been there earlier and had been
14     engaged in training before you arrived on the
15     second day.     That's the basis for you saying you
16     didn't receive the full three days; right?
17              A.       Yes.     And I was spending an
18     exorbitant amount of time in the office.
19              Q.       We'll get to that in a moment,
20     that's the next sentence.        "Dr. Bradford had me
21     wait for hours in the Poughkeepsie Middle School
22     main office to speak to the school principal,
23     Mr. D'Avilar while training continued."            Why were
24     you speaking to Mr. D'Avilar?
25              A.       I really don't know.


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1                             Carol Melton
2              Q.        Well, did you ask to speak to Mr.
3      D'Avilar or did Dr. Bradford tell you you have to
4      speak to Dr. D'Avilar?
5              A.        Dr. Bradford told me I need to speak
6      to Mr. D'Avilar.
7              Q.        And did you end up speaking to
8      Mr. D'Avilar?
9              A.        Eventually.
10             Q.        And it says here, "After an
11     inappropriate conversation regarding my presence
12     there for training, the principal, Mr. D'Avilar,
13     sent me back for training."         What did Mr. D'Avilar
14     say to you and what did you say to him in reference
15     to this "inappropriate conversation"?
16             A.        Can you ask me a specific question?
17             Q.        I can't ask, I'm going by what you
18     wrote, so I can only go by what you wrote.             You
19     said, you say here there was an "inappropriate
20     conversation" regarding your presence there for
21     training.    And after that conversation Principal
22     D'Avilar sent you back to training.           What did
23     Mr. D'Avilar say to you and what did you say to him
24     that you're saying was an inappropriate
25     conversation regarding your presence there for


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1                               Carol Melton
2      training?
3              A.        He asked me why I was there, and
4      about a position which I didn't apply for.
5              Q.        What was the position?
6              A.        Could you say that again?
7              Q.        What was the position?
8              A.        The position was for a teaching
9      assistant in the STEM lab.
10             Q.        Okay.    And this is the middle school
11     STEM lab you're referring to, right?
12             A.        This is the middle school.
13             Q.        And if you were to go work in that
14     STEM lab, you'd be working there as a teaching
15     assistant, wouldn't you?
16             A.        Yes.
17             Q.        Okay.    So there was this
18     inappropriate conversation.         So far you've told me
19     the inappropriate conversation was he's talking to
20     you about a position as a teaching assistant at the
21     middle school STEM lab.        Did you have a problem
22     with him talking to you about that subject, and if
23     so, what was it?
24             A.        I did not apply for the position for
25     the teaching assistant in the STEM lab.


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1                                Carol Melton
2                Q.        And did you not want that position?
3                A.        I did not want that position.
4                Q.        Okay.    So that's why you considered
5      it inappropriate because he was talking to you
6      about a position that you neither applied for nor
7      wanted?
8                A.        In addition to him asking me why I
9      was there.
10               Q.        Well, was that asking you why were
11     there related to this issue of them filling a
12     teaching assistant position in the middle school
13     STEM lab, wasn't that why he was asking you why you
14     were there?
15               A.        No.   I don't know why he was asking
16     me that.       I was invited by Dr. Farrell, who's the
17     superintendent, to come to the training.
18               Q.        Right.    And that was for training on
19     the STEM lab that was going to be in the middle
20     school; right?
21               A.        It's a STEM lab that was already in
22     existence.      We were working on the training for
23     that.
24               Q.        This is the middle school?
25               A.        Right.    And it's for a --


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                                                                           207
1                               Carol Melton
2                Q.         Okay.   I'm sorry, is this --
3                A.         The STEM lab is only for a teaching
4      assistant.
5                Q.         Okay.   So a teacher wouldn't
6      actually end up working in the STEM lab, is that
7      your testimony?
8                A.         That's correct.
9                Q.         Okay.   It says here, "Dr. Bradford
10     was visibly troubled by Mr. D'Avilar's response."
11     What response did Mr. D'Avilar give that troubled
12     Dr. Bradford?
13               A.        Mr. D'Avilar sent me back to
14     training.
15               Q.        So when you're talking about visibly
16     troubled by Mr. D'Avilar's response, you're saying
17     Dr. Bradford was visibly troubled by the fact that
18     Mr. D'Avilar had returned you to training; fair?
19               A.        Yes, that's my understanding.
20               Q.        So it says, "Dr. Bradford had the
21     facilitator for this training, Ms. White from
22     Creative Learning Systems, who was also white and
23     is not an employee of the school district to
24     surveil me."       Why do you refer to the race of these
25     people?        Are you claiming that their actions


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1                             Carol Melton
2      against you were race discrimination?
3               A.       I'm identifying the race of the
4      individuals that were there.
5               Q.       Right.    Why are you doing that?
6               A.       For identification.        I was the only
7      black person there.
8               Q.       And why was that relevant, why are
9      you putting that in there, why is that relevant to
10     any claim you have?
11              A.       Because I did not receive all the
12     training and I was detained in the office for
13     hours.
14              Q.       Are you a claiming that those
15     actions had to do with your race, or you're not
16     claiming that.
17                          MR. CARMAN:     Object to form.
18              Q.       You can answer it.
19              A.       I'm claiming retaliation.
20              Q.       Okay.    So you're not claiming it was
21     because of your race; correct?
22              A.       It's possible.
23              Q.       Anything is possible.        I'm asking
24     what you're claiming, you ought to know.            Are you
25     claiming that these actions that occurred here were


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                                                                           209
1                               Carol Melton
2      some act of retaliation, which I can ask you about,
3      or was it because you're a black woman?
4               A.       I was a black woman taking training
5      with two --
6               Q.       Just answer --
7               A.       So I believe from my standpoint it
8      was racist and retaliatory.
9               Q.       Okay.    So you're saying that the
10     reason that you're identifying their races here is
11     because you believe their actions were racist;
12     right?
13              A.       Yes.
14              Q.       Okay.    Did you file any complaint
15     with the Division of Human Rights or Equal
16     Employment Opportunity Commission claiming that you
17     had been subjected to race discrimination by virtue
18     of these communications and the training you got on
19     this occasion?
20              A.       I believe that's -- it's my
21     understanding that's why we're here.
22              Q.       Well, regardless of your
23     understanding of that's why we're here, did you
24     file a complaint with the Division of Human Rights
25     in New York or the EEOC, Equal Employment


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                                                                           210
1                               Carol Melton
2      Opportunity Commission claiming you'd been subject
3      to race discrimination relating to your training at
4      the middle school for that STEM lab?           Either you
5      did or you didn't.
6               A.       This, this is a EEOC.
7               Q.       No, this is your complaint in court.
8      This is not the EEOC.        So you either did or you
9      didn't or you don't remember.           It's got to be one
10     of the three.
11              A.       I complained to EEOC first.
12              Q.       And in your complaint to the EEOC
13     you told them that you were claiming race
14     discrimination based upon what happened at the
15     training sessions, did you do that?
16              A.       I told the EEO the facts.
17              Q.       Mrs. Melton, you filed a charge with
18     the EEOC; correct?
19              A.       Yes.
20              Q.       And in that charge do you recall
21     alleging that you'd been subjected to race
22     discrimination relating to the way you were treated
23     with regard to the training for the STEM lab?
24     Either you did or you didn't.           Did you make that
25     claim?


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                                                                           211
1                             Carol Melton
2              A.        I provided the EEOC --
3              Q.        Did you make that claim, either you
4      did or you didn't, you have to just answer the
5      question.    Did you make that claim?
6              A.        I told them what happened.
7              Q.        Did you make the claim that you'd
8      been subjected to race discrimination during the
9      training session?
10             A.        I told EEOC the facts and yes.
11             Q.        So the answer is you're telling me
12     that you made a complaint to the EEOC that you'd
13     been subjected to race discrimination during the
14     training sessions in the middle school for the STEM
15     lab, that's your testimony?
16             A.        I don't recall if it was written the
17     way you're saying it.
18             Q.        Did you in substance make a claim of
19     race discrimination to the EEOC relating to how you
20     were treated by Dr. D'Avilar or Dr. Bradford or the
21     trainer or anyone else relating to the training at
22     the middle school STEM lab, did you do that?
23                          MR. CARMAN:     Object to the form.
24             Q.        You can answer it.
25             A.        It was about the racial element.


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1                               Carol Melton
2      And I filed for a retaliation.
3              Q.        So you filed for retaliation, not
4      for race, is that your testimony?
5              A.        Yes, not for exactly race.
6              Q.        Okay.    So let's go through what else
7      happened here.     You said, "After Dr. Bradford and
8      Ms. White said training had ended, although it had
9      not", so you're saying that Dr. Bradford and
10     Ms. White said training had ended and then after
11     that continued training with the two teachers?
12             A.        That's correct.
13             Q.        And were you present while the two
14     teachers were, well, did you see the other two
15     teachers continue the training after you were being
16     told that it ended?
17             A.        Yes.
18             Q.        And what was being done with them
19     after you were told that it ended?
20             A.        I don't know what they were doing
21     inside because the door was closed.           I just know
22     they returned.
23             Q.        So you're saying they came back
24     after you had left the building?
25             A.        No, I didn't leave the building yet.


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                                                                           213
1                               Carol Melton
2               Q.       Okay.    So what do you mean they
3      returned?
4               A.       The teachers still had their regular
5      assignments classrooms.
6               Q.       Oh, they were still teaching?
7               A.       Yes.
8               Q.       Okay.    But were they in training
9      after you stopped being trained?
10              A.       Yes.
11              Q.       So they didn't go back to their
12     classrooms, you're saying they were with Ms. White
13     being trained after you were told the training had
14     ended?
15              A.       What I'm saying is that they left,
16     and my understanding was to return back to their
17     classes that were not covered and they returned.
18              Q.       And how do you know that they
19     returned?
20              A.       Because I was still there in the
21     building.
22              Q.       And they returned to the training
23     room, to the STEM lab?
24              A.       Yes.
25              Q.       And how long were they in the STEM


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                                                                           214
1                             Carol Melton
2      lab after that before you left the building?
3              A.        I'm sorry, what?
4              Q.        How long did they, after they
5      returned to the training room, you said you were
6      still in the building, how long were they there?
7              A.        I don't recall how much longer.            I
8      just know it was after training was -- supposedly
9      had ended.
10             Q.        And do you know whether they were
11     actually receiving any training after you were told
12     training had ended?
13             A.        As I said before, if we're working
14     on a project and it's already done, that means
15     they're continuing to get the training.
16             Q.        Well, did you come back another day
17     after this or was this your last day there?             On
18     this day after training had ended and you said that
19     they basically put you out, did you come back for
20     training the following day?
21             A.        You're saying --
22             Q.        I'm asking a question.
23             A.        Yes, that's what I'm asking.
24             Q.        After this, you allege you were
25     kicked out according to this by Mr. D'Avilar and


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                                                                           215
1                             Carol Melton
2      Dr. Bradford, did you come back for further
3      training after that?
4              A.        No, not after that.        When they
5      kicked me out, no.
6              Q.        All right.     So and it was on the
7      third day of training that this happened?
8              A.        I believe so.
9              Q.        Okay.    So you don't know whether any
10     project was worked on on that third day after you
11     left that day; right?
12             A.        I wasn't speaking to the third day.
13             Q.        I understand.
14             A.        I got kicked out of the building.
15             Q.        Well, this reference to Dr. Bradford
16     and Ms. White telling you training had ended
17     although it had not, was that on the third day or a
18     different day?
19             A.        That's on a different day.
20             Q.        That would be on the second day
21     then; right?
22             A.        Second day.
23             Q.        Okay.    So you returned, and the day
24     that you were, quote, "kicked out", was that the
25     second day or the third day?


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                                                                           216
1                             Carol Melton
2              A.        There are four days of training I
3      was supposed to go to.
4              Q.        Right.    And as I understand
5      correctly you were there for three, though you're
6      saying it was somewhat less than three because of
7      your allegation here.       What I'm asking you is, the
8      day you were kicked out, was that the third day?
9              A.        That was my last day of training.
10             Q.        Which would be the third day; right?
11             A.        The third day.
12             Q.        Okay.    The stuff about the training
13     had ended, and you left the building, that was the
14     second day, have I got that right?
15                          MR. CARMAN:     Object to form.
16             Q.        You can answer it.
17             A.        Can you -- hello?
18             Q.        Yes, Mrs. Melton.
19             A.        Can you repeat the question?
20             Q.        Yes, sure.     I just want to get my
21     days straight.     The day that you were told training
22     had ended, although it had not, was that the second
23     day of training or the third day of training?
24             A.        No, that's not what I said.
25             Q.        I'm not asking what you said, I'm


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                                                                           217
1                               Carol Melton
2      asking you a question, ma'am.           Was it the second
3      day of training that that happened or the third day
4      of training that that happened?
5              A.        Each day training ended.
6              Q.        Oh.    So this thing about
7      Dr. Bradford and Ms. White saying training had
8      ended although it had not, this happened on more
9      than one occasion?
10             A.        Yes.
11             Q.        Okay.    Did that happen on first day
12     of training?
13             A.        No.    I don't recollect the first
14     day.
15             Q.        Did it happen on the second day of
16     training?
17             A.        Yes.
18             Q.        Did it happen on the third day of
19     training?
20             A.        Yes.
21             Q.        So on the second and third day of
22     training there was time you're saying that was
23     spent by Ms. White training the women teachers, the
24     white women teachers after you had been told
25     training had ended for you for the day; correct?


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                                                                           218
1                               Carol Melton
2              A.        Yes.
3              Q.        Okay.    And of course since you
4      weren't there you don't know what training those
5      teachers were receiving after you had left the
6      training room; right?        Right?     Mrs. Melton?
7              A.        I said I don't know.
8              Q.        Okay.    I couldn't hear an answer,
9      I'm sorry.
10             A.        Oh, I'm sorry.
11             Q.        This reference to "Dr. Bradford even
12     following me outside the school building", was that
13     the second day or the third day or the first day?
14             A.        That was the last day.
15             Q.        Which would be the third day; right?
16     Do I have an answer?
17             A.        Hold up, Mr. Rushfield.
18                       It was the last day for me for
19     training.
20             Q.        Which was your third day; right?
21             A.        Which was my third day.
22             Q.        Thank you.
23                       Okay, I'm going to show you another
24     document.    I'll just note number nine of your
25     Attachment A you say "On September 14, 2018,


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                                                                           219
1                               Carol Melton
2      Dr. Farrell sent me an email about the training and
3      lied about the events that took place."            So I'm
4      going to show you what I believe is that email.               Do
5      you see this, it's Defendant's Exhibit P,
6      Mrs. Melton?
7               A.       Yes.
8               Q.       Okay.    And let me see if there's,
9      it's just one email from her.           And it's an email to
10     you with copies to a number of people.            The second
11     paragraph here says that she met with you on
12     September 13, it says 10/13, I guess it's supposed
13     to be 9/13, but she met with you the day before at
14     Bolin.   What is Bolin, by the way?
15              A.       Bolin is the administration
16     building.
17              Q.       Okay.    Did you have a meeting with
18     her in the middle of the day on September 13, 2018?
19              A.       I believe that was the day.
20              Q.       Okay.    It says here you confirmed
21     that you were not interested in further pursuing
22     the TA position available at PMS STEM lab.             Now,
23     you've told me that you in fact never had any
24     interest in that position; is that fair?
25              A.       That's correct.


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                                                                           220
1                               Carol Melton
2              Q.        Okay.    But did you confirm to her
3      during that conversation that you weren't
4      interested in the TA position available for the PMS
5      STEM lab?
6              A.        Yes.
7              Q.        Okay.
8              A.        I believe so.
9              Q.        She says at that time you indicated
10     you might have interest in the after hour posting
11     when it occurs.      First of all, did you have an
12     indication, did you say something to her that would
13     indicate you might be interested in an after hours
14     posting at the PMS STEM lab when it occurs?
15             A.        Yes.
16             Q.        Okay.    And it says she says, "I
17     requested that you return to Morse to complete your
18     work for the day, and to return to Morse this
19     Friday as your normal work assignment."            Would
20     Friday otherwise have been the fourth day of
21     training?
22             A.        I believe so.
23             Q.        Okay.    So she goes on, "As you know
24     when it was suggested that you might be an internal
25     candidate with interest in the STEM lab work."              Had


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                                                                           221
1                               Carol Melton
2      you ever indicated an interest in being an internal
3      candidate in the STEM lab work?
4              A.        No.
5              Q.        Okay.    So she says she arranged for
6      you to attend the training as an interested
7      candidate and be removed from your usual work
8      assignment at Morse.       Did you leave your usual work
9      assignment at Morse in order to attend this
10     training?
11             A.        Yes.
12             Q.        When she told you about this
13     training, did you express an interest in it?
14             A.        No, not really.
15             Q.        Well, so when she offered the
16     training to you, we showed you an email earlier,
17     when she offered the training to you, did you
18     decline it?
19             A.        I did not decline the training.
20             Q.        Did you suggest to her in any way
21     that you weren't interested in taking the training?
22             A.        I told her about the training, yes.
23             Q.        What does that mean, you told her
24     about the training, what did you tell her?
25             A.        Well, you can never have too much


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                                                                           222
1                               Carol Melton
2      training, and it was a new -- it was a new, new,
3      new STEM lab.
4               Q.       Okay.    So you were interested in
5      being trained in a new STEM lab; right?
6               A.       I was interested in seeing what they
7      had available there.
8               Q.       Right.     Well, you were not just
9      going to look at it, you understood you were going
10     to be trained in the things they had there; right?
11              A.       Yes.
12              Q.       And you were interested in being
13     trained in the things they had there, weren't you?
14              A.       That would be nice, yes.
15              Q.       Okay.    So in your conversation with
16     her on the 13th did you indicate to her that you
17     were not interested in any assignment at the middle
18     school STEM lab, did you indicate that to her
19     during your conversation on the 13th, you weren't
20     interested in the middle school STEM lab?
21              A.       Yes.
22              Q.       Okay.    And she then said to you
23     well, you go back to Morse on the following day;
24     right?   Right?
25              A.       Nope, that's not what I recollect.


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                                                                           223
1                               Carol Melton
2               Q.       Well, did she tell you you should go
3      back to training again on the Friday?
4               A.       I had asked her if I could continue
5      the training, and she said you can continue the
6      training.
7               Q.       All right.     So but you didn't go
8      back to continue the training; right.
9               A.       They only --
10              Q.       Withdraw that, withdraw that,
11     because the next paragraph seems to address it.
12     She says, "Today I met with Eric Bradford, the
13     Community Schools grant coordinator.           He advised me
14     we're at PMS participating in training, Friday,
15     9/14."   So you did go back on the fourth day;
16     right?
17              A.       Yes, I went back on the last day of
18     training.
19              Q.       Right.     And that was in your mind to
20     continue the completion of the training; right?
21              A.       Yes.     That was my understanding.
22              Q.       That was what you intended; right?
23              A.       That was my understanding in my
24     conversation.
25              Q.       All right.     And so when you went to


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                                                                           224
1                               Carol Melton
2      the lab on Friday, September 14th, it was your
3      intent to complete the training that started three
4      days earlier; right?       That was your intention, to
5      complete the training?
6              A.        Yes.
7              Q.        Okay.    Did you complete the training
8      on that fourth day?
9              A.        No.
10             Q.        So were you asked to leave?
11             A.        No, I wasn't asked to leave.
12             Q.        So why couldn't you complete the
13     training on that fourth day?
14             A.        Because they kicked me out of the
15     building.
16             Q.        When you say "kicked you out of the
17     building", did they physically grab you or did they
18     push you or kick you, how did they kick you out of
19     the building?
20             A.        He had a conversation with me very
21     loudly and in a tone and way, and said I'm not to
22     be there.
23             Q.        Okay.    Did he tell you why you were
24     not to be there?
25             A.        He just said I'm not supposed to be


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                                                                           225
1                               Carol Melton
2      there.
3               Q.       Now, according to Ms. Farrell's
4      email, it was her understanding that you weren't
5      supposed to be there either, right, because she,
6      according to her at least, claimed that she had
7      told you to go back to Morse on that fourth day?
8               A.       That's according to her email.
9               Q.       Okay.    Do you know whether she spoke
10     to Dr. Bradford and said well, you're not supposed
11     to be here?
12              A.       I know she spoke to him that day,
13     that same day.
14              Q.       And do you know whether she told him
15     that you were not supposed to be there at the STEM
16     lab at the middle school for training on that
17     fourth day?
18              A.       I don't know what the conversation
19     was.   I just know I was kicked out of the building.
20              Q.       So the "kicked out of the building"
21     was in the way he spoke to you and telling you to
22     leave, that's why you're saying kicked out of the
23     building; right?
24              A.       Yes.
25              Q.       Okay.    And it's the tone of his


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                                                                           226
1                             Carol Melton
2      voices, it was the tone of his voice that leads you
3      to characterize it as "kicked out" rather than
4      politely asked to leave; right?
5              A.        Yeah.    He didn't politely ask me,
6      and he cornered me.
7              Q.        Okay.    In what way did he corner
8      you?
9              A.        He cornered me talking to me, and in
10     my personal space.
11             Q.        Okay.    And were you able to leave,
12     were you able to walk out on your own or did he
13     have to push you out physically or by his presence
14     following you out?
15             A.        He didn't touch me physically.
16             Q.        Okay.
17             A.        He was just too -- very, very close.
18             Q.        Okay.    Not completing that training
19     did it prevent you from getting some position?
20             A.        His actions.
21             Q.        No, no, not getting the training,
22     having not completed the training, did that
23     foreclose you from securing some position that you
24     applied for?
25             A.        I didn't apply for any position.


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                                                                           227
1                                Carol Melton
2                Q.       Okay.    Did you respond by email to
3      Defendant's Exhibit P, this email on September 14,
4      2018 by Kathleen Farrell?
5                A.       I don't recall if I did.
6                Q.       All right.     Well, do --
7                A.       Not on that same day, I don't
8      recall.
9                Q.       Well, do you recall doing it on the
10     following, a different day responding to her, this
11     email?
12               A.       I don't recall.       I was very
13     distraught.
14               Q.       Okay.    Well, if you did respond to
15     this email, whether by email or some other writing,
16     I'm going to ask that you produce that to me.              If
17     you did not, obviously you can't produce it and you
18     will just let me or Mr. Carman know if you don't
19     have such an email or other written communication.
20     Okay?
21               A.       Yes.
22               Q.       Okay.    Let's see where we are.
23     Defendant's Exhibit A.        Do you see Defendant's
24     Exhibit A, Mrs. Melton?
25               A.       Yes.


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                                                                           228
1                              Carol Melton
2              Q.        Okay.    Do you see that on number 12
3      it says, "June-August 2019 tried to have me moved
4      from (and destroy) my media center even though it
5      was the most successful in district history."              What
6      media center are you referring to there?
7              A.        Can you scroll up?
8              Q.        Oh, I'm sorry.       Can you see it now,
9      number 12?
10             A.        Yes, I see it now.
11             Q.        Okay.    What media center are you
12     referring to there?
13             A.        My computer lab.
14             Q.        All right.     And were you moved from
15     your computer lab between June and August of 2019?
16             A.        I believe I said "tried to."
17             Q.        No, you don't have to explain what
18     it says, I can read it.        I want to know if that
19     happened, did you get moved from your computer lab
20     between June and August of 2019?          Either you did or
21     you didn't.
22             A.        No.
23             Q.        Okay.    When you say "tried to have
24     me moved", who tried to have you moved, if you
25     know?


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                                                                           229
1                               Carol Melton
2              A.        Ms. Dargan.
3              Q.        Did you understand that somebody
4      told Ms. Dargan she couldn't do it?
5              A.        Yes, it's my understanding.
6              Q.        Do you know who told her she
7      couldn't do it?
8              A.        Then superintendent.
9              Q.        And that would be who at that time?
10             A.        Cheryl Benowitz.
11             Q.        So this is a superintendent who
12     followed Ms. Farrell?
13             A.        Yes.
14             Q.        This was an interim superintendent?
15             A.        She was interim just like
16     Mrs. Farrell was.
17             Q.        Number 13 says, "September 2020,
18     Dr. Timothy Wade threatened to take sick pay from
19     me."   What's that referring to?
20                          MR. CARMAN:     Object to form.
21             Q.        Okay, I think you can answer it.
22     You made a statement here, "September 2020,
23     Dr. Timothy Wade threatened to take sick pay from
24     me."   Explain what's that referring to.
25             A.        It was referring to Dr. Wade saying


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1                             Carol Melton
2      that he's going to take sick pay from me.
3               Q.       Did he explain to you why he would
4      be taking sick pay from you?
5               A.       No, he did not.
6               Q.       When he was threatening to take sick
7      pay from you, what did you understand he was
8      referring to in terms of how does one take sick pay
9      from someone, as far as you know?
10              A.       So maybe I'm -- can you rephrase,
11     maybe I'm misunderstanding what you were saying.
12              Q.       I'm trying to understand what you
13     wrote here, "threatened to take sick pay" from you.
14     And my question to you is how does one take sick
15     pay from an employee at the Poughkeepsie City
16     School District?
17              A.       I don't know how they do it, but I
18     know that Dr. Wade said he was going to take sick
19     pay from me if I did not come into the Building.
20              Q.       Was this after the COVID pandemic
21     had begun?
22              A.       Yeah, because we -- we closed in
23     March.
24              Q.       Right.    So this had to do with
25     Dr. Wade threatening to take, was this Dr. Wade


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1                               Carol Melton
2      saying "I'm going to count this as against your
3      sick days if you don't come in", is that what he
4      was saying to you, in other words, reducing the
5      amount of sick days you had?
6              A.        He just said, I believe, that I'm
7      going to deduct sick pay from you.
8              Q.        Did you understand that he was
9      referring to making you use your sick days for the
10     days you weren't coming in, did you understand that
11     was what he was communicating to you?            Ms. Melton,
12     do I have an answer?
13             A.        Yeah.    I said I didn't understand
14     why or when or what he was applying that to.
15             Q.        Okay.    And by the way, were your
16     sick days reduced as a result of your not coming
17     into the school around September of 2020?
18             A.        Yes.     Dr. Wade deducted 77 sick days
19     out of my accrual of 109.
20             Q.        And did you have 77 days that you
21     didn't come into work where the school was open?
22             A.        I'm sorry, could you say that again?
23             Q.        Sure.    You said Dr. Wade ended up
24     deducting 77 sick days from your accrual of I think
25     you said 109.


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1                             Carol Melton
2               A.       Mm-hmm.
3               Q.       And my question to you is, were
4      those 77 days based upon 77 days that you didn't
5      come into work at the school?
6               A.       I don't know what the dates were
7      that Dr. Wade used.
8               Q.       Well, how many days did you not come
9      into the school after it was opened from September
10     of 2020 on?
11              A.       I don't have that number right in
12     front of me, no.
13              Q.       Okay.    In number 14, "September to
14     November 2020 Morse School destroyed evidence that
15     is imperative to my case."         What evidence are you
16     referring to?
17              A.       Which number are you on?
18              Q.       Number 14.
19              A.       Okay.
20              Q.       What evidence are you referring to
21     there?
22              A.       Emails.
23              Q.       What emails?
24              A.       Any email that I needed.
25              Q.       Yes, but you're saying someone


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1                               Carol Melton
2      destroyed emails.        Now, you said Morse School
3      destroyed emails then, right, that's what you're
4      saying here, that the Morse School destroyed
5      emails.        Have I got that right?
6                A.         I can't remember.
7                Q.         Well, it says here, "Morse School
8      destroyed evidence."       Are you saying that someone
9      at the school destroyed the evidence or someone
10     else at the District destroyed the evidence or you
11     just don't know who destroyed this evidence?
12                          MR. CARMAN:   Object to form.
13               A.         I don't know.
14               Q.         And the evidence that was destroyed
15     you're saying is emails that were imperative to
16     your case.       How many emails are you saying were
17     destroyed that were imperative to your case?
18               A.         I don't know how many.
19               Q.         Is it more than ten?
20               A.         It's possible.
21               Q.         Well, anything is possible.       But do
22     you know that it's -- do you have a recollection of
23     ten emails that have been destroyed?
24               A.         I don't know the exact number.
25               Q.         Do you have a recollection of any


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                                                                           234
1                             Carol Melton
2      specific email that was destroyed?
3               A.       I have -- can you rephrase that
4      again?
5               Q.       You say that they destroyed evidence
6      and you're saying it was emails.          Can you describe
7      for me an email that was destroyed?
8               A.       My health check forms.
9               Q.       All right.     Well, would that be an
10     email or would that be forms?
11              A.       That would be a form that's sent
12     through or via the email system.
13              Q.       Okay.    Well, you said emails before.
14     So other than these health check forms that you're
15     referring to, were there emails, were there other
16     things destroyed that you're alleging, any other
17     things that were destroyed, yes or no?
18              A.       There may be some.
19              Q.       I understand there may be, but that
20     doesn't tell me anything.        Do you know of any that
21     were destroyed?
22              A.       I would have to check.
23              Q.       And how would you check?
24              A.       I would have to check my emails.
25              Q.       So you're not saying that, well, I


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                                                                           235
1                               Carol Melton
2      thought you said the emails you're talking about
3      were emails that were destroyed.          If you would have
4      those emails they wouldn't be destroyed; right?
5                A.       No.   What I'm saying is I would have
6      to check my emails, and if there's an email that
7      required a response or I didn't -- I don't have it
8      or a chain is broken, then that would suggest that
9      an email is missing.
10               Q.       And has that happened, are emails
11     missing?
12               A.       Again, I would have to check, yes.
13               Q.       So the answer to my question is
14     right now you don't know whether emails are missing
15     or not?
16               A.       Yes, they are missing.
17               Q.       So --
18               A.       But I will to check to the amount.
19               Q.       Well, regardless of the amount, can
20     you describe for me an email that is missing that
21     you've discovered is missing?
22               A.       I said the health check.
23               Q.       That's not an email, is it?
24               A.       I said the --
25               Q.       I'm asking about emails.        I


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                                                                           236
1                                 Carol Melton
2      understand you're referred to the health check
3      forms.    With regard to emails that you're claiming
4      were destroyed, you said you'd have to check your
5      own emails to see if there's a break in the
6      sequence of emails or if there's something that was
7      responded to and that you know was responded to and
8      the response isn't there anymore, things of that
9      nature.        Can you describe for me any particular
10     email that you now know is no longer in existence
11     but was in existence, can you?
12               A.         Not at this time.
13               Q.         Okay.   Number 15, "October 2020,
14     Dr. Timothy Wade threatened to have me fired."              Was
15     that Dr. Wade threatening to bring 3020-a charges
16     against you?
17               A.         No.
18               Q.         Well, so in October of 2020 did you
19     have a conversation with Dr. Wade where he
20     threatened to have you fired?
21               A.         I didn't have a conversation with
22     him, no.
23               Q.         Well, how do you know he threatened
24     to have you fired?
25               A.         He said something about abandonment.


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1                               Carol Melton
2              Q.        He talked about you having abandoned
3      your job, is that what you're talking about?
4              A.        Yes.
5              Q.        And did he say that to you?
6              A.        He wrote that to me.
7              Q.        All right.     So he wrote something to
8      you about in which he claimed that you had
9      abandoned your job; fair?
10             A.        Yes.
11             Q.        Okay.    And that was during the
12     period of time that you were not reporting to the
13     school for work; correct?
14             A.        I was not physically in the building
15     but I was virtual.
16             Q.        Yeah, but I'm not asking you that.
17     You understand my question.         You understood Dr.
18     Wade expected you to appear physically at the
19     school to work as a teaching assistant, right, you
20     understood that that's what he was asking; yes?
21             A.        I'm sorry, what was the question,
22     Mr. Rushfield.
23             Q.        Dr. Wade had made clear to you prior
24     to making a claim that you had abandoned your job
25     that he expected you to report physically for work


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                                                                           238
1                             Carol Melton
2      at Morse School; correct?
3              A.        In that email about abandonment?
4              Q.        No, prior to claiming that you had
5      abandoned your job, had he not communicated to you
6      that he was expecting you to come to work
7      physically at the Morse School?
8              A.        Dr. Wade expected whoever to come
9      into the building.
10             Q.        And the whoever would include you,
11     would it not?
12             A.        It doesn't include everybody.
13             Q.        You understood he expected, you
14     understood Dr. Wade was requiring you to come to
15     work physically at Morse school; isn't that true?
16             A.        I understand that Dr. Wade and the
17     District expected me to complete the health check
18     form and to not come into the building.
19             Q.        So you understood from Dr. Wade that
20     he did not expect you to come to work prior to him
21     saying to you that he believed you had abandoned
22     your job, is that your testimony?
23                          MR. CARMAN:     Object to form,
24             misstates the testimony.
25                          MR. RUSHFIELD:      Yeah, well, I'm


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1                             Carol Melton
2               asking.
3               A.        I'm sorry, I missed the question.
4               Q.        Sure, I'll ask it again, I'll ask it
5      again.   Dr. Wade, prior to claiming that you had
6      abandoned your job, is it your testimony that
7      Dr. Wade had not directed you to come to work?
8                           MR. CARMAN:     Object to form,
9               misstates testimony.
10                          MR. RUSHFIELD:      No, I'm not asking
11              about prior testimony, I'm asking about now.
12              Q.        Had Dr. Wade requested you to
13     actually come to work before he claimed you had
14     abandoned your job?
15              A.        I don't recollect that.
16              Q.        Okay.   Paragraph 17.      "October,
17     Principal Nadine Dargan destroyed my media center
18     by moving it and placing it in a supply closet as
19     an act of retaliation."        When did that happen?
20              A.        In October.
21              Q.        Of what year?
22              A.        Of 2020.
23              Q.        And that media center that that
24     refers to, were you going into that media center in
25     October of 2020?


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                                                                           240
1                               Carol Melton
2              A.        That would be it, yes.
3              Q.        Okay.    Well, the media center, was
4      that at the Morse School?
5              A.        Yes.
6              Q.        And were you going into Morse School
7      at the media center in October of 2020?
8              A.        That was my assignment.
9              Q.        Were you going there?
10             A.        Can you rephrase it then?
11             Q.        Sure.    Physically were you appearing
12     at the media center at the Morse School in October
13     of 2020 in that building?
14             A.        Yes.
15             Q.        So you were going to work at the
16     Morse School in October of 2020?
17             A.        That was my assignment.
18             Q.        So the answer to my question is you
19     were physically appearing at Morse School and going
20     to the media center to work in October of 2020?
21             A.        No, I was not physically there.
22             Q.        Oh, okay.
23                       Now, the media center is an actual
24     location, is it not?
25             A.        Yes.     It's just the computer lab.


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                                                                           241
1                              Carol Melton
2              Q.        Fine, it's a computer lab.          And is
3      it not true that in October of 2020 you were not
4      reporting to the computer lab physically?
5              A.        No, I was not physically in the
6      building.
7              Q.        All right.     So when you moved your
8      computer lab to a supply closet, was that basically
9      a matter of moving computers?
10             A.        No.
11             Q.        Well, what did she move to the
12     supply closet?
13             A.        Everything you see behind me.
14             Q.        Okay.    And all those desks and
15     chairs, all that stuff fit in that supply closet?
16     Yes?
17             A.        I don't -- it's not my
18     understanding, no.
19             Q.        Okay.    So whatever she moved to the
20     supply closet, you didn't go into that supply
21     closet to work, did you?
22             A.        No.
23             Q.        Because you didn't enter the
24     building in October of 2020, right?
25             A.        No.


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                                                                           242
1                             Carol Melton
2                Q.       When's the last time you entered the
3      building at Morse School to work there?
4                A.       The last time -- what was the
5      question again?
6                Q.       When was the last time you went to
7      work at the Morse School physically to work there?
8                A.       Before we closed for COVID.
9                Q.       And when did the COVID closing
10     happen?
11               A.       That was in March.
12               Q.       Of which year?
13               A.       2020.
14               Q.       Okay.   I'm going to show you a
15     document and then we'll move to something else.              Do
16     you see Defendant's Exhibit AA, Ms. Melton?
17               A.       Yes, I see it.
18               Q.       Okay.   This is a September 28, 2020
19     letter from Dr. Wade.       Let me show you the text.
20     Do you see the reference is "reporting to work", do
21     you see that?
22               A.       Yes, I see that.
23               Q.       All right.    And it reads "Dear
24     Ms. Carol Melton, you are directed to report to
25     Morse Elementary School.        For each day you do not


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                                                                           243
1                              Carol Melton
2      physically attend, a leave day/sick will be
3      deducted from your accrual.         All teaching
4      assistants were instructed to report to their
5      assigned building effective September 9, 2020."
6                        So he says in this letter you were
7      directed to report to Morse Elementary School.              Did
8      you understand from this letter that Dr. Wade was
9      telling you you had to physically come to work to
10     Morse Elementary School as of September 28, 2020?
11             A.        That's what it reads.
12             Q.        Okay.    So you actually got a
13     directive prior to any claim of abandonment later,
14     you actually got a directive from Mr. Wade that you
15     were to report to work physically at Morse
16     Elementary School; right?
17             A.        That's what it says.
18             Q.        Okay.    Take us out of this.
19                       Are you under the care of a
20     psychologist or a social worker?          Ms. Melton?
21             A.        Yes, I understood your question.
22             Q.        And what's the answer?
23             A.        No.
24             Q.        Okay.    Have you ever been under the
25     care of a social worker or a psychologist or


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                                                                           244
1                              Carol Melton
2      psychiatrist to deal with either stress or
3      nervousness or anxiety or any other symptoms of
4      that nature?
5              A.        No.
6                           MR. CARMAN:     Object to form.
7              Q.        Okay.    Have you had situations where
8      your hair has fallen out?
9              A.        I think most women's hairs fall out
10     from time to time.
11             Q.        So I mean you didn't have anything
12     unusual in regard to you having loss of hair, it's
13     basically simply the fact of being female?
14             A.        I wouldn't know.
15             Q.        All right.     So you haven't suffered
16     any unusual hair loss for yourself in the last two
17     or three years?
18             A.        I wouldn't know.
19             Q.        Okay.    Are you taking any
20     medication, whether over-the-counter or
21     under-the-counter, to treat stress?
22             A.        No.
23             Q.        Okay.    It's probably similar to it
24     but are you receiving any treatment for either
25     stress or the symptoms caused by stress?


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                                                                           245
1                               Carol Melton
2              A.        No.
3              Q.        Okay.    In Attachment C to your
4      complaint you make the claim for $250,000 for
5      slander and libel.       Who slandered you and/or who
6      libeled you, and how, with regard to your claim for
7      $250,000 against the school district?
8                           MR. CARMAN:     Object to form.
9                           MR. RUSHFIELD:      I'll rephrase it.
10             Q.        Have you been subjected to slander?
11             A.        Yes.
12             Q.        Who slandered you at the school
13     district or from the school district?
14             A.        What time frame are you asking?
15             Q.        From June of 2017 to, well, I'm
16     asking for, you've got a slander and libel claim in
17     your complaint in terms of Attachment C, Relief.
18     It says "$250,000 slander and libel."            I need who
19     slandered you that you're suing for.           So who
20     slandered you that you're suing for?
21             A.        So Ms. Penn.
22             Q.        And what did Ms. Penn do to slander
23     you?
24             A.        Say things that are untrue.
25             Q.        What did she say that was slander?


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                                                                           246
1                             Carol Melton
2              A.        Telling teachers and co-workers
3      things that are not true.
4              Q.        What did she say?       Can you recall
5      anything she said that you considered slanderous?
6              A.        Please give me a moment.
7              Q.        Sure.
8              A.        All I can tell you is that she would
9      say things that are not true.         And I would have to
10     ask co-workers and other staff members to attest to
11     that.
12             Q.        Well, if she said things that were
13     untrue and you're claiming she did, do you have
14     information currently about what she said to these
15     co-workers and others, or you're going to have to
16     investigate to find out what they were?            I mean you
17     made the claim here, it's a quarter of a million
18     dollar claim, according to you.          And if you're
19     claiming that there was slander by Ms. Penn, you
20     should be able to tell me what that was, you should
21     know already what that was.         Do you know what that
22     was as of now, yes or no?
23             A.        I would want to reserve the right
24     for that to be told in court.
25             Q.        No, it doesn't work that way.           You


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                                                                           247
1                               Carol Melton
2      either know now or you don't.           If you're telling me
3      now you don't know what she said that was
4      slanderous, then tell me that.          Otherwise, you have
5      to tell me what she said that was slanderous.              Can
6      you answer my question?
7              A.        I would have to check.
8              Q.        So you don't, as of now you can't
9      tell me anything she said that was slanderous; is
10     that correct?
11             A.        Right now.
12             Q.        Yes.
13             A.        I would have to check it.
14             Q.        So right now you can't tell me
15     anything she said that was slanderous; correct?
16             A.        That's what I'm saying, right now.
17             Q.        Okay.    Is there anybody else who
18     you're claiming slandered you at the District?
19             A.        Mrs. Dargin.
20             Q.        Anyone else?
21             A.        The new principal I think --
22             Q.        Who's that?
23             A.        -- that's there.
24             Q.        Who's that?
25             A.        Mrs., what's her name, I think it's


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                                                                           248
1                             Carol Melton
2      Mitchell.
3               Q.       Okay.    Let's deal with these first
4      so we can get them.       What did Ms. Dargin say that
5      was slanderous about you?
6               A.       Going around saying I was already
7      terminated.
8               Q.       And who did she say that to?
9               A.       I don't want to misquote anything.
10              Q.       Well, you just said --
11              A.       That's my understanding.
12              Q.       That tells me nothing.         You said she
13     said you were already terminated, I asked you who
14     did she say it to.      Either you know or you don't
15     know?
16              A.       I don't recollect who it was.
17              Q.       Okay.    Is that the only thing
18     Ms. Dargin said that you considered slanderous,
19     something about you were already terminated?
20              A.       And Ms. Mitchell said that.
21              Q.       So both Ms. Mitchell and Ms. Dargin
22     you're claiming said to someone you were already
23     terminated.     Who are you claiming Ms. Mitchell said
24     it to?   I can't hear you.
25              A.       I do not recollect who that person


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1                               Carol Melton
2      was.   But I believe --
3              Q.        I'm not asking what you believe, I'm
4      asking what you know.        Do you know who she said it
5      to.
6              A.        I know that it's in an email.
7              Q.        To who?
8              A.        I don't recall who it was.
9              Q.        And what did the email say?          This is
10     Ms. Mitchell you're referring to, that's the one
11     that's in an email?
12             A.        Yes.
13             Q.        And what did she actually say, did
14     you read this email?
15             A.        Yes, a while ago.
16             Q.        All right.     So do you have a copy of
17     this email?
18             A.        Yes.
19             Q.        You can provide that to me?
20             A.        Yes.
21             Q.        Okay.    I'm demanding that you
22     provide it to me or to Mr. Carman to provide to me.
23                       So in terms of the impact of the
24     actions of the District upon your emotional state,
25     how has it affected you, if at all?


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1                               Carol Melton
2                A.         I'm sorry, can you repeat that?
3                Q.         Sure.   You have a claim here for a
4      half million dollars for mental anguish, which
5      would indicate that things the District has done to
6      you have affected you.        Have you been hospitalized?
7                A.         No, I have not been hospitalized.
8                Q.         All right.   You told me you haven't
9      been treated for any stress or similar related
10     issues.        What symptoms have you suffered if any?
11               A.        Being unemployed and not receiving a
12     salary.
13               Q.        Right, but unemployed and not
14     receiving a salary is not a symptom, it's a
15     circumstance.       The question is, what symptoms have
16     you had, what effect has it had upon your mental
17     state, what's it doing to you?
18                            MR. CARMAN:   Object to form.
19                            MR. RUSHFIELD:    Thank you.
20               Q.        I think you can answer it.
21               A.        It's causing stress in wondering how
22     to take care of my family.
23               Q.        And is that because of the current
24     3020-a proceedings against you in which the
25     District is seeking to terminate your employment?


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1                                Carol Melton
2                A.       That's part of it.
3                Q.       That's part of it also.
4                         Now, the District also sent you to
5      an Education Law 913 exam, did it not?
6                A.       Yes.
7                Q.       And you refused to go, did you not?
8                A.       No, I did not refuse to go.
9                Q.       Did you go?
10               A.       Did I go where?
11               Q.       Did you go to the physician for the
12     913 exam?
13               A.       I did not go to the fictitious
14     doctor that they indicated on this 913 form.
15               Q.       When you say "fictitious", are you
16     saying the doctor on the 913 form does not exist as
17     a person?
18               A.       Yes.
19               Q.       So who did they send you to on the
20     form?
21               A.       They sent me to a doctor Jose Soha.
22               Q.       How do you spell Soha?
23               A.       S-o-h-a.
24               Q.       And Dr. Soha doesn't exist as a
25     doctor?


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1                               Carol Melton
2               A.       No.
3               Q.       And did you let them know Dr. Soha
4      does not exist as a doctor?
5               A.       I did.
6               Q.       And did they then try to send you to
7      someone else?
8               A.       No.
9               Q.       Did they insist you go to this
10     Dr. Soha?
11              A.       Yes.
12              Q.       So you told the District, who did
13     you tell in the District that Dr. Soha does not
14     exist?
15              A.       Dr. Wade.
16              Q.       And Dr. Wade thereafter said no, you
17     have to go to Dr. Soha?
18              A.       He said I have to follow the 913
19     form.
20              Q.       And the 913 form said you had to go
21     visit Dr. Soha?
22              A.       That's the doctor indicated on the
23     form.
24              Q.       And as a consequence of your not
25     being able to complete your 913 obligation, whether


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1                               Carol Melton
2      it was because of Dr. Soha not existing or whatever
3      reason, the District stopped paying your salary;
4      right?
5               A.       The District stopped paying my
6      salary because Dr. Wade wrote and said I was not in
7      communication for my 3020-a and I did not comply
8      with the 913.
9               Q.       Okay.    And how long have you been
10     without income from the school district?
11              A.       I'm sorry, can you repeat that?
12              Q.       How long have you been without
13     income from employment by the school district,
14     since when?
15              A.       Since February.
16              Q.       Of 2021?
17              A.       Yes.
18              Q.       And is that, together with the
19     3020-a proceedings against you, what's causing you
20     the stress you described?
21              A.       Yes.
22              Q.       Okay.    Last thing I think.        You make
23     a claim about, you're claiming thirteen fifty,
24     $1,350 salary for substituting for a teacher for
25     nine days.     Do I understand correctly that if a


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1                               Carol Melton
2      teaching assistant takes over the duties of a
3      teacher they get additional money for doing so?
4              A.        Yes.
5              Q.        And how much more do they get if a
6      teaching assistant has to substitute for a teacher
7      because the teacher is not in the room or is not
8      there for the day?
9              A.        It's fifteen dollars a period.
10             Q.        Okay.    And who's the teacher that
11     you substituted for for nine days?
12             A.        This year?
13             Q.        Well, you have a claim for thirteen
14     fifty, $1,350, salary for substituting for a
15     teacher for nine days.       So I don't know which year
16     this is.     Was it --
17             A.        I'm sorry, I didn't hear you say
18     that.
19             Q.        Okay.    What year was this that this
20     claim arose?
21             A.        That was 2020.
22             Q.        Okay.    This is while you were still
23     actually in school --
24             A.        No.
25             Q.        -- working in school?        Oh.


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                                                                           255
1                               Carol Melton
2              A.        School had closed.
3              Q.        Oh, okay.     So school was closed, and
4      somehow you substituted for a teacher.            Was this
5      like an online program?
6              A.        All students were virtual.
7              Q.        So all students were going to class
8      through their computers; right?
9              A.        Correct.
10             Q.        Okay.    And would the teacher and you
11     be in the session at the same time normally?
12             A.        Yes.
13             Q.        And that would be with a multiple
14     number of students at the same time?           I couldn't
15     hear you, say it again.
16             A.        That would be that respective
17     teacher's students.
18             Q.        Her class, his or her class?
19             A.        His or her class, yes.
20             Q.        Okay.    And are you saying that there
21     were nine days in which the teacher didn't
22     participate and you took her place?
23             A.        Yes.
24             Q.        Okay.    Who is the teacher?
25             A.        Miss Craig.


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1                             Carol Melton
2              Q.        And did you make a claim for an
3      entitlement to nine days of -- withdraw that.
4                        How many periods involved for each
5      of the nine days?
6              A.        I believe it's ten periods or nine
7      excluding lunch.
8              Q.        So is it ten periods or is it nine
9      periods?
10             A.        Nine, right.      Nine, ten.
11             Q.        I'm sorry?
12             A.        It would be nine.
13             Q.        Nine periods, okay.        So there were
14     nine periods for nine days that Ms. Craig didn't
15     participate in the remote session of her class and
16     you would participate in her place; is that fair?
17             A.        I would have to look at my time
18     card.   But I'm just saying the --
19             Q.        Well, your complaint says nine days.
20     So is the only issue that you have to look at for
21     your time card is whether it's nine periods or ten
22     periods?
23             A.        Yeah.
24             Q.        Okay.    Whatever it shows it shows.
25                       And your entitlement to this money,


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                                                                           257
1                               Carol Melton
2      to additional money for taking over when a teacher
3      is not there, that's a matter of the collective
4      bargaining agreement, right, your entitlement to
5      this additional money?
6              A.        I guess, yes.
7              Q.        All right.     So after you didn't get
8      the, did you demand of the District that they pay
9      you for these nine days of multiple periods that
10     Ms. Craig wasn't in the sessions of her class?
11             A.        Yes.
12             Q.        And who did you make the demand of?
13             A.        I sent in my time card like we
14     normally do, and to the administrator of the
15     building, and they proceed to send it to payroll or
16     I'm not sure where they send it to.
17             Q.        And how did you find out that it
18     wasn't going to be paid?
19             A.        Ms. Penn indicated to me.         She
20     didn't say I wasn't going to get paid.            She said
21     that she didn't think I was authorized to cover for
22     Miss Craig.
23             Q.        Okay.    And after she said that to
24     you, I assume as of today you still haven't
25     received this additional money; right?


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                                                                           258
1                               Carol Melton
2              A.        I haven't receive any salary.
3              Q.        Right.     But in terms of the money
4      that you earned while you were doing these sessions
5      for Ms. Craig or with Ms. Craig.          Let's go back a
6      step.   Let me put is this way.         Did you file a
7      grievance over not getting paid for these nine days
8      of substituting for Ms. Craig?
9              A.        Yes.
10             Q.        What happened to the grievance?
11             A.        The union did not pursue it.
12             Q.        So the union took the position that
13     you weren't entitled to the money?
14             A.        If I recall, I think they said time
15     had elapsed.
16             Q.        They claimed that a grievance would
17     be untimely, is that what you are telling me?
18             A.        Something to that effect.
19             Q.        Okay.    But you actually did get to
20     file a grievance; right?
21             A.        I gave them the information of my
22     intent to file a grievance.
23             Q.        Right.     And the other cases that
24     you've spoken about today where you said you filed
25     a grievance, did you actually file a grievance in


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                                                                           259
1                             Carol Melton
2      those other cases or did you tell them of your
3      intent to file a grievance and you gave them the
4      facts so that they could file it?
5               A.       I told them to file a grievance.
6               Q.       So have I got that, I just want to
7      make sure I've got this right.          I think this is the
8      end of what we're doing.        On these occasions that
9      you talked about in your testimony today where
10     you've told me that you filed a grievance, is it
11     what actually happened that you gave the teachers
12     union the facts as you understood them and told
13     them you wanted a grievance filed?
14              A.       I didn't give it to the teachers
15     union.
16              Q.       Okay.    I'm not interested, I'm not
17     talking about the nine days one, I'm talking about
18     your testimony today.       You had testified on a
19     number of occasions that you filed a grievance over
20     nine assignments, for example.          Now, I know in the
21     other case we had, there were actually, in some
22     cases there were actual formal grievance documents
23     which would be signed off on by you and sometimes
24     by others like the steward as well as you.             With
25     regard to these grievances that you were referring


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1                             Carol Melton
2      to in your testimony today about not getting the
3      assignments that you sought based, for example, on
4      your seniority not ruling, did you actually have
5      grievances physically filed or were there
6      situations in which you told the union you wanted a
7      grievance filed but you don't know if they were
8      filed for?
9               A.       I don't know if they ever filed, and
10     I -- they did not file a grievance.           Because
11     you're, you're asking a lot of questions.
12              Q.       Well --
13              A.       So if you would just ask me one
14     particular question for a time frame.
15              Q.       Sure.    It's not so much a time
16     frame.   You testified today, I just want to be fair
17     to you because I can get the grievances if they
18     exist.   If they don't exist it's going to be a
19     problem, more of a problem for you I think than for
20     me.   So let me just make sure I'm clear.
21                       You testified earlier today that on
22     a number of occasions when I had asked you whether
23     you filed a grievance with regard to your not
24     getting certain assignments, you said you did.              And
25     what I want to know is, did you actually file, did


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1                             Carol Melton
2      you actually sign a grievance to be filed, or did
3      you communicate to the union on that occasion "I
4      should have gotten this job assignment and I want a
5      grievance filed"?      Do you follow me?
6              A.        I understand.
7              Q.        So did you actually sign formal
8      grievances to go in on those assignment cases, or
9      did you simply talk to your union about filing a
10     grievance and expect them to do it?
11             A.        So you said throughout this, I just
12     want to make sure I understand, you said throughout
13     this session that we're here talking, you're
14     talking about all the grievance?
15             Q.        You testified on a number of
16     occasions, I think it was three --
17             A.        Right.
18             Q.        -- I can't be certain, on a number
19     of occasions where I asked you if you filed a
20     grievance, and I asked if it went to arbitration in
21     each case.    You've acknowledged that none of them
22     went to arbitration.       But I want to be fair to you
23     because you just told me in this case that when you
24     were talking about the filing a grievance about
25     these nine days, you didn't actually file, you


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1                             Carol Melton
2      yourself didn't actually file a grievance with your
3      union, you spoke to them and they told you it would
4      be untimely.     What I want to know is, on these
5      other situations did you actually file signed
6      grievances that got filed with your union, or were
7      they similar, that you spoke to them, you wanted
8      them to file a grievance but you don't know that
9      they actually did?
10             A.        Okay.    So you're not talking about
11     the substitution.
12             Q.        Yeah, I think that I made that
13     clear, I'm not.
14             A.        Okay.
15             Q.        You told me what happened there.
16             A.        Okay.    The previous ones I asked my
17     steward, the building steward, tell them there's a
18     possible grievance, there's a grievance, and asked
19     them to file a grievance.
20             Q.        And on those other situations do you
21     know whether they actually filed a grievance on
22     your behalf?
23             A.        I don't know, because I don't -- I
24     would receive paperwork --
25             Q.        And you got --


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1                             Carol Melton
2              A.        -- about that.
3              Q.        I'm sorry.     Did you not receive
4      copies of grievances in those cases?
5              A.        I don't recall those other cases.
6              Q.        All right.     So what you do recall is
7      talking to them about filing a grievance, but is it
8      fair to say you don't recall whether they actually
9      filed grievances on your behalf for those other
10     cases that we talked about today?
11             A.        That's my understanding.
12             Q.        Thank you.
13                          MR. RUSHFIELD:      I have no further
14             questions of this witness.          Mr. Carman, if
15             you want to take some time doing it or not.
16                          MR. CARMAN:     Yeah, if we can take
17             maybe just a really quick break so I can get
18             my thoughts in order.        I've got three really
19             brief points but I wanted to take maybe five
20             or ten minutes.
21                          MR. RUSHFIELD:      Sure.
22                          (Recess taken)
23     EXAMINATION BY
24     MR. CARMAN:
25             Q.        Mrs. Melton, I'm going to try to be


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1                               Carol Melton
2      very quick because I know it's been a long day and
3      I am sure you would like to relax here.            I just
4      have three really quick points that I want to
5      revisit.
6                        Did you previously file EEOC
7      complaints against the District?
8              A.        Yes.
9              Q.        And when EEOC complaints are filed
10     against the District, is that information
11     communicated to the Board of Education?
12             A.        That's my understanding, yes.
13             Q.        So is it fair to say that anybody
14     who is on the Board of Education would have
15     knowledge of those past complaints?
16             A.        Yes.
17             Q.        Okay.    The next thing I'd like to
18     ask you about is related to the health check form.
19     Does Poughkeepsie City School District require its
20     employees to fill out a health check form before
21     entering the building?
22             A.        Yes.
23             Q.        Could you describe what that form
24     looks like to me?
25             A.        The health check form, as directed


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1                               Carol Melton
2      by New York State and Governor Cuomo, is you check
3      off your symptoms that may be related to COVID.
4      And the last of the instructions is if you are
5      experiencing or have any of the symptoms that you
6      indicated on the form, it tells you in bold letters
7      do not come into the building and that someone will
8      contact you.
9              Q.        All right.     Thank you.
10                       Do you recall counsel asking you
11     about a 913 form a little bit ago?
12                          MR. RUSHFIELD:      Objection to form.
13             A.        Mr. Rushfield you're referring to?
14             Q.        Yes.
15             A.        Yes, a 913, yes.
16             Q.        And he asked you whether you visited
17     the doctor indicated on that form; right?
18             A.        Yes, that's what I recollect him
19     asking, yes.
20             Q.        Did you in fact go to your own
21     doctor for an evaluation?
22             A.        I went to a doctor, and my -- my
23     regular doctor.
24             Q.        And did you communicate that to the
25     District?


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1                               Carol Melton
2              A.        I did.
3                           MR. CARMAN:     I have nothing else.
4                           MR. RUSHFIELD:      I need to follow
5              up because it may relate to a demand for
6              documentation.       Probably take a moment.
7      EXAMINATION BY
8      MR. RUSHFIELD:     (Continued)
9              Q.        Did you get some kind of
10     communication from either the doctor who wasn't
11     your regular doctor who you went to for an
12     evaluation or your doctor, did you get something in
13     writing from them evaluating your health?
14             A.        Yes.
15             Q.        Did you provide that to the
16     District?
17             A.        I was told not to contact anybody in
18     the District.
19             Q.        So the answer to my question is you
20     never provided it to the District?
21             A.        I provided it to the District
22     through my advocate.
23             Q.        Is that a person currently
24     representing you or somebody who represented you in
25     the past?


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1                               Carol Melton
2              A.        Some -- the person who's
3      representing me in the 3020-a.
4              Q.        Who's that person?
5              A.        It was Betsy Combier.
6              Q.        Is she still representing you?
7              A.        Not at this time.
8              Q.        So you are represented by somebody
9      else now?
10             A.        Yes.
11             Q.        So you gave this, was it one
12     document or more than one document that you
13     provided to your advocate?
14             A.        It was a -- two.
15             Q.        Okay.    Do you have copies of those
16     documents?
17             A.        Of the doctor's notes, is that what
18     you're asking?
19             Q.        If they're doctor's note, yes.
20             A.        Yes.
21             Q.        All right.     So I'll demand that you
22     provide those doctor's notes to me.           I assume
23     they're readily available since you've already
24     given them to your advocate.         You can give them to
25     Mr. Carman to give to me or provide them to me


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1                             Carol Melton
2      directly since you clearly have my email address.
3                           MR. RUSHFIELD:      And I have nothing
4              else.    Thank you, Mr. Carman.
5                           MR. CARMAN:     Thank you.     I think
6              that concludes it.
7                           MR. RUSHFIELD:      It does conclude
8              it.    Everyone have a good Memorial Day, even
9              though the weather isn't what we might have
10             hoped for.
11                          (Time noted:     5:24 p.m.)
12
13
14
15
16
17
18
19
20
21
22
23
24
25


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                                                                           269
1
2                    A C K N O W L E D G M E N T
3
4      STATE OF NEW YORK              )
                                      )   ss:
5      COUNTY OF DUTCHESS             )
6
7
                          I, CAROL MELTON, hereby certify I
8
              have read the transcript of my testimony
9
              taken under oath in my deposition of 28 May,
10
              2021; that the transcript is a true, complete
11
              and correct record of what was asked,
12
              answered and said during this deposition, and
13
              that the answers on the record as given by me
14
              are true and correct.
15
16
17
18                                   ______________________
                                    _______________________
                                        CAROL MELTON
19
20
       Subscribed and sworn to before me
21
       this _____ day of _________, 2021.
22
       _________________________________
23             NOTARY PUBLIC
24
25

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5      MR. CARMAN                                        263
6
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9
       A            Attachment A                         5
10
       B            Attachment B                         5
11
       C            Attachment C                         5
12
       D            Defendant's First
13                  Interrogatories and
                    Request for Production
14                  of Documents                         5
15     E            Plaintiff's Response to
                    Defendant's Interrogatories
16                  and Request for Production
                    of Documents
17
       F            Job posting                          5
18
       G            An email                             5
19
       H            An email                             5
20
       I            An email from Ms. Melton
21                  to Ms. Penn                          5
22     J            An email from Ms. Penn
                    back to Ms. Melton                   5
23
       K            (Not used)                           5
24
       L            An email dated June 4, 2018          5
25

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                                                                           271
1
2      INDEX CONTINUED
3      EXHIBITS:
4                        DEFENDANT'S
       LETTER            DESCRIPTION                     PAGE
5
       M            (Not used)                           5
6
       N            (Not used)                           5
7
       O            (Not used)                           5
8
       P            An email to you with copies
9                   to a number of people                5
10     Q            (Not used)                           5
11     R            (Not used)                           5
12     S            Document titled, "Teaching
                    Assistant Seniority List
13                  16/17 School Year"                   5
14     T            (Not used)                           5
15     U            BoardDoc agenda item                 5
16     V            Submission Checklist for
                    Consent Agenda Items                 5
17
       W            (Not used)                           5
18
       X            An affidavit from Yvonne
19                  Palmer                               5
20     Y            An affidavit from Dr. Ronel
                    Cook in support of motion
21                  for summary judgment in
                    your prior case                      5
22
       Z            (Not used)                           5
23
       AA           A September 28, 2020
24                  letter from Dr. Wade                 5
25

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 1
 2     INDEX CONTINUED
 3     EXHIBITS:
 4                       DEFENDANT'S
       LETTER            DESCRIPTION                    PAGE
 5
       BB           An email string between
 6                  Carol Melton and
                    Kathleen Farrell                    5
 7
       CC           (Not used)                          5
 8
       DD           (Not used)                          5
 9
       EE           (Not used)                          5
10
       FF           (Not used)                          5
11
       GG           (Not used)                          5
12
       HH           Document titled,
13                  Paraprofessional
                    Extra-service positions             5
14
15
       INFORMATION TO BE SUPPLIED:                      PAGE    LINE
16
       That you provide that email to me,
17          the one that says that in
            order to be considered for
18          the position you must attend
            the interview                               23      9
19
       If you have an email in which you
20          were told that one must
            attend an interview to be
21          considered for a position                   45     11
22     If you have such a document send
            it to me                                    181     25
23
       You did respond to this email,
24          whether by email or some
            other writing, I'm going to
25          ask that you produce that to me             227     12

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                                                                           273
1
2      INDEX CONTINUED:
3      INFORMATION TO BE SUPPLIED:                       PAGE    LINE
4      Do you have a copy of this email                  249     14
5      That you provide those doctor's
            notes to me                                  267     19
6
7
       QUESTIONS MARKED FOR A RULING:          (None)
8
9
10
11
12
13
14
15
16
17
18
19
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21
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23
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25


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                                                                           274
1
2                        C E R T I F I C A T E
3
4      STATE OF NEW YORK              )
                                      )   SS:
5      COUNTY OF ORANGE               )
6
7
                        I, KARI L. REED, a Shorthand Reporter
8
              (Stenotype) and Notary Public with and for
9
              the State of New York, do hereby certify:
10
                        I reported the proceedings in the
11
              within-entitled matter and that the within
12
              transcript is a true record of such
13
              proceedings.
14
                        I further certify that I am not
15
              related, by blood or marriage, to any of the
16
              parties in this matter and that I am in no
17
              way interested in the outcome of this matter.
18
                        IN WITNESS WHEREOF, I have hereunto
19
            set my hand this 1th day of June, 2021.
20
21
22                                      ______________
                                    _____________________
                                        KARI L. REED
23
24
25

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